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EMPLOYE`HS

THE LABOR RELAT|ONS DlV|S_|ON
OHlO CONTRACTOHS ASSOCIATION
1313 Dublin Road
Columbu_s, Ohio 43215
Telephone:_ (614) 488-0724
FAX: (61 4) 488-0728
W.ebsite: `
www.ohiocontractors.org

 

 

. Nlark Potnick
Director, Labor Helations
& Safety Affairs

   

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rsmz`czesz‘:
7 OFF!CEHS

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Premo P. Panzarello
Finarzciai Secretary

Joseph S. Luc:as
Treasurer

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mgmsz 1111 1
Coveri_ng the-foflov\;i`ng counties 'm Ohio:
Aéhtabula Er:`e Huron §_ora§n
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!}!S`§'RIBF ?60. 2

Co\rering the following mu'nties in Ohioz
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Hanoock Ottawa . Seneca
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BFSTR!€T NB. 3

Covering the following couniies fn Ohio: "

Cramord ' Hocking N|arion Perryr

Delaware Knox Morrow Pic:kaway

Failjie¥d Ljoking Muskingum U_n§on

Fra`nkiin , Wyandot
Distn'ct S1a1ff

Tlmoihy Hammock

Chad Crer_eks John Eranstc)oi

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1188 nuan ROad, Coiumbus, c>hm 432:5 ` ( ~
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Coven`rag the fofiowing counties in Ohioz
Aug|aize Cfinfon chan N§Onigomely
Butier - Dar?ce Madison P_reble
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Clark Greene Miam£ Warren
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O#ice: 937-3925914 7 €._\ `

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\Il

BlS`§"H|BT NB. 5 _

Covering the Hilowing counties in Ohio:

Adams Ga€i§zz* L.awrence* Ro'ss"* 7
Athens* _Hamifton Meigs* Sc:\efc)ll
Brcwn High|arid N|orgarz* \finton
Cfermont Jackson* ' Pii<e*
Ccvering the fd!!owfng counties §n Kehiucky:
Boone Campbe|l Kenton Pand|eton
DiSh'ict Staff

- Gary Mérsh _ _ 7

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O‘H"loe£ 513~`?33-5575 `
FAX; 513-?33-4672

-*Counties Sewed through Disxr§ct No. 3, casumm`is office
chism .614436»5231
FAx: 614~436-?258

DISTH!B? ND. 5
Cc)veling the foitowing couniies in Ohio:
Ashfand Harrison Nob|e ‘. Summit _
Beimont Hoimes Portage Tuscqrawas
Carro!i Jeh‘erson Ric;h{and Wash_mgton
Coshocton Monroe `Stark ' Wayne
Guemsey
District Staff

Joseph Lucas _ _ -
Tam_ .£am es ' Wd!ia_m Lam<;k
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Omce: 330~784-5461
FA)<: 330-784»832?

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STATIONAHY ENG!NEERS

Steff

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..€arnes Kumse n 'l“homes Ridenbaugh
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FAX: 216-432-0?96

Vllf

 

 

 

 

 

 

 

 

 

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BBtWBBH

v THE LABBB BEM`S'IUNS Bl\il$i_UN DF THE
BHlG CDNTRACTBHS ASSDCIATIUN

(LRDIOCA) which may be referred to
hereinafter as the “ASSOCIAT!ON"

and
THE INTERNAT|ONAL UN|ON OF
GPERATING ENGINEERS_,

LO_CAL 18 and its Branehes (AFL-ClO)
referred to hereinafter as the “UN|ON"

This Agreernent‘ is negotiated by and between the Asso-
citation and the Union within the geographical area as deiined
herein through their authorized agents

it1s understood that the LABO_R HELATiONS DlViSION
of the Oi-liO GONTRAGTORS ASSOCIAT}ON is net liable
hereunder, asit is acting cniyes negotiating representative for
its subscribing members The Aeeoeiation certifies that it is
authorized to represent its members in the execution of this
Agreement end agrees to furnish the Union with a list ot all
members subscribing thereto. The Lebor Ftelaficns Division 01
the Associetion will certify to the Union Empioyere who aiTiliate
subsequent to the date of this Agreement and such Labor
Reiations Di\rision members shali be covered and bound by
the terms ofthisAgreernent. The Union may requesta meeting
with such new member and the OCAILRD Hepresentative,
and such meeting will'be heid within five (5) days of the
request

NOW, THEFiEl'-'OF]E, the undersigned Emp|oyer and me
Union,` in consideration ofthe mutual promises and covenants
herein contained, agree as foilows:

 

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H. “Polluticn Ccntrol, Sewage Plant, Waste Plant and
Water Treaiznent Facilities Construction"’ work is defined as a_ll
work iri construction of pumping stations waste and sewage
disposal plants, incinerator plants, water treatment plants, tit~
tra_tion plants, solid waste disposal and similar pollution control
processes -

i. Any work under F, G and H above, the Eriiplcyer shall
_pay a rate determined by adding theyOperati_ng Engineers
Bui'lding Consliuclion classification rate and the Operating Engi»
neers' i-lighway l~leavy classification rate and divide by two (2}.

 

nthBl_E ll
Piioiiisisiis iiiio Liiiiiriirioiis

3. Aii members of the l_abor Relations Division of the
Ohio Contractc_r_s As_sociation, and any person,- firm or corpo-
ration who as-an Employer becomes signatory to this Agrce~
ment, shall be bound by allterms and conditions of thisAgree-
merit as weil as any future amendments which may be
negotiated by the Labor Helatioris Di\rision of the Ohio Con-
tractors Association and the Union, and turtliern'ioi'ex shall be
bound_`to`rnake Health and We|fare payirientsr Pension pay~
ments, Apprenticeship Furid a_nd Safety and Educational Fund
payments required underArticleV for all work performed within
the work jurisdiction outlined in Article l ot this Agreement, cr
any other payment established by the appropriate Agreement.

 

 

4. The Ernployer will employ Operating Engineers for the
erection, operation assembly and disassembly, and mainte-
nance and repair of the following ocnstniction equipment
regardless of motive powei~. Air Cornpressors, Backtillers_, Batch
Plants, Boilers, Cableways, Connection Machines, Derricks,
Finishirig Machines, Truck-Crawler and Locoinotive Cranes, 7
'Concrete Mixirig Piants, Shovels, l-io`es, Keystone Graders, `S
Pairing Mixers, Piledriving Machines, 'i“ractors, l.,e Toumeau
and other types ot Scoops, Erid Loaders and all like equipment
within the jurisdiction assigned to the Uriio_n by the Ameri_can
Federation of Labor.

Maintenance Eng_ineers. shall be employed to do all
pipefitting in connection with hoisting and portable equipment
Maintenance Engineers shall install well-point systems and
shall be employed to do all burning and welding in preparing

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and maintaining of ali equipment operated by members of this
Unfol;stablishment ot, and transferring ot, all originatil_ lines {.':i|;d

s, elevations and exact locations o excava ons, ,
§i’:ial;d-;rades, foundationsl wails, pilingl concrete, eto.,_a_ndf§)r
including all linear and angular measurements appertaining o
the work scope ouliined in the i-lighway' Heavy Agreement,
' shall be performed exclusively by Field Sunrey- Creiiv_s. T}:iist
also pertains to the use of Geodimeter, or any other device t 7ait
electronically measures tshoots) distance1 snatl be the work to _
the Operatirig Engineers (only appiies to in-liouse crew)_ T e .
Union recognizes that surveying instruments are used by t;ii-
pervisors and supervisory personnei and will agree lo is

’ torn.
pmct+{h{;alr£]:jn:ll:§ier agrees that the work jurisdiction ci the
Operating Engineers, as assigned him bytlie ilel_-ClO, will bg
respected and all operating engineer work will be perionrie
by an Operating Engineer.

\ . . .

' in the em lo merit is iii accordance with the
term:.oi;rt?i‘;dl\g€eement,pth§ Union shall at all times,_ when
requested by the Empioyer,, use its best efforts to furnish th§ 7
Employer with competent employees to operate, maintain an
repair equipment

6. Upon the request of either partya F're-Job Conference
will be held at least five (5) days prior to commencing work and
the Union may request and receive thel Pre-Job Conterence
with the Empioyer on an individual basis. in case of an emer-
gency start of a construction joh, the Pre-Job Conierence_will
be held as soonas possible after the commencing of work.
When an Employer is awarded a contract ot :$500_,090 or more,
the Emp|oyer will notify the Union at_ the time it _is awarded
such job. Following are the items which will be discussed at
the Pre-ilob Confererice: .

A. The Employer will advise the Uriion Representative of
the Emp|oyefs requirements cl necessary empioyees_ iri the
classifications of work under this Agreement and the Uniori will
determine and advise the Employer of the ability of the Union
to fulfill such requirements when requested

B. \_Nork' schedules

C. Questions of jurisdiction and assignment of work.

5

 

 

 

  
   
 

 

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-4 the names of- the subcontractors and the nature of the work to

.Llnlo'n in good standing as a condition ot employment ;
7 9` Al| present employees who are not members of the Lo- §

 

D. The E-rnp'loyer agrees that wherever possible at such
F're-Job Conlerence, they will notify the Uni'on having jurisdic-
tion over the project of any subcontracts let by the Employer,

be performed by the subcontractors The Unicri may request a
subcontractor to meet with the Union,rand the subcontractor
wlli meet with the Union prior to commencing work on a project
if the subcontractor did not attend the original Pre-Job Confer-
once for the project

E. Before the start of any project containing known haz-
ardous Waste rrratr=.>rialsl there will be a Pre.lcb Conterence
7 held. The Ernpfoyer must notify the Union five (5) days prior to
starting work.on the project Failure to do so, the Uniori has the
- right to withhold its service until such time a Pre~Job Confer-
once-is held. '
lt is understood and agreed that no agreement may be
made at the Pre-Job Conference which will effect chango,
modify or abrogate the LaborAgreement in effect between the
two parties hereto. '

7'. The Employer recognizes and acknowledges that
l_ ` 18 and its Branches of the lnternattonal Union of-
Operating Engineers lsthe sole representative of all employees
in the classifications of all work under theirju risdiction covered
by this Agreement for the purposes of collective bargaining

The Unlon likewise recognizes the Labor Relations Divi-
sionrof the Dhio Contractors Association as the sole bargain-
ing agent for its members for work as defined herein for the
geographical area and scope of work oudined.

8. Subjectto the provisions and limitations of the National
Labor Ptelations Act, as amended, all present employees who
are members of the Local Union above stated on the effective
date of this sub-section shall remain members of the l_ocal

i»...

cal Union and all employees who are hired hereafter shall be-
come and remain members in good standing of any one of said
Lomls as a condition of employment on and after the eighth
(Sth_) day following the effective date of this sub-section, or
following the beginning of their employment whichever is later.

 

 

 

 

 

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10. The Ernployer..is to bettie sole judge as to the satis-
factory perfonnance of work by an employee and may drs-

Chal'ge any emp|<}’_ole€ WhOS@ Work is unsatisfactory, or who

fails to observe the safety precautions or- other rules and
regulations prescribed by- the Ernployer for the health, safety
and protection of its employees l-lowever, no employee shall
be discharged for defending the rights of any employee_under
the terms cl this Agreemsnt. Any grievanpe arising through
application of this clause shall be adjusted in accordance-with
the procedures outlined in Article XV, Paragraphs _1 07 through
109_ intoxication and/or assault committed on the job site shall
be cause for immediate discharge

11. The Union'shall place no limitation upon the amount

-' of work which an employee shall perform during the working

day and there shall be no restriction imposed against the usc
of any ttips Of rriar':hirieryl tools, or labor-sawmg dewees.

lt is the intent of born parties that Operating En gineers will
be assigned work on the basis that will make each job as
productive and efficient as possible _ _

lt is agreed that a fair day’s work shall be given for a fair
day's p&y.

12- The Employer may shift during a work day an O_per-
sting Engineer from one piece of hourly and da_y rate of pay
equipment to another hourly or day rate cf pay piece of equip-
menl, wilhoutlimitation from same job site providing the shifting
does not interfere with another Operating Engineer’s work day.
'l'his condition als`o pertains to weekly pay equipment l-lowever,

there shall not be any lntermixing with weekly pay equipment to
j hourly or day rate ot pay equipment The Operating Engineer

will be paid the higher rate for that day in all cases
13. lf the Employer assigns any piece cl equipment to

- someone other than the operating Englneer, the Ernployer’s

penalty shall be to pay the first qualified registered applicant
the applicable wages and fringe benefits from the first day of
violation- -

14. . The authorized representative of the Union shall have
access to the jobrdurlng working hours for the purpose of visit-
ing individual membersl adjusting grievances or disputes, and
other such duties as may have to be performed. provided the
activities do not interfere with the progress of the job_

 

 

 

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HRTiC-LE l‘
§EBEH.RPH_|CHL AND lNBUSm§AL SEUPE E]F AGREEMENT
“i. The provisions of this Agreement shall govern the ern-

ployrnerit of and conditions under Which employees shall work ` `

and rates oi_pay they shall receive on work as denned herein
for all counties of the State ct C)i'iiol except Coiumbiana,
Mal'ionlng and Ti_'umbuti, and including Boone, Campbeli,
Kenton and Penitieton counties in Kentucky.

score

_ 2. The word “work" when used herein means ‘Highway
Co'nstructionz Airpoit Gonstruction, Heavy Construclion, Ftaii-
road Construoi:ion, Sewer, Waterworks and Utiilty Gonstruc~
tion, l-iazari:lous Waste Site Remediatiori, industrial and Build»
ing Site, Power Plant, Amusement Park, Athletic Stadium Site
and Pollution Control, Sewage P|ant, Waste Plant and Water
Treatment Faciiities Consiruction” as hereinafter defined within
the jurisdiction '

` A. “l-lighway Constmction” work is delined as work per-
formed to provide a facility`to accommodate vehicular or pe-
destrian traffic and includes but is not limited to, the construeh

` ' tion of all streets, rcads, expressways, tumpikes, bridges,

drainage structures, grade separations`, parking iots, rest ar-
eas, alleys, sidewalks, guardrails and fences, but shall not
include construction of buildings

B. 'Airport Construction" work is defined as including site
preparation, grading, paving, `drainage,_ fences, sidewi=illcsl
driveways, parking lots and simiiar work incidental to the con»
struction of airiie|ds, but shall _not include the construction o_f
buildings 1

C. “He`avy Constmction' work is defined as inciuding, but
not limited to, excavation for underground garages, grade
separations, ioundations, abutments, retaining wails, shafts,
tunnels, subways, elevatorsl drainage projects floodrcontro|

- projects, reclamation projects, reservoirs, watersupply i:»roji=ic:tsl

pedestrian tunnels, water development projects, hydmeiectric
development utility transmission iiries, including right-oi~way
ciean‘ng, demolition ct buildings on a highway right»oi-way,

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§/-36/"1'3 Page: 11 of 22`6 PAGE|D #: 49

locks, dams,‘ dikes, |evees, revetments, channeis, channel
cutoiis, intakes, dredging projects, jettie_s, breakwater, docks,
harbors and all municipal and utility construction, except con-
struction classified as building construction, and including haz-
ardous waste site remediation work.

D. “Haiiroad Construction” work is defined as new c_on-
struction including grading, drainage, placing of iai|s: ci"osstiesl
ballast and the construction of bridges and other rncrdentals
for raiiroads, street railways construction projects and rapid
transit system projects, but shall not include the construction
ct buildings -

E. “Sewer, Watemorl<s and Uiility Constri.iction" work is
defined as including construction of all storm sewers, sanitary
sewers, supplying of all storm seweis, sanitary sewers, sup-
plying and distributing watsr|ines, gaslines_, telephone and
television conduitl underground electncat lines and similar
utility construction Main waterline and trunk sewers connect-
ing water works andior sewage disposal plants are included
within this definition

F_ "lndustrial and Building Site" work is defined as includ-
ing worl< inside the property line, but outside the actual build-'
ing construction and shall include tire grading and excavation
of the site to bring it to grade ievel, but shall not include the
actual excavation for the buildings fur foundations and footers
i on the construction of buildings ,

G. “Fower P|arit, all Wind Generaiion Devices and all
. supporting infractructure_ {underground and roadway), Soiar
’ Farm, eeo Thsrrnai sire, Amusemeni Pan<, Aihieirc stadium
Site” work is defined as ali work which is inside the properly
` line, but outside the actual building construction Such work
shall include, but is not limited to, the grading and excavation
of the siie, all work connected with the instaliaticri of sewer
7 lines, drainage lines, gas |ines, teieph_one and television con-
duit, underground electrical lines and similar utility construc~
tion, parking lots, bridges, roads, streets, sidewalks, reser-
voirs, ash pits, storage tanks, ramps and other such construction
work performed on the work site, but shall not include the
actual excavation for the buildings, foundations or iooters in
construction of the buildings /

 

 

 

 

 

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tive wiil, when making such an apr_)ointmentl notify the Employer_ :
On a large project the linion and the Empioyer may mutu-

ally agree to more than one (i) Ste`ward per shift. The Steward
shell perform full-time work for the Employer and shall be
subject to the same rules, rights and working conditions as
other employees Under no circumstances shall the Steward
have any authority t`o. call a strike, slowdown of work or perform
any other action which would be in violation of this Agreement.

Each new employee shall report to the job superintendent

before starting work and, if there has been a Sfeward ap~-

pointed for that particular projectl the new employee shall
report to the Steward by the end of the lunch hour of the first

day‘s work.- _ :
` The Steward shall be allowed sufficient time during work- 5
ing hours to perform all nonnal Steward duries, and it is under- ' .

stood that a Steward will not act under the grievance proce-
dure outlined herein. The Steward shall notify the Unicn District
Flepresentative of grievances

The Sl'eward shall not have job priority and will be laid oil

When a Steward is discharged for cause by the Ernployer.

ing rates.

17; The Union and the Employer will cooperate in the l

establishment ci a safety program

At the Pre~Job_ Conference where it is agreed that safety
hats shall be required, the wearing of such hats may be made
a condition of employment.`lt shall be the responsibility of the

employee to fumisl'i hisiher own approved safety hat when not

furnished by the Erriployer.
8

 

in the same manner as any other employee upon completion '=.

of his/her particular job assignment The Employer will give `;
twenty-four (24} hours notice to the Union prior to the layoff of `
the Stcward, but this twenty-four (24) hour notice is not required l

 

  

 

 

 

lt is agreed the Ern`ployer will abide by State Safety Code
§ 4121; 1¢3 and any federal statutes and will provide all neces-
sary safety equipment as outlined therein- Aii safety equip~
merit required by the project owner or manager will be at no
_:~ cost to the ei'nployeel except work shoes of any type.
`- rnAiNinc_: The Saieiynaining Peispori iii-nom Program
§- will be made available to all Union members by the Union at
no cost to the Ernployer_ The program will condst oft ~
Safely Awareness, Fall Proteotlon and Hazard Gommuni-
nation as required by current OSHA regulations
Operaiing Engineers dispatched to a project to perform
1 trench excavation work are required to have successfully

  

§ completed eight (8) hours of trench safety training. '

it is agreed that both the Employer and the Union will
encourage and assist in the promotion of this training
Effective N|ay 'l, 2011 and thereafter, ali Operatirig Engi-
neers dispatched to and!or employed on a project are
required to'h'avesuccessfully completed the 1 B~hour Safety
Training Passport {S"f“i_=‘} Program or an OSHA~approved
to-hourconstruction safety training program Comparatiie
safety training shall be renewed and updated every five
(5) years or the Operating Engineer shall be considered
unqualified Ven`iication of valid, updated training must be
presented to the Ernployer upon dispatch, hire or request
Employers who provide such safety training shall not be
required to' pay employees to attend the training.

' HAZMAT PRQJECTS: Ail toxic/hazardous projects will
be subject to any and all safety regulations and insurance
provisions that may be required by the appropriate govern-
mental a'gencies. When dangerous atrnospheres are present
so that an Operator is required to don-a special protective suit
and/or a self»contained breathing apparatus at a private, state,

 

up time and clean-up time will be allowed The first qualified
bargaining unit employee on the job will be designated the
steward-salen man, who ehall have access to company moni”
toring records and be kept informed of amounts of containi-
nants on the job site. A sheltered “safe zone" area shall be
provided. There shall be wash-up facilities on all toxic/hazard~
otis waste sites. - '

 

 

 

  
  
 
   
  
  
   
   
    
    
  
  

   

 

  

 

  

 

 

On such projects, it is expressly understood that'if the l

employeesl immediate health and safety are in danger, the

employee may cnscontinue operations without ~penalty, until ‘
satisfactory results are ob;tr=ilnedl or until such time as a rooog~ l

nized safety agent shall declare the equipment or operation to

be safe. Al| Operating' Engineers' employees shall be advised -

by the Emp|oyer prior to employment as to the nature of the
known hazardous waste and possible resultant physical inju-
ries as may be required by applicable |aw.

18. DRUG TEST|NG: Th'e Employer and the Union are
committed to a_ policy that promotes safety in the work place,
employee health, and well being. l n consideration ofthis policy,
the Union and the Employer agree that any employee found to
be under the influence of, in possession ot, or engaged in the
distribution of drugs or alcohol on the job site shall be subject
to disciplinary action, up to and including immediate discharge

Within trio (2) weeks of reporting to the job site, each new `

operator may be scheduled for a drug test_. Er_nployees using a

prescription drug which may impair mental or motor function =

shall inform their supervisor in writing of such drug use.
Employee involvement with drugs and alcohol can ad-

versely affect job performance and employee morale. ln the "
construction industry the consequences of drug or alcohol use f v
or influence while on the job site can be disastrous The '
Employerand Union, therefore, agree to the following policy to .
insure all employees of a safe and_elticient job site tree from ’

the effects cf drug and alcohol use or influence

Al| job sites or work areas are subject to random or mas-
sive drug screening Any employee who is involved in an on-
the~job_accident resulting in an injury to a person or property,
or whose observed behavior raises a_ reasonable suspicion of
probable cause of illegal drug or alcohol use impairment while
on the job site1 may be required as a condition of continued
employment to submit _fo a test for alcohol and/or illegal drug
use which impaired the employees ability to safely perform
his/her duties on the job site. Such tests usually involve a
sampling of the employees blood, urine, or breath Any em~
ployee who is asked to submit to such a test will be required to
sign a consent tonn. lf an employee who is asked to submit to

a test refuses to do so, or refuses to sign the necessary 3

consent form, that employee will be subject to disciplinary

  

   
 

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` to and including discharge i-'tefusalto take atest or
tabe;l:?il:l:r§ission of an adulterated sample shall be determined
the same as a positive test result The employeelmember shall
follow all requirements outlined in this section. l

Al| testing will be done by a reliable, established_|abcra-
tory_ lt this initial test screen result inchoates positive findings

; further testing of the same sample must be done to confirm the

` original findings before the laboratory can report a_ positive
finding- The confirmation test will be conducted by an indepen-
dent accredited Nationaf institute of Drug Abuse or College of
American Pathology laboratory andlor currently qualified uri-
der the Substance Abuse & Mental Health Servioes Adminis-
nation (SAMSHA) under the U.S. Dept. ot Hea|th & l-lurnan

§ Services and will utilize the more scientific Gas Chr_omatogra-

§ phylMass Spectrornotry examination (GC/MS}_ The results of
all tests will be kept confidential betweeri_the employee, the
Employer and the Union. The employee _shall be _paid his/her
regular hourly wages and hinges for the time required for drug
testing provided\resu|t_$ are negativel _

li the GC/MS test results are positive, the employee may
be granted a leave of absence for the purposes of dmg and
alcohol rehabilitation lt the employee is eligible such rehabili-
tation programs are covered under the Ohro Operating'Engi-
beers Health and Welfare Program providing the employee
confines himself/herself to a twenty-four (24} hour licensed
rehabilitation medical facility. _

Until the employee presents certification of successful

' completion of the rehabilitation program to the Local 18 Medl-
cal Fteview Ofl'icer (MRO), helshe shall be removed from the
employers job site; shall be prohil:iited_from registering under
Article ill of the referral of this connect and shall not be dis-
patched to work. U`pon presentation of cerbtication of th_e
employees successful completion of the drug/alcohol rehabili-
tation program to the Local 18 MHO, the employee may be
"- ii restored to hisiher original job with the employer. li the_em-
§ ploye'e is not restored to their original job, the employee will be
allowed to register for work in the referral by registenng_a new
went relenai card. The employee shall, under either circum-
stance, for the next succeeding twelve (12} month period,
present to the l_ocal 18 MFtO upon request monthly certifica¢
tion of negative drug/alcohol test results Failure to _do so will
ij result in denying the employee the right to maintain his/her

 

 

 
  

 

 

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l Preterred, however, registrants in the Pre_ferred A status shall

_ following described equipment and will be given priority ot

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referral card in the register and utilize the referral or ii working,

. to be removed from work. '

Any positive drug and/or alcohol test result after the se_c- 7
ond rehabilitation procedure shall result in the applicant being
permanently barred from registering on the Local 18 referral. _

19. manssnsnr Poi_ic\r: The parties to this Agree §

ment mutually agree that harassment of any nature is not to be

toieraled. Every person working under this Agreement shall
immediately notify the Employer when a possibility ot a prob- '

lam happens or exists

AnricLE iii ` §

REFEBBAL SYSFEM

20. l_ocal 18 and its Branches shall maintain registers of
all applicants for referra|. Appllcants shall not be permitted to
be registered in more than one (.l} office ot the Union at any l
one _time. A_l[ applicants will be registered in order ct applica# ;
tion, provided _no person shall be deemed to be an applicant
who is otherwise gainfully employed assn Operating Engineer ‘

or not immediately available for work. Registraiions and re- §

registrations will beacoepted during customary business hours. f

Applioants shall be classified in priority groups in accordance §

with the following oriteria: ,.
GROUP A`: All applicants who have worked as Operating
Engineers at least 360 days. 90 days or more per year, during t
the last four (4) years. and have been employed for at least
360 days, 90 days or more per year during the last four (4)
years on work as defined in Arlicle l of this_Agreernent‘within
the geographical jurisdiction of Lo_cal 18, and who have lived in
the State of Ohio, or in any county contiguous theie!o, for at
least one (l) year prior to application '
GROUP A PREFERRED: Must have Group A eligibility
G roupA registrants may voluntarily register in,the G roup A

have at least fifteen (15) years employment or availability for §
employment in any one or more of the classifications cone .S
trained in this Agreement and in the type or kind of craft'work l
covered by this Agreernent in the geographic area as destined
by this Agreement. Fleferra| in this group is limited to the

  

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referral from the Preierred A deck. Preferred A status employ~
ees will not be eligible for letter ot request by the Employer:
Weiding Machines, Eievator, Conveyor, P_urnp_s, Compressors,
Generaiors, One Drum Hoist, l’vlono-Ftail Horst, and F'ortable
§
He'a:(ei§)$ lt is further understood and agreed that nhen the
Empioyer employs Operati_ng Englr_ieers not currently in hisiher
employ for any machines listed in this section, the E_mployer
shall call the referral oiltce servian nis/her rob or project and
request that an employee qualifying under the Prei_errsd A
status be dispatched to service and operate said machine Any-
O'perati`ng E`ngineer currently employed by an_Emp|oyer can be
used to operate any of the above listed machines Apprentices
shall not operate this equipment more than fifteen {15) days._

(G) Worlcrnen registering in this Preferred A group shall
be ineligible to register in any other g roup an_d shall not yvork in
any classification other than those specified_rn this section and
only have recall rights for equipment specified in this section

GROUP A HEI'iREES: Must have Group A eligibl_|lty. _

The pension was set up to enhance the irv_es ot retirees in
weir golden years. Fletiring from the trades is by voluntary
choice. ' _

A retiree-is an equipment operator or mechanic who has
applied tor_ and is receiving a pension from any construction
' source
Endu?lt:pyon retirement the retiree can only register iri this group.
The Group`A Hetirees will be referred to jobs only after the
Group A classification and the Preterred A classification have

been exhausted d _
The Group A Fletiree will not be eligible for letter el re~

quest by the Empioyel'. _

GHOUP B: Same as Group A, except that the employ-
ment shall have been at least 270 days, three (3) years of 90
days each. All fourth year Apprentices_ and Trainees shall be
registered in this group. _

GROUP C: A|i applicants Who have vioiked- as Operaiing
Engineers at least ninety (9{)) days per year during each o_tthe
last two (2} years, and who have lived in the State ot Oliio or
any county contiguous thereto for at least one (1) year prior to
application Ali third year Ap'prentices and Tralnees shall be
registered iri this group_ .

 

 

  

 

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. applicable periods of time. All graduating Apprentices shall

' required days of employment during the applicable periods of

’ on the referral iist. .

 

GHOUP D: All applicants who have worked as Operatirig l
Engin`eers at least ninety-(QO) days during the twelve (12)
months prior to application A|l second year Appre_niioes and 1
Trainees shall be registered in this group_ '

FGROUP E: All' other applicants and ail`lirst year Appren-
tices and Tra.inees shall be registered in this group. ;_
_ GRGUP F: All applicants who are “temporary empioy- §
ees.” '

' All.applicanls who have attained eligibility in any of the ;
foregoing groups shall not lose ehgibility as a result of their l
failure to obtain the required days of employment during the '

upon journeymen certilication become eligible for Group A. t
Wh_en an applicant fails to register in hislher eligibility group 9
due to reasons'other than illness, as hereinafter defined, and l .
does not notify the Unicn hall the resultant failure to obtain the

time shall cause the applicant to lose eligibility in that group.

Any registrant requesting that theirwork registration card
be placed on hold due to sickness, ill health or physical
condition, must present to the Union a doctor’s certificate or 1
statement certifying that.the registrant will be undera doctor’s
care fora minimum of thirty (30) days, and that such illness or '
physical condition preventsthe registered applicant from work-
ing as an Operating Engineer. A work registrants card will
only be placed on hold for a minimum period of thirty '(30) -
days, and a maximum period of one hundred twenty {120) =
days. No registration cards will be placed in the hold position
for illness or physical condition for less than a thirty (30) day
duration Any refusals of dispatches due to illness or physical
condition for a period of less than thirty (30) days shall be
counted as a refusal under the terms an_d conditions of the -
referral procedure - f

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s
21 . |n referring"applicanls, the following procedure shall §

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be followed:

A. Appiicants in Giroup A shall first be referred, and then
Group A Preferred, then Group A Fletirees, then applicants in
the succeeding gioups, in order, through Group E_ in each
group, the Union shall refer applicants in order of their places

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B. Fiegistered Apprentices or Train_ees shall be retained
in order of their position on the referral list. _

G. Employers shall have lite right to reject any applic_an
referred for employment and shall immediater notify the _Unii)n
in writing of such rejection ln the event'a registrant is dis-
charged`l)y the employer because of lack of sufficient ability,
and tie/she does riot exercise hislher rights under the referral
Board of Fleview and Arbiiration under Paragraph 25, the
classification or equipment iroin' which lie/she rs discharged
shall be stricken from his/her refenal record and he/she shall
not be`dispatched to a job iri that classification or on that
equipment until helshe has:

1. Taken training at his!lier training site and has been
certified, or 7

2. l-las presented to his/her dispatch office a letter from a
previous Employer, in signed agreement with l_ocal 18 working
within l_ocal fB’s iurisdiction, stating that in the Employer’s
opinion the discharged registrant has successfully completed
a lots assignment in that classification or on that_pi_ece of
equipment in his/her employment ..

D. Wl'ien an applicant is actually employed, lie/she shall
notify the Unlon office at which hci/she is registered within
twenty-four (24) hours. Failure lo do so is an imposition upon
those registered and not employed and, therefore, such appl-
cant will be barred from re-registering, unless and until tie/she
has made application to the Boerd of Fteview and Arbitration
provided for in Paragraph 25 of this Agreement, and shows
good cause for his/her failure to give such noticej

E, When an applicant becomes employed, his/tier name
shall be removed from the register as soon as helshe shall
have worked for a total of thirty-one (31} accumulativc working
days (orie (1) day jobs shall not count_). An Operator who
relieves another Operator will not be charged_for the first
fifteen (15) days, (on|y one (l) fifteen (l5} day relief per regis-
tration application cerd). All days after that will be counted
toward his/her time. . _ _

li an applicant is employed for less than thirty_»one {31)
accumulative working days7 he]she shall he restored to hisfher
previous position on the register when such employment ter~

  

   

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minat'es'.Any applicant who quite employment or fails to show 5

up for work assignment at starting time after being dispatched

(provided lie/she was dispatched the previous day), for what~ §

ever reason, except accident verified by- police repoit, shall be
placed at the bottom of the applicable registration group re-
gardless of the number of days worked and shall not be eli-
gible for request until tie/she puts in a new registration card.
When reason for employment termination is questioned appli-
cant must present a written termination slip evidencing ree-
sons other than a voluritary quit before he/she is restored to
his[l~ier previous position on the register
An applicant for employment may riot refuse referral to
employment for any reason except that the applicant may
inform the District office in witting, before any referral, that tie!
she will not accept employment referrals in certain named
counties within the Distri'ct. lt an applicant refuses ajob referral
for the.seoond consecutive time, lee/she shall lose his.'her

_. position op the register and go to the bottom of the list for hisl
- her group*. lf the dispatcher is unable to contact an applicant,

the failure to contact shall not be deemed to be a refusal,

l`-'. Appi'icar_its must notify the Union office 'in which they
are registered byteiephone, or |etter, cr.telegram, orin person

of their continued availability for employment within thirty (30)

days atter the date of la_st registration or re~registration in order
to maintain _fheir places on the register

in order to eqi.iaily,¢l distribute and defray the cost of services t

rendered by the use of this referral system, all individuals who
make use of this.`referral system shall be required to pay an
initial registration fee of'$18.75t and another $18.75t for each
re~registiatlori lhereafter, provided that such tee,shall not ex-

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ceed $lS.?Bf in any consecutive thirty (SD) day period.and y

, provided that such fee shall riot applyto the following:

1. Membersin good standing ot Locai 18and its Branches,
lnternational Union of Dperating Engineers, whose pro~i ‘

portionate share of the cost of this referral system is met by
their regular dues; and '

2. Applicants for membershith Local 18 and its Bianches,
international Un_ion of Operating Engineers, whose pro-

r 7 * Does not apply to the former Ohio or Kentucky Residential and

l..ight Commercial Agreements referial_
“l' Effective Ju|y 1, 2011 $19.25; Ju|y 1, 2012 $19_75

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portioizate share of the cost of this referral system is met by
their tees; and _

3. Members in good standing of the lntemationat Union of
Operating Engineers who are paying travel dues whose pro-
portionate share of the cost ofthis referral system is met by the
payment of their fees.

G. The Uniori sha|i use its best efforts to notify all regis-
tered applicants when work is` available forthem, birt the Union
assumes rio responsibility or obligation forfailure to locate an
applicant

l-l. All applicants must submit a written resume of'their
experience and qualifications at the time of original registra-
tions, rand may he tested on the equipment they operate at the
nearest available training site prior to being assigned a posi-
tion on the referral iist_

l. Subject to this referral system employers may hire
through this referral policy by name fenner employees who
have resided for at least twenty~four (24) months in the State
ot Ohic or in any county contiguous thereto, andlhave been
employed by the Employer making the request during the past
twenty-four (24) months within the iunsdiclion cf this _Agree-
ment. The Empioyerrnust make the request to the appropriate
Union Dislrlct Otfioe and the Employee requested mustrbe
registered on the District referral list (Gi‘oupsAthrough E).

Employers may hire through this referral policy by name
individuals in Group A f_or a production machine, or for a
mechanic or mechanidwelder, who has been registered on
the out-of~work list for at least ten (10) days iri the District in
which the work is to be performed |ndividuals shall have Only
one (1) request per four (4) month period from _tiie last requlst.
The request by name must be confirmed later in writing, on the
letterhead ct the Empioyer and signed by either the _Employer
or the superintendent ofthe project . ` _ _

Nothing in the referral procedure shall interfere with the
transfer of an Employer’s employees on fils/her payroll from
one project to another project within the geographical area
covered by Local 18. When transferring employees the Em-

§ pioyer will notify tire union cramer once ier which the

 

employee is to be transferred _ l
The- Union agrees the transfer will be processed man

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J. The purpose oi the referral system is to provide no _ _ _
discriminatory employment opportunities individuals who reg~f}
later therein deserve a preference over those who do not.§
Thereiore, it is agreed that in the event the referral list is"
exhausted and the Union is temporarily unable to lumlsh_
qualified applicants within twenty-tour (24) hours after receiv-\; '
ing the Employer’s request (Saturdays, Sundays and holidays-
excepted), the Employer may temporarily employ others until.§,
the Union notifies the Employer that it has qualified registrants:

available for employment

Applicants hired by the Employer under this procedurer`
shall be known as “ternporaiy employees", and will be subjecti
to reptacemen\s. The Employer will notify the Union District_§
Fiepresen'latives of the name, union affiliation (ii any), date oti_
employment and social security number of such “temporary§";'
employee". 'l'he Union will maintain a register of all such "tem-_§
porary employees’-', and such register shall be known as the§
temporary register. Such “temporary employees” may also be;§

 

 

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referred by the Union {wben the referral list is exhausted) from r-

Group F.

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Such “lernporary employee" shall be subject to replace~'ii§
merit by a qualified registered applicant under the procedure §

listed herein:

l. The Union shall give a- five (5) working day writien§
notice tothe Employer with whom the "lemporary employee" ls 5 '
working, and such “ten‘iporary employee” will thereupon bet
replaced at the end of the five (5) working day period provided i:a

the Union furnishes a qualified registered applicant

2. The Union will save the Employer harmless for anyz
liabilities occurring under the application cl the provisions of'

the temporary register

  
   
   
 

K. Wheri an Employer states requirements for speciel'slcills§;

or abilities in his/her request for emp

shall refer the lirst applicant on the register possessing street
skills, or abilities regardless of the place or classification oii§
such applicant on the register li a contractor requests or re-':»*_

loyee applicants the Unlon ,

  
 
 

quires that the Operator be a Cert'riied Op`erator, verification ot_°`§

the Operator’s certification is the responsibility of the Em~
ployer_. if the Employer notiiies_the Union iri writing, within 30
days after the employees discharge, of an Operator who had

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l Fl|ed: 05'/30/13 Page: 17 Ol`226 PAGE|D #Z 564

' ` lo ment and who had not performed satis-
?;:t;rll;phasrl:llilli:r%[:ripfloyer does not wish this Operator to be
referred to the Employer for future -erriployrnent, the Union shall
honor this written request

lo ee who uits a contractor without proper
noticlr; a¢iri"lyi:?:bs;quent|y aired by an employer with whom
Local 1 8 has a.contractual relationship wrthout a proper rete_r-
rat by Loca] 16, shall be discharged by the Employer when it is
called to hisi’her attention

22. Employers shall give first opportunity to persons reg-
istered ior employment as provided herein, by_ calling or not\~
lying the Union at any of its offices in the territory where the
work is to be performed

23.` Hegistration ci applicants and selections of appli-
cants for referral to jobs shall be on a nondisonminatory basis
and shall not be based on, or in any way adopted by Unioi_'i'
membership1 by-laws, rules, regulations, constitutional proyi~
sions, or any other aspectsor obligation of Union membership,
policies, or requirements lt is mutually agreed that the lj'_m-
ployer and the Union shall abide by all of the laws ot the United
States the State ol Ohio1 the Commonwealth cl l<entucky, and

lawful orders thereof in nondiscrimination and fair employment

ractices. _ _ _ _
p The Employer and the Union shall not discriminate against

nor limit ern ployrnent opportunities cl any employee, applicant

4 lot employment or applicant tor Union membership or appren-

ticeship training because of race, color, sex, age, religion,
national origin or ancestry. _

The Union agrees to furnish an Employer, at_ his request,
any statement or data required under any regulations reierred
to herein_ 7

24. in addition to the above registration groups there
shall be established a Sl'iort Term .lob Group_ The sole pur~

' pose oi this Short_`i“errn .lob Group is to enable registrants to

acquire time to be eligible for unemployment benefits Fiegis-
tration in this group is limited to applicants eligible f_or Group A
ot this referral and all fourth year Apprentices showing proof of
need ior additional lime to_ quality for unemployment ben
Applicants reierral out of this ShortTerm dob‘Group will be
limited to jobs of two (2) days or less duration in a calendar

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week or eight (B) days or less duration in a calendar month on
equipment listed on their registration cards Any refusals of
iot)s will cause the registrants card to be removed from the
, Short Term .lob Group deck. Dispatches for short term jobs as

deiined above will `iirst be made from the Short Term Job

' Group. lf_ the dispatcher is unable to till the short te rm job order
from the Short Term Job Group hefshe will proceed to fill the
order from Groups A through F in accordance with the reterral

rutes§ Dispa_tcher should notify Employers when dispatching 7

from the Short `i'erm JoiJ Group. The Employer reserves the
right to request dispatch from 'Group A. , 7
Since this Short Term Jot)_ Group is intended t`o provide
limited employmenttorthose needing credit for unemployment
compensation, the Union shal|, through 'rl;s business agents,
remove from employment any Operating Engineer who has
accumulated more than two {2) days per calendar week or
over eight (B) days in a calendar month-as a result ct the
Short 'l'errn Job Group. _ _
Flegistrants in the Short Ten'n Jot_> Group will not be eli~
gible for any recall or request provisions of the referral as
' herein described Employment received as a result of the
Short Term Job Group referral will not provide eligibility for
employer recall when the registrant is registered in Group A,
Preierred A, or Group A Retirees deck. Appi'entices or Train¢
_ees will not be permitted to register in the Short Term Job
Group except as noted above. Registrants may not register in
the Short Term Job Group or GroupA or Preferred-A or Grol_,lp
A Ftetirees deck at the same time. The Employer shall not be
permitted to transfer employees dispatched from the Shcrt
Terrn Job Group from one project to another protect
The Union will save the Employer harmless for any liabili-
ties occurring tinder lite application of the provisions of lite
Shon Ten'n,Job Group.
All the remaining rules with regard to the operation ot the
referral shall be applicable to the operation ot Group A,_ Pre-
ferred A and Group A Fletirees except as modified herein.

25. Any registrant or any Employer who may feel ag-
grieved by the operation ot this referral system shall have the
right to and must tile-his/lter grievance in writing, within ten
{10} days after the occurrence of the event concerning Which

'helshe complains with a Board of Review and Arbitration con-

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- sisting stone {1) representative of the Union, one (1) repre-
. ' sentative of the Employer, and an impartial third member to be
selected by agreement of the Union and the Employer, and the
' decision of this Board shall be final and binding o'n all parties-.

 

26._ Ttiis statement as to referrals shall be posted in ali j

, __ places where notices to Employers and applicants for employ-
ment are customarily posted, including all offices of the Unlon
1~ and all offices ot the Employer.

27. An ohio contractors nsooo`iaiion Laoor seasons oi~
vision Fiep'resentative may inspect the referral register at ltie
Union District Oflice at any time during normal office hours

28. All officers and business representatives ot the Union
who have had previous work experience in any one (t) or more
ot thejob classifications contained in this Agreement Shal| be
deemed to be employed at the tr`ade and it is the intent of this
section to provide that upon return to the employment in the
trade, they shall do so with the same preference as il they
had continually worked at the trade and shall be eligible

upon registration for Group A.

  

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wAsE sorts

29. The purpose of this Agreemerit is to establish,wage
rates and conditions to apply for all work as defined herein and
for operation ot all equipment which comes under the-iurisdic-

tion of the international Union of Operating Engineers, Locat
__o 18 and its Brancnes ot the international Unic>n of Operating

and its Branches of the international `Union of Operating
Engineers and the Lal)'or Relations Division ot the Ohio
Contractors Associatiori. `

30. Exl'iiblt "Ai' covering wage rates and classifications
- attached hereto, is made a part of this Agreement. lt equip~
merit within the jurisdiction of the international Union of Oper-
sting Engineers is used by an Employer and there is not an
appropriate classification listed underthe wage schedule herein,
either party may request the other party to meet to negotiate a
,_s_ new classification and rate of pay. Si_icn meeting shall be held

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Engineers, and as negotiated by and between Local Union 18 ,

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within five (5) days from the date of the request for the meet-
ing. The new classmcation shaw be pieces in cress “B‘j rate
classificationl untess the equipment is small non~pi't>¢;iuf>ti"'B m
nature. Such equipment shall be placed in Class “E'. if no
agreement can be reached on a new rate, the dispute witt be
referred immediateiy to S_tep 4 of the Grievance Proce_d_uf€
outlined in Artiole >CV,' Paragraph toa; however, _the ciassifica;
tion will be continued to be paid at the Ciass “Bi' or Class E

 

 

rate until final settlement is made.

31. The Employer may, at its discretion, designate 3 EJBF'
son in their employ as a Master !viechanic, and such Maste_f
Mechanic shall be answerable to the Employer and paid et ih$
rate established herein. The Master lVlechanic so appointed
must be a member of Locai 13.

32_ On jobs where Maintenance Operators are to be enl-
lJiO`y€d, the first two (2} empioyed shall be Class A;_ the third
'one, if required, may be Ctass B or Mechanic Tralnee. Any
further hire of Maintenance Operato`rs shall be two (2) Gias_sA.
then a Class B or l\/lechanic Trainee may be hired. This rath Of
two (2) Claes A, then a Class B or Mechanie Trainee shal_| be
continued in the hire of all Mairrtenance Operators as required
by the project requirements Mechanics in training, working
under these provisions will be compensated according to the
- schedule provided under the “Flel_d Mechanic-Trainee Sched-
ule." (Se'e pages 57 and 66) -
33. No supervisory employee shall perform productive
work or operate equipment which would deny an .Operatrng _,
Engineer employment ' '

 

AHTiCLE \i
FRlit{iE BENE!=|`[ PBBGRAMS
34. 'lhe fringe benth provisions contained herein shall
appiy to all Employer members of the Labor Fielations Dlvislon
of the Ohio Contractors Association, eli Employers' who be- .
come signatory, or bound by this Agreement, and any other
Employer or Employer groups who become a party to an
agreement covering the Fringe Benetit Programs set forth

herein.
'Ali Employers bound hereby agree to be bound by the _

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. Agreements and Dec`iarations ot Trust, as amended, estab-

' Iishing the Pension Fund, He`alth and Welfare P|an, Appren-
ticeship Fund and SafetyTraining and Educational Tn.rst Fund,
copies ct which ail parties agree have been furnished to and
read by atl Employers bound hereby prior to the execution ot
th is Agreement, |t is mutualiy agreed that-the provisions of said
g " Agreements_and Declarations of `l'rust and any rules, regula-
~i"it.i tions, or piar`rs adopted by the Tru_stees pursuant thereto shail
become a partoi thisAgreernent as though futly written herein.
Ali Employers bound hereby irrevocably designate the Em-
ployer Tmstees ot said Funds and Plart, and their successors
es their representatives for the purposes set forth in said
Agreements and Deciaretions of Trust. `

'35. Fringe benefit contributions shall be paid at the tol-
iovving rates for all hours paid to each employee by the Ern-
ployer under this Agreement which shaft in no way he consid-
ered or used in the determination of overtime pay. Hou_rs paid
shali`inciude holidays and¢reporting hours which are paid .

A PENs:oN Fuuo; stream nay 1, 2010 s $5.00 per

  

  

 

hour

B. HEALTH & WELFARE PLAN: Eifec”iive May t, 2010 is
$6.66 per hour

C.'APPRENTICESHIP FUND: Eitective May t, 2010 is
$.55 per hour `

g D. SAFETY TRAINING & EDUCAT|ONALTFIUS`F FUND:
Efiective May 1 , 1974 is $.04 per hour

. The Union shall have the option of diverting ali or any part
§§ of the increase scheduled for improvement ot or payment of
`*a': costs of any fund benefrts provided under this Agreement;
provided that the Union gives the Employer written notice of its
election to do so by registered letter sent to the office of the
Ohlc Contractors Assooiation at ieast 60 days before the
effective date of the scheduled change specifying in said
notice the amount ot change to he applied for this-purpose in
the fund benefit for which the money is to be used.

36. it is further understood and agreed by and between
the parties that duty authorized representatives of any of said
`Frust Funds or Pian shalt have the right, on written_notice, to
audit during reguiar working hcurs, the books and records of
ny party obligated under this Agreement to contribute thereto,

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" . tion procedure in this paragraph'to collectdelinquent contribu-
~ tions and liquidate damages, to enforce any audit, or to obtain
any report, the following procedure shall apply:

1. i.lnless the issue is resolved between the Emptoyer
and the party giving notice, within five (5) calendar days after
deposit of written notice of delinquency andlor demand for au-
dit and/or report in the United States maii, to' the Employer at
the addressf'shown in the records _ofthe Functs, Plao, or Union,
such party may referthe matter to an arbitrator to be named by
. i`h,e. L-ab_or F.ieiatlons Divislon of the Ohio Contractors Associa-

tion,"an_d by Local 15 of H'le lntemational Union of Operating
Engineers, whose decision in erting shall be final and binding
on all parties .ln the event such parties are unable to choose
an arbitrator within ten (10) days after written request therefor,_
the Union orthe Tn.lstees of any Funds o`r Pla_n may request an
arbitrator according to the rules end regulations of the Ameri-
can Arbitrat_ion Assooiation, whose decision in writing shall be
final and binding on all parties The parties to the arbitration
'shail each bear one-half (112) of the total costs

38. The Employer and the Union shall each appoint two
(27}7Trustees to' constitute the Board of Trustees to establish a
Safety.Training and Educational Trust Fund.

The Empioyer shall contribute four cents ($.04) per hour
for each hour paid to each employee covered by this bargain-
ing unit for the SafetyTraining and E_rlucationat Trust Fund in a
`manner and a method established by the Board of Trustees.

The Boa'rd ct 'l"rustees is charged with the responsibility of
formulating in writing the specific and detailed provisions ot the
Safety Training and Educational Trust Prograrn including all
necessary mles, regulations and provisions to make such a
program effective -

The program and the contributions to it shall conform with
the Labor-Managernent _Belations Act and other laws which
may be iii effect or which may hereafter be enacted affecting
such plan, contribution or benefits hereunder.

The program must meet the requirements of thelntemal
Revenue Code and the regulations and rules of the internal
Fleven_ue- Service so that all Employer contributions shall be
considered tax deductibte.Any disbursements of contributions
from the `t'r_ust Fund established if made before `rt has qualified

   

 

 

  

 

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' Uniori or Unions,

' ` ‘ ‘ heterms of
t exemption must comply substantial|ywrth t
E;t$:cust, and the Employer contributions to and for such Trust
Fund must not be used in any manner which would adversely
affect a tax qualification of the Fund and the interest of the
ees in its objectives _ '

ernpr the provisions for this Fund shall cover all Empioyer
bor t`-telations Divisioii ot the Ohro Contrac-

era of the La _ .
E;mzsgoctaiion, ali Emptoyers who hereafter become siQ“a'

" rome this Agreemem, and the members Of any Oth€r 'aS-°’°°ia‘

tion of contractors who by agreement are _cbiigated to make
contributions to the l'~'und heretofore established _ _ T ¢_
The provisions of the Trust Agreement, Ftules of_ E_iigrbi_rty
and.Fieguiations created by the Trustees_f_or the administration
of the Fund, are a part of this Ag_reement and incorporat[§d
herein by reference_as if fully rewritten, and binding upon e
cities thereto and the beneficiaries _ _

, Notwithstanding any other provisions of this LaborAgreeé
ment, any Employer obligated to contnbute to the Fund, an
who faiis to do so, and becomes delinquent under the regula-
tions established by the Ti'ust_ees for receipt of contributions
and after the appropriate l_ocat Union cr Unions have given

' ' tot
Wmten umwa as the case may be, shati have the right to
direct the covered emptoyees to withhold their labor_untii the
contributions which are owing are paid in tult_ tri addrtio_n, the_
Unton or. Unions involved and/or the Trustees_oi the.Fund
retain the right to take any legal or other appropriate action as-
may be deemed necessary to collect delinquent payments

, 39_ Upon notice by the't‘rustees ot the Frtnge Benefit Fun_ds
to the Labor Fielations D‘ivision of the Oh_io Contiactors Associa-
tton and to the Unton that an Employer is delinquent in maan
fringe benefit paymentsl the delinquent E_mp|cyer writ be required
to post cash bond in the amount determined by the Trustees.

'[he Union shaft be required t_o withhold its services from
Such delinquent Employer until arrangements are made to p_ay
the delinquencies and the cash bond is posted by the delin-
quentEmPl°yBl'-

40. in no event shall the foregoing provisions relating to
fringe benefits be subject to', o_r suitable for gnevanoe and
arbitration under Articie XV of this Agreement_

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he Employer of such delinquencyl the l.ocal ,

 

 

 

 

 

41. The Employer must obtain an insurance payment
bond from a company that is "best" rated A, financial category
7 or better, payable to the Ohio Operating Engineers Fringe

Benefit Programs as a guarantee that the fringe benefits re-

ferred to herein are paid by the insurance carrier in the event

that the Empioyer becomes delinquent in its payments and
defautts thereon_' in lieu of a surety bonCi, an Employer may
substitute an equivalent cash bond which will be escrowed to
guarantee payment of tringe_s. if the.E`r_nptoyertaiis to provide
the necessary bond within thirty (30) days of request by`the
Union, the Union shall withhold services until receipt of such
bond, or the Employer makes fringe contributions on a weekly
basis. . -

, The Employer shall obtain said insurance payment bond
or cash bond in amounts set forth beiow:

_ l-»tl] Operating Engineers $50,000.00
11-20 Operating Engineers 75,000.00
21»50 Operating Engineers 100,000.00
Over 50 Operating Engineers ' 125,000_00
ARTECLE 'v'l
WEEKLY FAV EHlll_PMEli`t’

42. in all counties covered bythls Agreement,'itie follow-
ing classifications shall be employed on a_ WEEKL‘( PAY basis:
Aspha|t Piants
-Boiler Operators or Compressors, when mounted on a rig

g 'Concrete Plants (over 4-yds. capacity)
1 "= Cranes (all types, except boom trucks)

Derricks

Dt‘agl[ries 7 7

Dredges (dipper, clam or suction) -

Firen'ien, Apprentice/Helper (Oiler) and Slgnalmen, when mem-
bers o`f a crew .

l-`iremen on Floating Equipment

Fioating Equipment (Worl< on the Great Lal<es or its commer-
cial navigable tributaries shelf be performed pursuant to
tire Great Lakes Fioating Agreement and riot under this Agree'-
ment)

Gradal|s _ _ .

i-loes (except when attached to farm or industrial-type tractors
or CAT 320 Hoe or equivaient and below)

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.,.i.qr‘.=w»-s .-~ = t .

Maintenance Gperators (Class A)
Nlaster Mechanics

Mining Nlachines

Piledtiving Machines

Power Shovels' 7

Flotary Dri||s on 'Caisson Work
Slip-form Paver`s

Survey instrument Mei'i

Survey F'arty Chieis

Suivey Rodrnen or Ghainmeri (Nlay 1 to November t)
Tower Derricl<s

'l'ug Boats

Tunnel Machines

Wheel. Excavators

43. ln the counties of Cuyahoga, Lake, Ashtabu|a and
Geauga, classifications not listed above as weekly pay classi-
fications shall-be employed on a day-pay basis. ln all other
counties covered by this Agreement, the classifications not
listed above as weekly pay classifications shall be employed
as provided for under the hourly rate and reporting pay provi»
' sions listed herein_ -

44_ Employees employed on a weekly pay basis, starting
jobs after Monday, shall be paid for the remaining number ot
days iri the work week. Weel.<ly-pay employees reporting for
work on Saturday, Sunday or holidays shall receive eight (B)
hours straight time for reporting if rio work is performed and
they are not required to remain on the job; llthey start to work,
they shall receive eight (8) hours at premium time in accor-
dance with Article Vll. They must report for work at starting
time and, except as noted above, remain on the job for the full
eight (8) hours to be entitled to receive the eight (8) hours pay
stipulated in this Agreement. '

' However, when an employee working on equipment with
a weekly-pay guarantee and work with his/her equipment is
completed on a project, the employee is guaranteed only
Nlonday through Wednesday p_ay ifthe equipment finishes the
work on the project the tirst three (3) days of the week`. The
Employer will notify the Union Disirict Flepresentative prior to
the application of this provision. '

45. When a machine having aforty (40) hour guarantee is

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laid up and the woitoneri are laid oil and paid olt, that machine

" cannot be started back to productive work unless it is laid up

tor one (t} week (seven days) withoutcatling back the employ-
ees which had lmanned the machine, and they shall be paid for
the time`they have been oil unless mutual agreement is reached
between the Employer and the Union Distri`ct Flepresentative
to permit employees to work on the weekly-guarantee equip-
ment during the seven {7) day=“lay-up’ period without penalty.

46. l_n order to be eligible tor the weeldy~pay, weekly-pay
employees have the right and they must accept transfer with
theirl weekly-pay equipment to another project within the same -
district of Loca| 18_

47. Crews will be eligible for straight-time weekly pay
when their equipment is transferred out ot their District up to
the day the equipment is shutdown, otherwise, paragraph 44
prevails They need not go with their equipment out of the
Disirict in which they were originally employed to be eligible tcr
the weekly pay. `

48. Employees who are working foran Employer in other
than their local residence area thereby necessitating them to
pay room and board shall, upon requesl, be granted their
release lt the Employer is unable to supply enough wont _to

justify their staying. Employees released under this provision

will be considered as laid otf because of lack of work.

49. `At the end of a work sbiit, employees employed in clay
pay classihcations will be notified as to the day to report for

n _- work if the Employer determines thatthe employee should not

report -to work the next- scheduled day, otherwise any other
notice ot the change ot a work schedule shall be made by

"calling the employee at the telephone number designated by

the employee for such purpose ,

50. 'Employe__es employed in day pay classificationsl uri-
less notified by the Employer not to report to work, shall be
paid for eight (8) hours on the day they report torwork. Day»
pay basis employees reporting lor work on Saturday, Sunday
or holidays, shall receive eight (8) hours straight time for
reporting if no work is periomted and they are not required to
remain on the joh; if they start work. they shall receive eight (B)

» hours at premium time in accordance with Article Vll. They

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must report for work at starting time and, except as l'lf_>?ed
above_. remain on the job the tuli eight {8) hours to be entitled
to receive the eight (8) hours pay stipuiated in this Agreement.

51.' in the balance ofth counties in the state or oth and
in the counties ct Boone, Carnpbelt, Kentcn and Pendleton in

. Kentucky, workmen employed in classifications other than

We€k|li' Paif, unless notihecl by the Empioyer not to report to
work shall receive two (2) hours pay for reporting to work and
the employee is required to stay at the work project for one {1)
hourto be eiigible for two (2) hours reporting pay unless the
employer releases the employee prior to the end of the first
hour; ii Such 0perator does not start to work, he/she shalt
receive hisfher two (2) hours reporting time; it the employee
starts to work, her/she shall receive tour (4) hours pay; it_the
employee works over four (4) hours, helshe shall receive eight
[8) hours pay; tor_inc_i_e_men_t weather only irwill be 2,_4_-, 6 and 8.

FOr employees reporting to work on Saturday, Sunday or
holidays, all conditions in this paragraph will appty. Trn're worked
will be paid for at the rate provided in accordance with Arti_cle

7 Vll_ They must report to work at starting time to he entitled to

reporting pay.

' Where iess than four (4) hours orless than eight (8} hours
are worked, the employees must remain on the work forthe full
four (4) hours or the full eight (8) hours, as the case may be, to
be entitled to pay for the tour (4) or eight (8) hours. as stipu-
lated in this Agree`ment

52. Ali reporting pay time paid to an employee shaft count
as working hours with respect to any work guarantees or
overtime pay provisions `

53. On jobs where there is only one (1) day's work for a
piece of equipmerrt, employee or crew may be employed on a
day-pay basis The Union Office should be advised of this con-
dition to avoid any misunderstanding The Unioh District Fte`p-
resentative end the Employer may mutually agree to extend to
two (2) days the employment of a crew on a day-pay basis

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Hotlhs oF week mm cwEhtimE

54. The week seals begin on uondsy`A.t/r. and shea end
on i'-'riday P_M. Starting time will be set by the Week.

55. The normai work day shaft consist of eight (3) hours

, and the normal work week of forty (40) hours except as pro-
: vided herein. Tlms and one-half the regular rate shall be paid

for all Work in excess of eight (B) hours per day or forty (40)
hours per week, whichever is greater.

55a. An Employer may, however, have the"Optlon of work-
ing `a four-ten hour schedule at straight time rates. l\lo Oper-
sting Engineer with a weekly guarantee will lose a paid hofiday
helsh'e would otherwise receive by working a four-ten week.
lnste`ad, such employee will receive, in addition to wages and
hinges for'hours worked in a tour-ten week, an additional eight
(S) hours and hinges at straight time rates fertile hoiiday. little
Employer elects, upon notificatiorl, to work a tour-ten hour
schedule heishe s_hail pay overtime in such cases on all hours
over ten [1 0) hours per day cr over forty (40) hours per week,
whichever is greater. Atour-ten hour work schedule must he by
the week_

55b. ln addition to the above: tt is agreed that when time
is lost by acre_w during the reguiar work week, M orrday through
Thursday, .due to inclement weather, holiday, equipment break-
down, or by direction of the project o_wner, this time may be
made up by the entire crew on Friclay at the regular rate of

,._ V' wages. All Friday work must be scheduled on-a minimum of
' eight (8) hours basis Weekly pay employees in order to be

eligible for eight (8) hours' pay that day, must be available to
perform work for the Employer_

55c, The provisions cf Paragraph 61 apply herein.

55d. Pay day will be on the last scheduled work day but
not later than Friday. ll direct deposit is oifered. the member
carr participate voluntarily

_ 56. Trme and one~hati the employees regular rate of pay
shall be paid for ali work performed on Saturday. .

` 5?. Ali work performed by an employee on,Sunday, New

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Year‘_s Day, N|emorial Day, (last Monday' in the month ot May)
lndeper_idenoe Day, l_abor Day, Thanksglving Day and Cl'trist-‘
. mas, shall be paid at two (2) times the regular rate. There shall
be no work required on i.at)or Day except in special cases of
EmBrQEnCi/. Ho!idays shall be ot twenty- -tour (24) hours dura-
tion and no employee on a weekly basis of pay shall lose time
because of holidays and when required to work on holidays
he/she shall be paid double iime.

 

58. Whenever a holiday falls or1 Sunda`y, ssch_ holiday

shall be observed on Monday.

593. Certain government projects are contrachrally re-
stricted to weekend hours only Th'ese projects are defined as
- weekend projects beginning at 6: 00 P..M Frld`ay to 6: OGA M
Monday. Employees working on these weekend projects-35
defined above, will be paid time and one-quarter il 1/4) of the
estabiished classification rate for ail hours worked on the
weekend project
This provision is limited to weekend projects only, 85
defined above, and does not apply to any employee who has
- worked any hours Monday S:UOA.M. to Friday 6:00 P.M. Th_ese
employees shall receive the applicable premium or overtime
rates set forth in this Agreernent tor all work performed dunng
the above deiined weekend hours.

59b. Where project owners establish specificationsl re-
quirements or tor safety reasons that limit the days or hours in
which work may be pertormed, the Employer, after advance
notice to the Union, may start the work week after 6:00 P.M. on
Sunday at straight time rates. in applying this scl'iedulel SUrl~
day P.M. will be considered Monday,- the following Friday wilt
be considered Saturday (paid at t-1f?. X rate) and Saturday
will be considered Sunday (paid at 2 X rate). All premium pay
provisions will apply for lhe Six'th and seventh day as to Satur-
day and Sunday respectively

ml. No Employee shall be required to work alone during
the hours of darkness when performing maintenance work or
operating equipment This provision shall not apply to Employ-
ees servicing and starting equipment one (1) hour prior to the
start of- a shift, including Lubemen, F_uelmen, and Greasemen

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61 . When operators of equipment are complemenan other
trades, they shall be compensated on the same premium over-

- time conditions as the trade they are mmp|emendng.' To tie `

eligible for the benefits on complementh another trade, an
Operator must be required to perform a specific operation which
is direcdy related to the work which the other trade is performing.

62. When Steam _ Boilers, Power Driven Heaters or
Purnps and other such equipment are used on a continuous
seven {7) day, twenty-tour (`24} hour per day operation, the Em-
ployer, at his!her discretion can avoid overtime by working
four (4) shitts, each shirt to work six (6) hours on a seven (7)
day basis. Employees working this shift arrangement shall be
employed tor torty- -two (42) hours on a seven (?’) day basis and
shall receive forty (40) hours pay at straight time and two {2}
hours at doubie time provisions

This provision tor avoiding overtime can only be used if
the equipment is to be continuously opeiated for more than
thirty (30) days. in the eventthe Employer cannot furnish thirty
(30) days ot employment after commencing work under this
paragraph it is agreed that when the employees are laid otl,
the Employer will pay retroactive overtime to such laid ott
empioyees from the start of this operation in amorda_noe with
other overtime provisions of this Agreement_

63. Booms. including jib 150 feet through 180 feet in
length, shall receive twenty~iive cents ($.25) per hour in addi»
tion. to the established crane rate.

Booms, including jib over 180 test m length, shall receive
fifty cents ($. 50] per hour' in addition to the established crane
rate.

Tower cranes, the height of the boom point from the first
tloor level of the project will be used to determine when the
long boom crane rate will apply.

a 64. Where compressors, generators o_r boilers are

7 mounted on crane-type equipment (Piggyback Operation), two

(2) Operating Engineers will be employed at the` crane rate or
any escalated rate in effect They shall also be employed
underthe weekiy guaranme.

Where compressors up to 600 CFM are operated and
exclusively used to power attachments such as the h_oe ram

g § and other similar pieces of'equipment, the compressor will be

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considered and manned as a Piggybacl< Operaiion, even though
the compressor is located adjacent'to the machine or crane
and not mounted directly on the machine The Appr€nii$@/
i'ie[l’€f` (Oiler} operating the compressor is paid the C|ass A
rate for the day. '

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anrrs nun`sENr-:RAL Pnorrstams

65. ln all of the counties within the jurisdiction of this
Agreernent, crews (meaning an Operating Engineer and an
Apprentice!l-le|per (Oi|er), or Signa|man on gas or diesel ma-
chines, or an Operating Engineer and Fireman on steam ma~
chines) shall be employed on all truck cranes, power sho'\-_'BFS.
CFHHBS, rotary drill on caisson worl<, cabieways, draglines,
tower derricks, tower cranes, multip!e drum pavers, piledh`ving
machines and hoes, standard gauge iocomotives and bucket
trench machines (over 24" wide).

66. Truck cranes, iattice boom, thirty (30) ton capacity
and under~, hydraulic truck cranes and all terrain cranes, fifty
(50) tons or less and under remote control; an Apprenticel
Helper (Oiler) is not required. if a second person is needed in

conjunction with the operation of this equipmenta then the
second person will be an Opersting Engine_er.

-G'Ia. Apprentice/He|pers (Oiiers) are required on hces,
excavators, and front hydraulic shoveis having a base operating
weight in excess of 105,000 pounds and Apprenticeii~lelpers
(Oi|ers) shai| be required on cable crawler cranes over 80 tort
structural capacity, defined as: the factory specilied total maxi-
mum counter-weight with a PCSA rating not to exceed 36,400
pounds, based on 50' of boom at 40' radius, with the single line
pull not exmecnng 17,000 pounds. Anythlng outside any of the
aforementioned limits determines the crane as requiring an
Apprenticell-lelper (Oiler)_ Ail factory certifications_and the com-
puter system will be available for inspection at any time by the
Union or their designee An Apprentice/Helper (Oiler) or other
Operating Engineer is required on self-erecting cranes (as de-
fined bythe manufactured while being erected an_d'dismanlted.
On remote control gradall, Apprenticeil-le|pers (Oilers) shall be
at the discretion of the Employer. _ -

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6?b. Apprentice/Helpers, (Oilers) while assigned to track
` hoes, cranes and other equipment Wlll perform the following
` work on the project as additional duty: _ 7

~ Cover small equipment (i'.e_ pumps, generators, compres~
sors, etc.)

_ - Act as signal person

." v Safety-tire-watch

- Practice operating in a learning environment in the vicinity

- Help with survey duties on project

- l-lelp meehan ic, lube tmcks, fuel

v Practice operating rough terrain forklift, front loader, rubber

tire hoe, loader in vicinity of primary duty

Fleplace other Operators who may be absent on project

- Rurl parts or materials as necessary

' Safety enforcement ' .

- Producfive activity orr job site to facilitate job completion
when it does not interfere with progress of primary ma-
chine, providing this does not interfere with another Oper~
sting Engineer’s workday

58.. Employees requiring relief, for sickness or other
causes, must notify his/her immediate supervisor before leav-
ing the job. -

' 69. Employer agrees to carry Ohio State Workers' Com-
pensation, or other liability insurance for the protection of all
the employees covered by this Ag reement. 7

79. At the direction of the Employer’s representative on
the job, Operatirrg Engineers shall be allowed proper tim_e for
necessary repairs and upkeep. There must be suitab!e shelter
around equipment . _

_ 71. On projects where -at least eight (B) Operators are

, employed the Employer, during the months of November 1

through A'pri| 30, will furnish a heated shelter where employ-

er ees may change clothes -

72. sanitary drinking warerand toilet recitinch wm be'avari-
able on the project in compliance with the provisions of the Ohio

S\ate` Code.

?3. The Employer agrees, upon the tem'rination of any

  

   
 

  

 

  

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employee covered by this Agreern_ent, to furnish such em~
pioyee so released with a termination slip at the time of_re-

|ease, showing reason for said release. (Union'wil| provide
uniform numbered slips in duplicate; original for employee
duplicate for Employer’s file.)

74. Employees shall be paid once a week on the payday
established by the Employer. Pay checks and the following
information will be given to employees:

{1) Totai hours worked
(2) Overtime hours (premium hours)

'{3) Gross pay

(4} Ail deductions listed 7 _
(5) lt is agreed that all pay checks will show the deductions
and also total fringe benefit payments -

if the employee is not scheduled to work on payday, the
Employer shall mail the check to the employees home post~
marked notlatorthan 5:00 P_M_ on payday, unless the employee
requests the Employer to hold his/her check to allow the ern»
ployee to get hislher check atthe project oliioe ortho Employer's
office Employees reporting to the project or oflice to pick up'
paychecks will not be eligible for reporting pay. Wnen an Oper-,
aling Engineer is laid off, lie/she will be paid off at that time. Any
employee discharged for just cause will receive their pay check
by the end of the next pay period. in case of lay-off and a check
cannot be issued at thejob, the Employer will overnight the pay-
off check so it is received the following business clay at the
address provided by the Employee.

15. When it is necessary for equipment to be operated , the
Operating Engineer who regularly operates the particular piece
of equipment shall be given first chance to perform the work and
ii an Apprentice/i-|elper (Oiler) is required, theApprentice/Helper
(Oiler) who is regularly assigned to the particular piece ofequip-
ment shall be given first choice to perform the work.- ln an
emergency any employee may be assigned to any equipment
lt is understood that the Master Mechanic or Stewand will be
nctiiied, when possible, of such emergency requirements -

' ?5. The furnishing of a truck by a _Mechanic shall r_lot be a
condition of employment lf an Employer is requesting s Me¢
chanic, from the Union, the Employer may require the new

ll/lechanic to furnish atrucl<. lt a Mechanic is required to fumish ;

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a trucl<, compensation will be negotiated between the Me-

charlie and the Employer.

7?. Equipment operator employees shall be required to
carry sufficient tools to make minor repairs and adjustments in
order to meet manufacturers daily maintenance requirements
on the equipment they operate This excludes diagnostic and

'- electronic equipment

78. An Operating Engineer shall be assigned to all work

performed in connection with the installatiorl, fueling, starting

and stopping, repair, maintenance and operation of the below

listed small equipment '

Compressors of_185 CFll/l or less (not discharging into a
common headed

Heaters

Weldi_ng machines of 300 amp or less

Gas or diesel driven pumps 4' and under (or one 6' pump}

Generators of 15 KW or less

Conveyc'rs 18" belt or less

79. A combination, up to five (5) pieces, of the above
equipment shall when in use, be serviced as an additional duty
by an Operating Engineer who is employed by an Employer on
a project When six (6) pieces of the above equipment are in
use on an Employer’s project, a Utllity Operator will be em-
ployed at the Class “C” rate The Utility Operator shall also
perform other work o_n the project `

in the event there are no Operating Engineers employed
by_ the Employer on the project the Employer shall employ an

- Operating Engineer at the Class “E" rate to service any small

equipment in use, until the C|ass “C” rate becomes in effect

80.. An Operating Engineer shall be assigned to all work
performed in connection with the installation maintenance
repair and the starting and stopping of electric submersible
pumps Necessary work on electric submersible pumps shall
be assigned `to an Operating Engineer working on the project
as an additional duty. No full-lime Operator is required.

' B'lA. Wor`lc in the servicing and maintaining of self-con-
tained mobile light plants shall be assigned to an Operating
Engineeras an additional dutyto his/her regular job. Such work
shall nunnally be assigned to a Mechanic, Grease Crew, or
Apprentlce!l-lelper (Oiler).

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318. When an Apprentice/Heiper (Oiler) is assigned as
the primary operator to a fuel{grease.cornbo vehicle which
requires specialized CDL endorsement helslie will receive a
$3 00 per hour premium over the Class "E” rate (see pages 55
& 65).

ARTICLE lX
lililDN ADM!NESTBATWE D{lES ARD DEBI.[CTIUNS

82A. Upon notification by the Union thata uniform admin--

istrative does deduction has been authorized by all employees
ot the Employer, the Employer shall deduct said uniform ad-
ministrative dues The Union shall be responsible for obtaining
all individual signed authorizations

828. The employer will deductible cents ($0.05) for each
hour that the employee receives wages under the terms of the
Agree`ment on the basis ot individually signed voluntary autho-
rized deduction forms lt is agreed that these authorized de-
ductions are for remittance to Locai 18'$ Political Education
Patterns known as P.E.P., and are not a condition of member~
ship in the international Union of Operating Engineers, t.ocal
18 or of employment with the Employer, and that P,EP. will use
such monies in making political contributions in connection
with tederal, state, and local elections Payments for F'.E.P.
rettecting employee hours Worked shall be made.on the monthly
fringe benefit reporting forms and shall be remitted at the
same lime and in the same manner as the Employer submits
the fringe henelit payments under Artic|e V of this Agreement.

The costs of administean this payroll deduction forP.EP.
are incorporated into the economic package provided under
the terms of this Agreemerrt 50 that the l-U.O.E, has, through
its negotiation and its execution of thisAgreernent, reimbursed
the Employerfor the costs ot such administration

Al| disbursements will be upon approval ott:he OCAILocal
18 Polltical Screen_ing Commitlee by majority vote. 'I'he joint
committee will be formed and additional rules of operation
established as soon as practical after ratification The
Committee’s rules shall become a part of this agreement as
though tully written herein.

Unless otherwise agreed to by the ASS(_)C|AT|ON and
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‘ UNlON all provisions of Paragraph 825 shall ten'n_inate or

“sunset’ with the termination ot this agreement on April 30

, 2013

83. Credit Union savings will only be agreed to it all
deductions are the same for all employees and the Union is

 
  

‘ j responstale ior getting the voluntary authorization

84. Al| money collected by the Employer as provided
herein shall be remitted to the Fringe Benetit Ottice not later
than the fifteenth (t 5th) day of the month following the month
in which deductions were made. The Union accepts full re-
sponsibility for the disposition of the funds so deducted once
they have been remitted to the Fringe Benei` t Oih`oe.

85. The Union agrees to hold the Employer harmless for
any liability under said deductions

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SSA. Each Employer bound by this Agreement shall pay
the Oontractors Constr~uctlon As.socialion dues o`t fourteen cents`
($.14} per hour for each hour worked by employees ct the
Empioyer who are working within the bargaining unit herein.
Such payments by check shall be made payable to the Con-
tractors Constructicn Associati¢m. Suoh checks shall be trans-
mitted with the i-lealth and Weliare payments provided herein
or transmitted directly to the Ohio Conhactors Association no
later than the fifteenth (15th) day ot the month immediately
following the calendar month‘ ln which the work was periormed.
Reporting forms for the Contractors Construction Associalion
dues will be provided by the Ohio Contractors Associalion.

SBB. Admirlistrator Fee: Each Employer bound by this
Agreement whole not a`n OCA member shall pay an adminis-
tration tee ot eight cents ($. t_JB) per hourth each hour worked
by employees of the Employer who are working within the
bargaining unit herein. Such payments shall be transmitted
with the fringe payments provided herein dr transmitted
directly to the Ohlo Gontractors Assooiatlon no later than the
fifteenth {15111) day of the month immediately following the

` calendar month 1n which the work was performed

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87. Each Employer bound by this Agreernent shall pay

($.05) per hour for each hour worked by employees of the

Employer who are working within the bargaining unit hereln.

Such payments shall be transmitted with the l-lea_lth-and_We|-

fare payments provided herein or transmitted directly to the

Ohio Contraotors Assooiation no later than the hiteenth lt Sth}
day of the month in which the work was performed

- 88. The Union shall have no participation or control of
any kind or degree whatsoever, nor shall the Union be con-
nected in any way whatsoever with the Gontractors Constnic-
tion Ass_ociation dues and the Ohic Constn.tc'tlcn lnfon'natlon
'Association Fund. '

89. The Employers will hold the Union harmless from any
liabilities arising cut of the terms of Paragraph BSA through
and inclusive ot Par_agraph 83. '

ARTlCLE X|
tEBM or AanEMENt

90. THlS AGF{EEMENT shall be effective as of l\ll_ay 1,'
2010 and shall continue in force and effect through Apnl 30,
2013 and thereafter, from year to year until tenninated at the
option of either party after sixty (60) days notice m writing to
the other party.

ARTICLE Xl!
SH[FI' WUBK .

91. For purposes of overtime pay for multiple-shift opera-
- tions, a work day shall he determined bystarting time of the shrit_

'92. More than one (1) shift may be worked ln any twenty-
tour (24} hour period and the starting time of die shifts shall be
left to the discretion of the Employer provided,_ however, that
more than six (6) hours shall not be worked without allowing
thirty (30) minutes for a lunch period-.Where two (2) shifts are
employed, eight (S) hours shall constitute a day’s work for the
first shift and eight (8) hours shall constrtute a day's work for
the second shift

 

the C)hic Construction information Associalion Fund five cents 7

 

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When three (3) shifts are employecl, eight (E_t) hours shall

  

~1/2) hours work with eight (8) hours pay shall constitute the
second shiit, and seven (7) hours work with eight (8} hours pay
shall constitute the third shift '

 

nnjnct§ xm
REGISTEH ED APPBENT!GES 03 ?RR|NEES

93.' FlegisteredApprentice or_Trainee Engineers shall work
under proper supervision of the Opera`ting Engineer and under
instruction of the LocaJ Union. The Employer shall give ample
pportunity for them to operate equipment under the superin-
slon of the Operating Engineels whenever time and opportu-
nity evans treat "

94. Regislered Apprentice orTrainee Engineers employed
on Operating Engineer's work shall receive the proper appren-
ticeship rate herein set for such w_ork.

95-. Worf< of the"l`-‘i`rernen, Apprentice/l~lelpers (Oilers)` and
Signalmen shall include the getting up steam and greasing up,

' filling gas tanks and making the machines and equipment
ready for operating at the starting time. lf, at the discretion ct
the Employer, an OilerlHelper, or Signa|rnan is required to

  
   

make gas and diesel machines ready to operate before the _

regular starting time, such OilerlHelper_ or Signalman shall be
paid one-half (1/2] hour's pay at time and one-hail (l-lf?) rate.
lli at the discretion ot the Employer, a Flreman is required to
.. get up steam, grease steam machine and make'same ready to
operate before the regular starting time, then such Fireman
shall be paid one (‘l) hoqu pay at time and one-halt (t-l/£)
rate. ' -

   
 

 

96. Apprentice.fl-lelpers (Oilers}, Signalmen, Grease Truok

isslunch period, will eat their lunch prior to or alter the regular
n lunch period, in order to be able to oil, grease and repair
machines during the regular lunch period, at no extra pay.

97. Fcr every five (5) Operating Engineer_ Journeymen
. employed by the Company, there may he employed one ('l)
- pit Flegistered Apprentice or Tralnee Engineer through'the refer-

; §§ Operators and Heipers, when requested to work the regular

 

 

: constitute a day’s work for the first shift, seven and one-halt

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ral when they are available An apprentice while employed as ":T
par_t_of a crew per Article Vlll paragraph 65 will not be subject §
to the apprenticeship ratios in this collective bargaining agree-
ment. - , - ..

names xiv

7 EN¥OHCEilN ENT W|EASUBES ANB FAVBHABLE Et\TE PRU\F|SIBNS § 7

`98. lt is agreed that all subcontractors shall be subject to
the terms and provisions of misAgreement, as rt relates to the
Ope'ratirrg Engineers.

one (1) machine and the Owner-Opcrator himself operates '-.

99. When an Employer hires an Owner-Operator_ with §

such single machine, the Ovrner-Operator will be placed on
the Employer's payroll in the event the above mentioned
machine requires two (2)~ people, both people shall be
placed on the Employer‘s payroll_ However, when an Owner-
Operator has two- (2) or more machines operating on the same
job, the Owner-Qperator shall theatre considered a subcon-
tractor and therefore come under the Subcontractor Clause.
100. The Union shall require that no Union person shall
teave a job _by quitting unless herhe has been property‘re-
lieved alter giving ample notice of his/her intention to qurt to
the Employer.
161. The Union shall not transfer a Union person from
one Employer to another without the consent of the Employer
- and the Union person involved. s
`102. All employees of the Employer shall be allowed time§i
to vote on Election Day as required by law.
103. No employee covered hereby may be discharged.by
an individual Employer for refusing to cross a legal picket line
- established by an lntern`ational Union atli|‘rat`ed with the Burld»

ing and Construction Trades Departrnent ot the AFL-CIO,

or a‘Locsl Union mere_oi, or the lmernational Brotherhood of

Teamsters, Chaui_teurs, Warehousemen and Helpers of ~

America. a l_ocal Union thereof, which picket line has_l:ieen
authorized and sanctioned by proper authorities Nor shall_-it
be oonsider'ed`a violation oi the “no strike' clause, if the Union
recognizes the aiorasteted legal picket |ine. -

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104. if the Union shall furnish employees to_ any Em-

_;s ployer within the area o'l jurisdiction of this Agreement upon

any more favorable wage rates than those contained herein,
the`Union agrees that such more favorable wage rates shall

' automatically be extended to the Employer.

- ' 105. There are areas within the scope of this Agreement

for which the Wages and conditions contained herein may not

be appropriate due to competition or other reasons in such
cases, adjustments Wil| be made in accordance with principles
agreed to by the parties during negotiations

106. When an Employer rents or leases equipment
manned from an Employer in signed relations with this Union,
the engineer or crew may be transferred to the payroll of the
|essee, providing the referral office servicing thejoh or project
shall be notiEed prior to such transfer and provided further that
such ernployee’s employment by the lessee shall terminate
upon the termination ot the lessee or rental of the er:}a.n'prnentd
or any replacement thereof, mmicl'rever is later.

Al-rnctr xv
im STRIKE-'HU LDBKUUT-“AHBITHAT[BJ| kilo D!SPUTES

107. The Employer shall not cause, permit or engage in
any lockout of its employees during the tenn of this Ag_reement_

The Union shall not audiorize, cause, engage in or sanc-
tion, nor will any employee take part in any illegal slowdown,
work stoppage, strike, picketing or other concerted interference
against the Employer, or occurring at, or around the company‘s
oiiioe or work locations during the term of this Agreement.

_ "l 08. Should a dispute arise among any of the iparties,l
(Ernployee, Employer, Association and/or Union) to this Agree-
merit as to its meaning, intent or the application of its terms,
the dispute will be settled in accordance with the following
grievance prooedure: '
.Step 1. lite aggrieved employee shall first take up hisI
her grievance orally with the Employer’s Supervisor or Fiepre.-
sentative. Hsfshe may, if helshs so desires, have his/her Stew-
ard appearwi_th him/hen The grievance shall be orally brought
to the Ernp|oyer’s attention`within three (3) working days oitha
occurrence, or discovery of the grievance, but in no event will

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~ the grievance be honored by management later than fifteen
(15} days past the incident giving rise to' the complaint A
grievance not submitted within the time limit shall be deemed
untimely and is waived.

Step 2. |ii the event the grievance is not settled, the
employee then shall put his/her grievance in writing within
three (3) working days after _S'l_'EF' 1 meeting, dated and signed
along with the Contraci Article affected and submit the griev-
ance to the Di_stn'ct Business Flepresentative and helsl'ie and
the Business_ Representative shall meet with the Employer’s
Flepreseritative and attempt to settle the matterx ll rio settle-
ment can be reached within ten (10) working days from the
date of the written grievance, then

Step 2a- The grievance may be considered by a desig-
nated representative cl the Union and the Labor Flelalio_r_is
Director of the Oiiio Contractors Association, who shall have

the authority to mutually agree upon a final and binding settle-

ment of the grievance lt Step 2a. is not utilized, or it no
settlement can be reached in Ste_p 2a. within live (5}_days from
the date the grievance is referred, then:
Sliep 3. The grievance may be referred to the State Joint
Comm_it_i.ee consisting of six (6] members, three (3) to be
' appointed by the Labor Relatior`is Divisiori of the Ohie Contrac-
tors Assooiarion and three (3) to be appointed by Lo_cal 18 of
the lntemational Union of Gperating Engineers. Where the
.State Joint Gomrnittee, by majority vote (5 members or nji_ore),
resolves a grievance, no appeal may be taken and such reso
lutiori shall be inst and binding on all parties and individuals
bound by this agreement |n case cf failure cl either party to
appear al the hearing of a grievance properly filed for hearing,

the parties in attendance shall oiler evidence in support of its`_

position and the Committee shall dispose of the case on the
basis of such eviden.¢e. |f no settlement is reached at this
ST_EP within fifteen (15) working days from the date the griev-

' arrests referred then -

Step 4. The grievance shall then be referred to ariArbitra-
tor selected ny the Committee referred to in STEP 3. Ifthe par-
ties cannot agree on an A_rbitrator within forty-eight (48) hours
after the parties agree to submit the matter to-arbitrai§on, the
parties shall jointly request the Federal Mediation and Conoili-
ation Service to iumish a list of Aibitrators from which the
Arbitrator shall be selected by the alternate striking cf names-

 

 

 
 

 

 
  
 
 

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109. The` expenses and fees of the Arbitrator shall be
shared equally by the parties The Arb`r_lraior shall have no
power to add to subtract from, or modify any cl_ the terms and
provisions ofthis Agreement TheArbil:ator’s decision shall be
final and binding upon the parties hereto.

 

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AniicLE xiii
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110. 5ch parties to thisAgreernent agree to be bound by
the terms and provisions of the Agreement creating the impar-
tiai .l`uri_sdictional Disputes Boarrl. in particular, both parties
agree to be bound by the provision of the Agreemerit,which
states:Any decision or interpretation of the lmpariial durisdic-
tiona| Disputes Boa.rd shall immediately be accepted and corn»
piled with by 'all parties signatory to this Agreement.

The parties hereto agree that in the event of a'jurisdic-
tionai dispute with any other unionl or unions, the dispute '-
shall be submitted to the lmpartial .lurisdicticnal Disputes Board
for settlement in accord with the Plan adopted by the Buildirig
Trades Departrnent, AFL-CIO.

The parties here further agree that they will be bound by
any decision or award ot the lmpartial Jurisdictiorial Disputes
Board. There shall be no stoppage of work or slowdown aris-
ing cut of any such dispute. l\lo jurisdictional work stoppages
and rio jurisdictional picket lines shall be recognized

111. This article of the contract will go into ellectwhen the
impartial .lurisdictional Dispuies Board reestablishes.

' ART|£LE th|l
7 - l-Q 1
_ 112. The Union and the Employers during the terms ot
' this Agreement agree to use their best efforts to establish a
masteriile of l~9 employment eligibility verification forms or`i all
members This tile will be maintained at the Union office and
be available for the E_mployers’ use.

 

 

  
  
  
  
  
  
  
  
  
 

 
 

 
 
  
  

   

 
 
 
   
   

 

 

  

 

 

ABT|CLE X¥Ill

SA\'ENES AND SEPAHABILIT\'

11 3. lt is mutually agreed that it_ any clause, terms or pro-
visions of this Agreeme'nt is, or is hereafter found to b_e illegai,
or in contravention of any court ruling, National Lahor Ftela-
tions Bo_ard ruling or ruling of any other board or agency having
jurisdiction in the matter, such clause. terms or provisions shell
be, or become inoperative of any effect without disturbing other
clauses. terms or provisions of this Agreernent and the remain-
ing part of this Agreement shall remain in full force and effect

- 114. in the event ’d'iat any clause, term or provision of this
Agreement is found to be illegal or in contravention of any
court ruling, National l_abor Reiaiions Board ruling, or ruling of
any other board or agency having jurisdiction in the matter,
said elai.tse, terms or pro\n'sions shall be re'-negoh`ated to the
mutual satisiaction of the panies, but during such re-'negotia-
tion Workshall not be interrupted or stopped by lockout. strikes,
boycotts or other labor troubles.

115. Except to the extent modiliecl by a specific provision

- of this Agreement, the Union recognizes that the Employer

reserves and retains, solely end exclusively all of its inherent
rights to manage its business ‘ 7 7

116. Ex`hibits A, B, C and D attached hereto are made a
part ot this Agreemer`it. _

117. THIS AGREEMENT shall be effeofive as of May 1,

' 2010 and shall remain in force and in accordance with the

terms of ART|CLE X| hereof. Wage rates and fringe payments
shall be effective as designated herein._ -

lN WHNESS WHEREOF, WE, the undersigned, duly au-
thorized Employer l'-`tepresentatives-and the lNTl'-_'RNAT|ONAL.

UNlON OF OP_EHAT\NG ENGlNEEF\S, LOCAL 18 AND lTS -
BHANCHES (AFL~»C|O), executed this Agreement on the 1st é*

day of May, 2010.

 

 

 

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l-U._O.E. LO`C.-\L 18 AND iTS BRANCHES {AF|..-ClO}
S/PATR|CK i.,. SlNK

Business Manager

S!FthHABD E. DALTON

President

SISTEVE D. DELONG
Vioe President

SIMARK A TOTMAN s '
Fteoording-Corresponding Secretary
` S!F'RE|V}O F’. PANZARELLO
Financial Se_oretary `

S/JOSEPH S. LUCAS

Treasurer

smMo"rHY o. HAMMOCK
-Trustee

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§§ s`/GARY G. lesEL

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SISCOT|' R. STEVENSON
Truste_e `

THE LABOR HELAT|ONS DN|S|ON of the OHlO
CO}'F[‘RACTOHS ASSOCEAT|ON

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SIDAN' SMlTH
Negoliating Commitiee Co-Chairmen'

SIMAF{K‘ STEHLlNG
Labor Executive
Committee Chainnan

" SIMAFEK POTNICK
Director, OCA Labor Reiations & Safety Atfairs`

 

 

 

 

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50% of C|ass “A” rate
Second Year Fiegis'iei‘ed Apprentice
60% of Class “A" rate 7
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ro% of class “A” rate _ _ . §
Fourth Year Registered Appreniice `
50% of Ciass "A” rate '

There will be a 'EO% increase for the Apprerztices on top of we
percentages listed above provided they are operating mobile
equipment ,__- l
An Apprentice paid under the Appren'ticesiiip Schedule shall § "
riot be paid a rate which will exceed the classification rate on ` '
Which the Appreriiice is working.

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Flrst Year Fiegistered Trainee ' .
60% of Bi.illdozer rate
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60% of Bu||dozer rate
Third ‘(ear Flegietered Trainee
' 75% of Bulldozer rate
Feurth Year Registered Trainee
90% of Elulidozer rate

SUR\iE\' llwa TBA!NEE SCHEDULE

First Year Fiedn"ien and Chainmen ' § xi 7

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First Year lnstrumentman trainee rate
50 cents less than lnstrumentman classification

 

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§§ FIELD MECHHN|C THA|HEE SCHEDULE
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Second Year S`O% of Ciass “B"` rate
Third year TG% of Class 'B’ rate
FourthYear 80% of Class “B" rate

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7 cepted into ?d'_iis program if the Mechanic`l”rainee is required to
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Class “B” cir Class “A" rate. p 6 appmpnate

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Forwork performed under'the provisions of Work Sc`ope Para-
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'_ Case:'2:11§

   
 

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sriciiii_ acres

  

APPRENT|EESHIP¢ SCHEBULE _ § _ ,.

- ' red A rentice - 50% ct Class “A" rate 7 ", - ‘ For work performed onderthe_ provisions ofWork Scope, i_’a_ra-

§rscto:?ia\;ei::§l}=tls;geistere§e¥pprentice - s di Giass “A” rate z graph 2, F, G and H, which indudes industrial and Buitdirig
e.rdY g is§ered Appremice _'70% 01 grass “A” rate .: Site Work, Power Pl_ar;t, Amusernent Pari<, Ath!etic Stadium

Th' ear 89 Site Work and Poliution Control, Sewage Plant, Waste Plarrt

Fourth Year Regi.stered Apprentice - BO% of Glass “A" rate

There will be a 1 0% increase for the Apprentices on_ top 'oi the €
percentages listed above provided they are opeiating mobile .,

equipment

and Water Treatrrient Facii`riies Coristruction Work,” the ccn- "
i_tractor shall pay a rate determined by adding the appropriate
Building Conetruction ctessiticatior_i rate and appropriate

 
 

`Highway Heavy classification rate listed herein and dividing b`y

 

 

An Apprentioe paid under the Apprenticeship_&_‘>cheduie shall -_ two (2)_ _-
riot be paid a rate which will exceed the classification rate on _
which the Apprentice is working. § Ex|-||B|T “3”
- , _ RFFIRMATNE AEU€|N PRGGHAM
HEG}STERED TRNNEE scHEDuLE t. Under the provisions o`t E)cecutive Order 11246, issued
FirSt YBHF HB§`\S¥ered Trai“ee _ 60% °¥ Bu"d°ZBr rate by the President of the United States, and regulations issued
Second Yea! Heg'l$féred Tfai\"ee ” 50% °f Buudozer rate under Chapter 60 of Titie 41 ot the (_}ode of l’-'ederal Ftegula-
Third \"ear l'-teg'istered Trainee »75% of Buiidozer rate s lions as revised, and relative court orders, a specific affirma-
Fourth Year Fiegi$fel'€d T\'ai“€e " 90°/'= of B‘-'“d°zer rate ij _tive program must be` developed to assure that the employ-
` ' ment ot workers'and the treatment ct employees during
SUH\FEY CREW TRHHEE SBHEDULE : empiovment is completely nondiscriminatoryin regard to race,
_ . ‘l l creed, cc|or, sex, age, religion or national origin.
F“'St Y:afr:od?;en§;`dr;:mnmen ; 2. The parties to this Agreernent are mutually desirous ct
F::;y:r c ‘:Yr'[::naenman trainee rate developing an affirmative action agreement to implement the
l . ea $ 50 § 55 than instrumentman classification provisions of applicable federal regulations in order to assure
me Cents( ' } e . 7 nondiscrimination in employment upgrading; demotion ornans~

ter; recruitment and recruip‘nent advertising; iay-oft or termina-

 
  

- \' 'E
FlEL[] HECHANIC TRMNEE SCHEDHLE € ‘. § ` iori; rate of pay and setection for all types of training.
First Year 50% of Glass “B” rate _ ' 3. ln order to assure nondiscrimination now and iri the
Second Year. 60% of Class "B" rate ' future and iri an effort to a_tlract a maximum number of poten-
Tiiird Year 70% of Glass “B" rate tial apprentices from minority and female groups,-the parties to
Fouith‘{ear 80% of Ciass "B” rate this Agreement have formulated the following Aflirmativa Ac-

 

tion Program:

  

Only those individuals who have obtained a two {2) year €1

' D from an accredited school, will be ac~ _
Associates egree, AAPPRE”T!GESHP

 

. . ' ' ' ' ed to

copied into this program lt the Mecha_nic Trainee is requir

have acDL licensje'hdshe wlu§§ pa;i;:.::;;?(:‘;":;;§::v; - '_ The parties agree to establish a positive program of ap-
’¢he PHC€“THQS$ haled above- er mpriaie prenticeship selection and to use the following program to

the fourth year, the Mechanic wiii be paid at the app g
Class “B” or Class "A’° rate. § §

 
  

'-~ attract minority and female groups t_o the Operating Engineers
Apprenti’ceship Program: _

 

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66 §

    

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v v ‘ 'bution to all secondary
1. Deveiop a "tact sheet” for distri ' _
school counselors,_ youth opportunity centers, social action
agencies and state employment oflices. h- h
' ' ' form and advise ig
2. Make available speakers to in__ _ _ _
school students and others of opportunities in apprenticeship
for Oparating Engineers. why (30)
7 ` ' rties i
3. No ' all interested agencies and pa ' _
days priorttrt§ the period for taking applications and ma;;i<ir§gli|
such interested agency or parties aware of the nati;r’ee§om
tests in order to facilitate a proper pre-test education

` ‘ ' nticeship and ad-

4. Provide application forms for _appre __
e““i“" i“ii“‘°“°“ f°' ‘-”§*"’“il°l§iii§i;§§;“§i ii;’%§i§ii§ t
during recruitment penn at a i _ _ hans of

` ' ' t certain union
Engineers Apprenticesh_ip Program a m the recruiting and
bocal 18`.` Develop an outreach program r_ __ _ d l

° ' ' ' ' ' from minority an fema e
re-a rentice training of individuals _ l
l§);i'oi.ipp:.=,pto enable them to enter the apprenticeship program.

5 To use a'standardized, uniforrn_bat_tery of tests to delt:;:
mine applicant proficiency and aptitudes in reading, comrr;fin
lion and mechanical skills suitable for the craft of Clpe g
Engineer. 7 . m

6. Nlay have the test administered by an agency o er

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than the Operating Engineers Apprenticeship Program and
uniformly and numerically graded. n §
' ‘ ` ` ally by teams co -
?. interview sufficient applicants person
slating of one representative ct Managemenf a!nd rptrii:di:£i’g;ile
n Union who shell independently grade each app ica
ally and then average the scores. 7 m
' ' tanoe, e
. When an applicant fails to achieve accep
JointBApprenticeship and Trair\ing Comrnittee shall make e;'uer:y_
effort to inform the applicant and the referring or cooper g 7“_
agency of the area of instnficiency. Op § j _:\
' fence as an er- “
9. ln order forthe applicant after accep _ _
sting Eng'ineer Apprentice, to become immediateiy elr|nplaoryd 7
able by a Participating Employer, the .loirit Appre_ritices ip

of the nature for which the apprentice will be employed, in

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"..

 

Training Committee shall providetralriing sites with equipment €
_ z i
order to acquaint the apprentice _ _

ca

 

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as the operation and maintenance oil the same and teach himj
herfl'_ie use of the machine as aloo| of the trade and to generate
good work habits. After the iraining, tie/she shall be employed
as ar-i "appreritice-in-training” as such openings occur.

7 f 0. The parties to this Agree_ment agree to fointiy assist a
minority group employee to be integrated into the work force
and the Union by:

  
 

A. H_aving management supervision on the job make ev-
ery effort to assistiand encourage minority group apprentices
and to welcome such individuals to 1the job;

B. Have each apprentice and-pre-appientice trainee as-
signed to` a dourneyperson Operating Enginee'r for help and

 
 
 

assistancel and

C. Have Union officers inform the membership of the
impedance of making welcome all minority groups into the
Union, and

D. The education, training requirements and disciplines of
registered apprentices sha!| be governed by the Joint Appren-
liceship and training Comn"iittee and ‘rls standards

ii. souriiirri>iznsi)ns _

i. The parties will undertake a joint training program to
assure equal opportunity to all journeypersons who desire to
acquire the skilis required to work on a variety of equipment
within the jurisdiction of the Operatirig Engineers.

 
 
 

._ 2. Local Union oflicials will notify minority and female
members of this program They will offer to minority and fe-
male members an opportunity for training on any highway
equipment lf the parties determine that a minority or female
group member lacks adequate pre-training qualifications the
reasons for such determination shail be noted in writing and

“` shall be available for inspection during a review of this pro-

gram by appropriate federal contracting or administering agency

officials An attempt shall be made to have availability of train-
ing according to the demands for craftsmen to operate the_
specific type of equipment involved.

3. Each member of the Local will be advised of thisAgree-

 
  

 

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merit and the appropriate avenues for redress ii any of its §
terms are breached by either party. 7 P_ _ ‘ _ _
` ' ' Action rogram in
Th arties undertake this Afhrmative _ _
accord:ncp:e with Executive Order t1246 and applicable oo:i(i)’_t
orders. lt is their understanding that participation i;i ';he sign
gram by any Goritractor shall be accepted in lieu of a po §

of a required afhrrnative action plan which would otherwise be

directed to iobs manned by members of the Operating Engi-
neers Union_ . _ iii hen
' ' Agreemen , w
he ames shall nom the dale of this _
requilred preport to the appropriate iederalf_r;o;i[trart:_ltciir;i§a;: .;rhr: s
` ' " 'll specii y i i
ministean agency The report_wt| _ _ h §
' ' duals or iemales in t e
t ml number of minority group rndivi _ `_,
lj)nion. fn evaluating these `reports, the appropnz;te iec;:::l
contracting or administering argaeni;y g`l’:cir;r;sti;v;llar:ye”m be
access to relevant reco. s _
:!:];:cted to discuss the progress of the program freely with the
parties and Union members

Exiiiirir “c”
SURVEY CREW PHD\|'|SIUNS

The following provisions for Surv'ey C_rews are addihons or
amendments to the lillaster Agreement_

. UN|ON SECURI'['Y ' -
1 Provlsions of Article ll, Paragraphs 8 and 9 of the Field

Ag reement shall apply to all employees except to Parly'Chiefs §§ = 1

as provided below.

lEFS _ _ _
PAR;:b?:ct to the provisions and limitations of the Nationa]
l_abor notations Act, as amended:

A. Afl Party Chiefs who are members of Loca`l 18 or its §

- l .
branches of the international Union cf Operatlng Engineerse;: ,; _
the effective date of this Agreement: or who-have bee\r`t€;nU 21
bers of Local 18 or its branches within the pasta}tiiyz _ end
months shall become and remain members of Loc in g
standing as a condition of employment ed t ho § 4

aini unit employee prompt __ o or w _.: :-_
beco:;ie;n: g:rrtgy Chigf subsequent to the effective date of
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dm this Agreernerit shall remze'n a member in good standing or
t§w` Locei 18. 7
‘\-

C. Any Party Chief hired subsequent to the effective date
ofthisAgreemerif shall become and remain a member in good
standing of Local 18, on or after the eighth (Sth) day foi|owing
the beginning of his!her employment as a Party Chief.`

D_ Licensed Siirveyors`,l Hegistered Engineers, or Em-
pioyees with Associate Degree in Surveyfng from an accred-
ited school,r may be excluded from the provisions covering
wages, hours and conditions cf employment contained in the
Agreerrcent.

E. lt is agreed a letter was given to the Labor Relations
Di\rlsion of the Ohio Contractors Association, by Local 18 and
its branches of the international Union ofOperating Engineers,
making provisions for special coverage for Parly Cl‘rief wage
payment including hinges for contractorsth have, prior to
the date of this Agreernent, included such Party Chiefs on
management payro|l.

2 H!RlNG AND LAYOFF_ PROCEDURES 7

A. The Employer shail be required to hire through the
Union referral the lnstrumentriian, Rodman and Chainman,
except if the Union has no registered applicant who has one
[‘l] year or more experience as an fnstnrmenlrneri, Rodman o_r
Chainman. lt the Union cannot furnish an Instrumentii'ianl
Rodman or Chainrnan, then the Employer may employ such
persons directly When the Union is unable to furnish through
the referral applicants with atleast one (1) year’s experience
the Employer may employ Tra_.lnees and pay at the rate listed
in EirhibltA Wage Ctass`rlications and Ftates of Pay.

B. The Employer will notify the Union District Oflice of all
new employees hired outside of the referral on the date the
employee starts to work. The Union shall furnish to the Em-
player individual employment reooirl forms and the Employer
will require ali newly hired employees to fill out such forma
The Employer shall mail such employment record forms to the
appropriate Union District Oflice within three (3) days ct the
hiring of the new employee .

C. Providing the employment is in accordance With the
Agreerrie'nt, the U_nion-shall, at all times, when requested by

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best eltorts to _fumish the Employer with €~.

the Employer, u_se its
competent employees

D. inesize_orihe new su
the Employer.‘

E. When an Employe _ _
the order of: Party Chiel, then §

rvey Crew will be determined by

r has need ior a Survey Crew, the

crew shall be hired in
' instrumenirnan, Chainirian and Flodman, if qualiiied_ §
F. Layotfs shall normally be made in the reverse order of

hiring, except it is understood a'n Employer who employs more
than one (1) Survey Crew may transfer hi`s' more_st<_ilied per-
sonnel to another Crew without regard to classification and
retain his more skiiled personnel during layoii: i.-e., a Party jj
Chief or lnsiromenti'nan may be retained as a ‘Fiodman or m
Chainman on a Crew other than the Crew in which they had
worked during the year. _ ~

G. The Flodman and Chainman will be on_weekiy-pay
guarantee May‘l through November'l oniy. Novernbert through
Apri| 30 the Fiod`man and Chainman wit be on either the
hourly»pay or day-pay guarantee

EXH|B|I “D”
PERirANEnT shop Pno\'isiiins

The following provisions for employment oi- Pemianent Shop
employees by the Employer are additions or amendments to
the Ma`ster Agreernent.
1. Work Scope - .
The Agreernent shall cover all maintenance work per- et
formed in the Employer's home base Permanent Sho'p,_ but
shall not cover employees working as clerks or supervisors
Full-iime Parhs Countermen shall be included in this bargain-
ing unit. .
To quality as a Permanent Shop for purposes ot this
Agreement, any Employer may quality his operation as “per-
manent” by evidence of employing full-time Mechanics, We_id~
ers, Parts Men,_ Janitors or any combination thereof on an
annual basis at a specific geographical _locatiori. .
itis agreed that the provisions otArticle }'{lll Pa_ragraph 7
92, Page 40 oil the Master Agreement, shall be incorporated -

 
 

  
 
 

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§§ Shop locations
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s into and applied to multipie shift operations at ail Perrrianenr

 

2. Hirirrg Propedure
_A_ The Employer may hire em lo ees in

determined by the Employer. However, t}l)ieyEmployear rrTz:;]-l:aelll
the Union for employees and tire Union will use its best efforts
to supply qi.ra!rlied employees when requested to do so. Newty
hired employees wiil be required to complete a questionnaire
furnished to the Employer by the Union, and the Employer
shall mart within three (3) days of hire a copy of the question-
naire to the appropriate Union Dislrict Otfioe. '

j B._Year]y review: The Employer shall conduct a merit
j review of its Employees in the Pe`rmanent Shop no less titan
annually if the annual review is not conducted, and after the
request of the lEmployee, the Employer shall conduct such
review within_sixty days or the Employee shall automatically
progress to the next class. The Employer shall advise the
Employee, at the meeting called for that purpose of the
Employer-ila progression within the oompariy. The Employee
may, at his/her option, invite a union business representative
to be pr§se;;it during the interview. ‘

. an employee is laid-oil helshe shall have
Eht;f;)rei;p,;o_one (i ) y§:ar ritter initial layso'il, provided h:;a]he:
hence an u ificaljons '

Employer to do the job. q l as determined by me

3. Union Secu'rity 7
A|l present employees who have been with th -
pany _for sixty (BO) days or longer who are not memberseo.l°tlr?e
l.ocal Union shall become and remain members in good stand-7
ing of any one ot said Locals as a condition of employment on
and afterthe eighth (Bth) day following the effective date of ihis' `
sub-semron. Any employee with less than sixty (60) days
service nnth_the company at the date of thisAgreement or anyl
employee hired after the-effective date ot this Ag reemeht shall
- become and remain a member in good standing with any otthe
said _l,.r)_cal_ Unions as a condition of employment on or after
tile sixtieth (SUth) dayto!iowing the date Of hire.

4. Vaoaricies
Employer mayr ii|| vacancies by promotion.

5. Transfers

 

 

 

 

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TBANSFER GF SHOF ME{§HA'N[GS T[§ FiELiJ §

Permanent Shop Nlechariics may not transfer to tieid op-
as foilows: _

stations except on a temporary basis
A. The Employer must notify the Union of the duration of
said transie r_ tx
B. T.he Shop Mechanic must work in con§uriciion with the §
_ Field Mechariic on all overtime work. _
echanic who is working in the field on a
tem§);§i§:i:§hh;i receive the greater of the field rate or the
Perrnanerit Shop rate. . _de
is re uested to go to work outer s
or ml;'i`i,:?neen :;s:ni;¥::¥i:ient since ina Employee elias be €_'_
paid for time spent in traveling _ai hisl_her regular home base
Permanent Shop rate or overtime rate as the situation re-
quires '
E. if an Employes is dispatche
job, anytravel time alter one hour shal
Employer.

d from hisfher horne to a
l be compensated by the

TBAHSFEH UF FIELD FEBSE_IHNEL Tl] SHUP

' ' tempo-
An Fieli:l Mechan_ic who works in the shop on a _
rary basis twinter months, Novei‘nber ‘i thro_ugh lilley 1), will b_§
paid the appropriate shop wage rate, out hinges shall be pai
ori the basis of the Master Agreen‘ieni. k
st overtime P'mvisioiis _ 13
Eight (8) hours of work shall constitute a normal day‘s §'

work and torty (40) hours shall constitute a weei<’s work. Em- '

o es shall work overtime hours when requested to do so by
¥tliey§mployer and they shall receive time and one-half (1 -;.FZ)
for any hours worked iri excess ot eight {B) hours per rayZ
or forty {40) hours in any one week, whichever is greater, u n
not bott-lin Employer may, however, have the option ot working -
afour-ien hour schedule at'strajght-time rates (Monday iii_i‘outgi;
`l“hursday). No Ope_rat`ing Engineer with a-week§y guaran b
will lose a paid holiday hefsi'ie would otherwise receive y _
working a four-ten weeks instead, such employees will receive, §

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w -1~. .- _..¢.-,=-w;s l -\.,,-,.“_ .,..,..im,»..»a:.=m_s_q__t`_r _ `_
,...._s.,_.-. .....,.._;...,...,W“.._.~..,_ a , _

 
 

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fed iri addition to wages and_fringes for hours worked in a tour-ten
"'i_ ‘ scheduleY an additional ten (10) hours wages and hinges at

"" straight-time rates for the hoiiday, except vidien the holiday
fails on Friday, iri which case the employee will receive eight
(8) hours wages and hinges for the holiday. if the Employer
eiects, upon notification to work a four-ten hour week sched-
ule, tie/she shall pay overtime in such cases on all hours over
ten 110} hours per day or over forty (40] hours per week,
whichever is greeter. Aiour-teri schedule must be bythe week.
l\io Fi'iday make-up day is allowed

.-'rg!:
S.

for work performed on Saturday except ii an employee is
absent through the work weekth unapproved reasons, in
which case the employee will be paid only on ti'ie_rbasis of
overtime over eight (8} hours per day or over torty (4-0} hours
per weel<, Whichever is greater. Ari employee may be required
to show proof of illness by securing a doctor's statement '
Double time the -re`gu|ar rate shaii be paid to`r ali work
performed on Sunday and hoiidays listed in this Agreerrierit.

7. 40 Hour Guarantee

Woi'kmen employed under the terms ot this Agreemerit
commencing work ori M_onday shall be guaranteed forty (40)
hours work for that week. Employees starting on Tuesday,
thirty-two (32) hours; Wednesday, twenty-four (24) hours, etc.
Any employee to receive the weekly guarantee must report for
work each day at starting time and remain on the job for the
time requested _hy the Employer.

8. Health and Welfare Payrnerivs`
Employeis w‘iii pay i-leaith and Weifare payments as
outlined under terms ot the Master Agreemeni and as also
outlined in EXi-llBIT “D’ wage scale '

9. Perisiori
Shop employees who piesentiy are having pension

 

 

Employer.

lt is agreed the Employer shall make appropriate pey-
menis to the Centrai Pens‘iori Fund of the Operati`ng Engirieers
for each hour paid to any shop Employee.

 

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An employee shall be paid time and one-halt {1-1/2)-

payments made to the Oiiio Operating Engineers Pensio_ri.
Program will continue to have such payments made by theirj

 

 

 

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l.Se: 2:1

10. Apprenticeship _
No Apprentioeship fringe payments are required for
shop employees exceptas speoit_ied_herem.

tt. Education and Safety Fund _
Employers are required to pay to the Educ_ation and
Satety Fund as outlined under the terms of the Master Ag ree- __,
ment to be effective on the date of ratification of the Shop

Agreernent. "

12. Paid Holidays 7 1
lt is agreed employees with the Employer shall be
eligible for eight (8) hours pay at their regular rate for the
following holidays;

§

 

New Year’s Day ss
Memorial Day (last Nlonday in May)
[ndependence Day
l_abor Day
ihani<$givi"g Day
Chn'stmas Day
providing the following eligibility rules are met

1. The employee has sixty (60) calendar days of
horne ..base Permanent Shop employment with the Employer.

2. The holiday is celebrated-on a work day, Monday
through Friday. (l-iolidays falling on Sonday nunnally are ob-
served on |Vlonday.) .

3. Employee must work the fast scheduied work day
before the holiday and the first scheduled work day after the
holiday except it is understood that ii the holiday tells dunng
an empioyee’s vacation perlod, helena shall be paid fo_r the
holiday. ,

lt is understood that holiday pay shall not be counted
as hours worked for purposes ot overtime pay. _ _

All work performed on one of the holidays listed herein
shall be paid at the rate ot double time.

13. Vacation Pay . _
An employee who has at least one {1) year continu-
ous service, but less than two (2) years service with his!her
Employer as a horne base Permanent Shop employee as of
anniversary date of employment shall be entitled to one (1)
week vacation with pay for the year. One .(_1) weeks pay shall ,

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7 tions during a period convenient to Employees. Employees

 

 

be for forty (40) hours at the employees regular rate of pay at
time of his!her vacation.,
An employee who has at least two (2) years continu-
ous service with his/her Employer as a‘home base Permanent
- Shop employee as of anniversary date of employment shall be
entitled to two (2) weeks vacation with pay for the year. Two (2)
weeks payshail be eighty (80) hours at the employee’s regular
rate of pay at time of his/her vacation. ,
An employee who has at least ten (10) years continu-
ous service with his!her Employer as a home base Permanent
Shop employee as of anniversary date ot employment shall be
entitied to three (3) weeks vacation oath pay lorthe year. Three
(3) weeks pay`shall be 120 hours__at the employees regular
rate of pay at time ot his]her vacation
One {1) year continuous senrice_shaii be defined as
. ten {‘lG) months employment within atwelve (12) month period
Employees who have had at least one ('l) year of
continuous serviceas cleaned above, and whose employment
is terminated for any reason shall be paid for all vacation
named but not received on a 1/12 pro rata basis for each tull
month otemploymentduring the year. An Employee who leaves
the employ of the Employer by voluntary resignation shall be
eligible for unearned vacation pay only it thirty (30) days
advance notice is given.
Vacatio_n schedules shall be determined by the
Employer and must necessarily be dependent upon operating
conditions Etfort will be made. however, to schedule vaca-

 
  
     
   
     
        
       
       
     
  

 

      
     
      
     
     
      
      
 
     
     
        
      
   
      
  
       
     
     
     
 
      
   
   
      
  

may state their lirst, second and third choices of lime theywish
to take their vacation '

14. insurance for Employees’ Toois

Shop Mechanics shall use their own tools to the ex-
tent customary in the trade and ss outlined in provisions of the

Master Agreement. The Employer shall replace or repair any

tools that are (1) stolen in.a proven theft when the tools are on
Employer property, or (2) broken when performing work under
this Agreemerrt, provided the Shop Meohanio complies with
the conditions of this paragraph All Shop Mechanics shall
provide the Employer with an up-to»date tooi inventory list.
This list shall be reviewed and subject to approval by the
supervisor of the Shop Mecharric. lt atle is not listed on this

    
       
  
    
   
    
        
      
      
   
          
    
       
      
  
  

  

 

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"Voluntary

list. it shall not be eligible for repair or replacement The s E)CHlBl'i' “B” Pernlaneni Shop F:mrisions
Employer win provide direct replacement for me TO°lS- °’ the § Wage schedule
toolbDX Ca$iel’, on the tool inventory list from those "endo_rs Fo|lowing are wage zones, rates and classifications which are
that the Employer deals with on a regularly scheduied basxs_ effective on dates Shcmm:
Snould the vendors that regularly lsupp§.; mghoE;i§/llc;z§£i: ZONE l
to so a like- uali too , or e _
Y:Esees not t§§iyange br:nd nt;mes, then that Shop N_lechanic § PERM'_AN*ENT SHOI;f
may purchase or replace the tool on hisiher own and be .? 5/ 12010 1!2011
reimbursed upon submission of prooi of purchase to the Em- Shop Mechanic
pioyer. Tools andior toolboxes which are stolen, destroyed by glass A $23_74~. $24,49*'
fire or by acts of God on the conduct of the Empl.Oyer’S adm€§' Giass B 23.03* 23.78*
rized business or from locked auihorized vehicles, as e\n- glass c 22_31~ 23_05~
denced by prooi of_ loss ina police report shall be replaced by mass D 21 _04. 21_79.
the Employer on atwerrty-iour (24) hour basis unless the Shop mass E 1 9_75, 20_50,
iviechanic decides to uiiiize anoiher source fhan fha regularly Ciass F 18.50* 19.25*
scheduled vendors of the Employer. Class G ~ 16_59* 17.34"
e. wage lee . Si§§§i‘ i§'§§* li‘$i*
Wage Zone 1 shall include the counties of Cuyahoga, _ * _ .
Lake Geauga, Summit` and Portage. C|GSS J 12.91* 1 3.66
’ Wage Zone 2 shall include all remaining counties of `F]’ari§ Counter Man 1622* 16.97*
Ohio except Mahoning, Trumbu|l' and Coiumbiana, and shall an or 13,1? 13_§;2sr
include cournies of Boone, Campbell. P€_F!d!€wf\ and KO“W" H&W 6__66 656
in Kerrtucky. _ Pension 2.10 2.10
Any present employee working under inns l*\SJ"f'}€im@“t E&S _04 _94
shall not suffer a reduction in rate classificai:on _and _snati Contrao,tor Dues _14 _1- 4_
receive any wage increase negotiated added to their existing com Fund _05 _05
'rafe_ 7 Administration Fee .08 .08
PAC~ .05** .05*"

       

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*If additional funds are required for fringe benefits they may
be diverted from vinagesl

 

  
 
   
     
  
   
    
   
   
   
       
     
       

3 Pagei 48 Of 226 PA E|D #Z

 

  

 

 

 

 

 

            
   

 

 

 

       
 
 
  
 
 
 
   

 

 

` § ACCEPTANCE OF _AG REEMENT
PEHMAI$€¥?TES|:~£OP ' - § . in consideration of'the benefits to be derived and other
' 2 ` good and valuabie oonsideration, the undersigned comractor
sitmoio 5!1!2011 sit/201
' or successors, although not a member of the La.bor Relations
Shnp Mechanic - * _ Division oithe Ohio Contractorshssociaiion, does herebyjoin-
Class A $23.47* $24.22- $24-97: - in, adopt awept and become a party to the collective bargain-
Class B 22-72* 23'47* 24'22* `§ § ing agreement heretofore made by the i_abor Reiaijons Divi-
Class C 22-03" 22-78* 23‘53* § ' sion of the Ohio Cont`ractors Association with the lntemationei
Ciass D 20-31" 21-55* 22'31*_ Union of Operating Engineers, Locai 18 and its Branches
Class E 19.48* 20_.23; 20~93* (AFL-CIO} including all of the provisions therein, and those .
C|ess F `. 18-19* 1394 19'69* pertaining to contributions to Trust Funds providing for Heaith
Class 6 . 1527* 1_7-92* 17‘77, & Weiiare, Pension, Apprentieeship Training, or any other
E;E mass H 14.93* 15.73* 16-48,r fringe benefits and agrees to be bound by any Trnsr Agree-
Ciass | - 13-65* 14-4°: , 15"15* ment hereafter entered into between these parties and agrees
Class J 12-63* 1 3-38 1413 to make contributions as required and authorizes these parties
Parts Counter Man 15.92* 16.67* 17_'_42* to name The Trustees to administer _Said funds and ratifies and
Janitor 12-35* 13-61* 14‘36* accepts such Trnstees and the terms and conditions of the
H&W 553 ' 6.66 6.66 Tru'sts as ir made by the undersigned
Pensiun 2.10 2.10 2»10
ass . -04 -°4 -0"‘
Gontractor DueS -14 '14` "14 Narne of Employer (Printed')
oolA Fund ..05 -05 -05
Adminisnafion Fee 133 -03 'OBH
.PAC -05*" -05** ` -05 Employer Address
*lf additional funds are required for fringe benetits. they may _
be diverted from wages- - ' Clt¥ STaie IP COd@
"volnntary 7
Area Code & Telephone

 

Auihorized Employer Representaiive(Signature) ` (Date)

 

" Auihorized Employer Fiepresentative (Pn'nted)

lNTEHNATlONAL UN|ON OF OPERATlNG ENG|NEEF€S,
LOCAL-_ia AND lTS BRANCHES (AFL-CIO)

 

Union Fiepresentative (Signature)

3 CQNTRACTORS COP‘Y (OR}G!NAL SiGNATURE)

 

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§/30/13 PB_Q€Z 49 Oic 226 PAGE|D #Z 536
ACCEPTANCE OF AGREEMENT

in consideration of die benefits to be_detived and other
good and valuable considerstion, the undersigned contractor
or sueoessors, although not a member 0§ the i_abor Ftelations
Division of the Ohio Contractors Associetion, does herebyjoin
in, adopt, accept and become s`party to the collective bargain-
ing agreement heretofore made by the Labor F.ietations Divi-
Sion of the Ohio Cor:tr_e`totors Association with the international
Union of Operating Engineers, Locai 18 and its Branches
_ '(AFL~CiO) including all ot the provisions therein, end those
pertaining to,oontributions to Trust Funds providing for Hea[th
& Wetfare, Pension, Apprentioeship Training, or any other
jr fringe benefits and agrees to be bound by any Tn_rst Agree-
§ ment hereafter entered into between these parties and agrees
~ to make contributions as required end authorizes i_l'\e`se parties
to name the Trustees to administer said funds and ratifies and
accepts such Trustees and the terms and conditions of the
Trusts as if made by the undersigned

 

 

 

|`\|ame of Employer (Printed)

 

Employer Ad dress

 

'City Siate Zip COde

 

Area Code & Te|ephone

 

 

Authorized Employer Fiepresentative (Signaiure) (Date)

 

Authorized Employer Representative (Printed)'

lNTEFtNATlONI-\L UNlON OF OPERATING ENG[NEERS,
LOCAL 18 AND lTS BRANCHES (AFL~CEO)

 

Union Flepresentative (Signaixire)
HEADOUAHTERS COPY ' (OR|GINAL SlGNATUHE)
For Headquarters Use Only 4

 

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AccEPTANcE 0F AenEEMEN'r

`ln consideration ot the benefits to be derived and ottter
good and valuable consideration, the undersigned contractor
z or successors although not a member of the Labor Fielations
' - ' Division of the Ohio Contractors Associa_tion, does hereby join
in, adopt, accept and become a party to the collective bargain-
ing agreement heretofore made by the Labor R_e|ations Divi-
sion of the Ohio Contraotors/-\ssociation with the international
Union of Operating Engineers, Locat 18 and its Branches
(AFL~CfO) including all of the provisions therein, and those
pertaining to contributions to 'l‘rust Funds prodding for Heaith
&‘Welfare, Pension, Apprenticeship Training, or any other
fringe benefits and agrees to be bound by any Trust Agree-
ment hereafter entered into between these parties and agrees
to make contributions as required and authorizes these parties
to name the Trustees to administer said funds and ratifies and
accepts such Trustees and the terms and conditions of the
Trusts as if made by the undersigned

 

 

   

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5 ' N-ame °F Employer iPrinted)
z Employer Address
. City State zip code
- ® At‘ea Code & Telephone

 

 

` Authorized EmployerRepresentative(Signature) (Date]

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».-.
il‘rii"\'<'d

'Authorized Employer Representativo (Printed}

J' ?"‘ LNTEHNATIONAL union OF OPER`AnNG ENGINEEHS,
LocAL1e ANc rrs snANcHEs (AFLMO)

 

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Union Flepresentative (Si_gnature)
5 § union olsrnlcr copy _{oniemn_ slenn"rune}
Fer Heedquene'rs use only

 

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ACCEP'FANCE OF AGREEMENT

In consideration of the beneiiis to be derived and other
good and valuable consideration the undersigned contractor
or successors although not a member of the l_ebor Heiations
Division of the Ohio Contractors Associetion, does herebyjoin
in, adopt7 accept and become a party to the collective bargain-

 
 

(AFL~C]O) including all of the provisions therein, and those
pertaining to contributions to Trust Funds providing for l~ieaith
-& Welfa.re, Pension, Apprenticeship "l'r_aining, dr any other
fringe benefits and agrees to be bound by any Trust Agree-_
' ment hereafter entered into between these parties and agrees
to make contributions as required and amhorizeediese parties
to name the Tn.lstees to administer said funds and ratifies and
accepts such Tru_st"ees and the terms and conditions of the
Trusts as if made by the undersigned-

 

 

 

Name of Employer (Printed)

 

Employer Address

 

City -Staie Zp Code

 

Area Code & Teiephone

 

Authorized Employer Representative (Signature) (Date)

 

Authorized Employer Representative (Printed)

lNTEFlNAT|ONAL UNiON OF OPERA`l`lNG ENGINEERS,
LOCAL 18 AND |TS Bl:lANCi-|ESl (AFL-CIO)

 

Union Representati\re (Signature)
3 FRlNGE OFFICE_COP¥ _ (ORiG|NAL SlGNATURE)
' ' For Headquarters Use On.[v_

 

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30/13 reactions diseases

` ' in consideration of the beneiits to be derived and other
good and valuable consideration the undersigned connector
' or successorsz although not a member of the Labor Re|ati_ons
Div_ision ct the Ohio Contractors Association, does hereby join
in, adopt, accept and become a party to the collective bargain-
ing agreement heretofore made by the Labor l’~le[ations Divi-
sion ot the Ohio Contraotors Assooiation with the lnternationat
Union of Operating Engineers, Local 18 and its Branohes
(AFL-ClO) including all of the provisions therein, and those
pertaining to contributions to Tn.rst Funds providing for Health
& Weliare, Pension_, Apprentioeship Training, or any other
fringe beneiits and agrees to be bound by any Trust Agt"ee~
ment hereafter entered into between these parties and agrees
to make-contributions as required and authorizes these parties
to name the Tmstees to administer said tunds and ratiiies and
accepts such Trusteesand the terms and conditions of the
Trusts as it made by. the undersignedm

 

 

 

Name not Employer (Printed)

 

Employer Address

 

State- Zp Code

city

 

Area Code & telephone

 

Authorized Employer Ftepresentative (Signature) (Date)

 

Authorized Employer Representative (Printed)

lNTERNATlONAL UN]ON OF OPERATING ENG|NEEF£S,
LOCAL18.AND iTS BRANCHES (AFL-CIO)

 

Union Reprec`entative (Signature)

Assocm'non cor-"r ronic\nm_ sisNATuFiE)

 

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EXHIBIT B

_;-"-a_' Ca§§: 2213-CV-00357-AL|\/|-TPK DOC #Z 18-1 Filed:_O5/30/13 Page: 54 Of 2-26 PAGE|D #Z 541

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x (__749) streeter

Febt'uary l, 2012-

' O`hio Opetafire Ensinsers
' Fi*ingeBonetit Programs
ctsooubt_innpad
‘Po amc 12009
. Cotumbus oct 43212-0009

7 ` RE' #006349400-6

Attn: Ca:rol_A Wilson

'- This correspondence ts interference to_ your letter dated J actuary 19, 2012. Wc are in
disagreement with the 177 5- honrs for t_fOS. The _1?7. 5 hours wore service hours for duties
- other than operating i. e. drive _time. We are also in disagreement Wit]t the Late Cha'rgc_s of
$3,172-31. Prcvious audits were performed forthis time horne and ncglact;ed to discover

this error.

'.["i;c following is a breakdown ofthe contributions due from Bunn Entecjprises lnc:

ohio operating suggests treatise welfare san $2,228._19
Ohjo Opcratiog Engincers Peo,sion Fund ' ' 1,416.50
Ohio 0parai:ing Enginoe:rs Apprenticos`hip Fund 175 .75 `

7 Ohio Qpcrating Enginccrs Education & Satioty Fund 13_94
Total due Fritc_ge Beo'c"dt P_rogt-'ams $3,834.98_
Loca_i 18 Adininist:rati\re Dues 2"!`2`90 `

' TotaiDuo ' _ ` - _ ' ' `$4, _.197 83

‘ We apologize for this error in reporting 'I'his Was the §i'st; operator we have employed that
has retired We paid the benefits m error to the empioyac, instead _ofihe hinge benefit
program - Any future hours worked witt be reported and paid to the union

_ -sapaecy,

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  EXHIBIT C

C_dS€Z 2213-CV-00357-AL|\/|-TPK DOC #Z 18-1 Filedr: O5/30/13 Page: 56 Oi 226 PAGE|D #Z 543 W@

 

 

’A'
: Ohio Opemting Engineers
: ` ' Fringe Benefit Progmm.s
dr 1180 Dtibiin Roiid ~ PO BOX 12009 s Coiliiitbu$ OH 43212'{]{]99__
"‘F Area 614 488-0798 `
' Raymond()rrand ph
Administrator it

watch 13,_2012

Arn\c: atle wc. nunn
soon ENTERPRisEs, inc
13539 starr nours ssa
FLEM|NG, onto 45729-5235

RE: ' Delinquent Fringe Benefit Contributions

Dear Nlr. Bunn:

l am an attorney with the Ohio Uperating Engirceers Fringe Benetit Programs (hereinatter
referred to as ”OGE”) authorized to discuss the collection ot delinquent fringe benefit contributions
Piease take a moment to carefully read this letter because it will discuss the possibility of legal action

against Bu'nn Enterprises, Inc.

__On February 1, 2012, you sent a letter to the OOEFBP stating that you disagreed with the
findings from our january 3, 2012 Audit, You indicated that the basis for your disagreement was that D.
G. Newlon did not work as an operator for the period of.lanuarv, 2008. As you may know already, the
OOE sent you "a letter on March 9, 2012 to which a. revised Februacy 21, 2012 Audit was attached Since
this Audit supersedes the previous one, l will not address the hours or period mentioned in your letter.

However, | wish to remind you that Bunn Enterprises, lnc. signed an Acceptance of Agreernent
on November 14,.2007, an Ohio Building Agreernent_ on Fehruary 10, 2011 and an Ohio Highway Heavy
Construction Agreement on Fobrc_zary 10, 2011. Under Paragraph 35 of the Ohio Highway Hea\n;
Construction Agreement and Paragraph 43 of the Ohio Building Agreement, the employer is obligated to
pay fringe benefit contributions for oil hours to each employee [ltaiics added}. in otherwords, it does
not matter whether the operator performed work as an operator or in some other capacity.

Oo the basis of this agreement and the findings of the Audit, the ODEFBP hereby requests and
demands that Bunn Enterprises, lnc. pays 551,297.53 which includes fringe benefit contributions late
charges and union administrative dues. lt wilt aiso be responsible for paying additional late charges of 1-
1/2% per month for past due fringe benefit contributions which are assessed as of the 16th day of the

month.

if Buncc Enterprises, inc. fails to make a payment on said amount within five (5} days from the
receipt of this letter, DO£ wilt commence a lawsuit against it irc federaf district court in Cnlumbus to
recover these delinquencies without further notice prior to its filing. if GOE receives judgment against
Bunn Enterprises, inc., it will be entitled to collect the above-mentioned amount along Wi’€h additionai

H£alth and ii/’é§fare Pl.on ' Pension Fund s Apprenticeship Fund s Ed’ncation and `

 

v C§§€. 2213-CV-00357-ALl\/|-TPK DOC #Z 18-1 Filed: 05/30/13 Page: 57 Of 226 PAGE|D #Z 544

__ ,, interest, reasonable attorney fees, and ai| court costss Ajudgment can also result in court-ordered
coliection` procedures such as garnishments and the attachment of iiens against assets and projects

lf you have any questions regarding the audit, or ifyou wish to make a pavrnent, piease contact
us at (614) 438'-0703, x. 115. '

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Bryan C. Barch, Esq.

ln-House Counsel

cc: Wiiiiam I. Faciel, Esq.
Timothy R. Fadel, Esq.

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EXHIBIT D

v-m»m»_ new ....,_,,=.

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: 0hro Opemrmg Engmeers
: Frz`-nge Benej€t Programs
ar 1180 Dubiin Road » Pl] Box 12009 - Colunbus UH 43212- 0009
*, Area 614 488- 0708
RaymondOrraud ~k
Adnsniseawr a '
chobol' 12,2011
BUNN ENTERPRISES INC -
13589 S¥A’LE ROUT`E 550
PI£MNG oH 45729-5235 #000849400-6
To Whom lt May Concem:

fn accordance with the terms of agreements between employers and the international Union of 0perating
Engineers, Local 18, the Ol:u'o Operating Engineers Pringe Benei`it Programs ls authorized to re-audit
payroll records ofcollo'x"buting employers The purpose of a rc‘audit ls to verify that an employer ls
contributing to the Fringe Bcncot Programs and remitting Union Administrative Dues on behalf of all

§ operating engineers as required
g Qur dislrict aoditor,_ Mr-. Ba.icel_', will be contacting your company to schedule a time that rs mutually

§ convenient for the purpose ofre-a'oditl'.ug payroll records for the time period of lannary 2603 tlu‘ough the
l present _ ,

l fn order to expedite the re-aud.it, the following records should be made available to our auditor:

1 Tl°me sheets and time cards includian any computer printouts

2. Payroll work sheets and payroll journals '

3. Eamings records summarizing earnings by employees by quarter and for the year
` 4. Copies of payroll tax reports to federal and state governments

5. l..oca] 18 Admjnistrative Dues withholding records

lt is our earnest desire to cause as little inconvenience as possible for you in performing this review. Plcase
contact our ofEce if you have any questions or problems in connection with this request

Sincerely,

hen

Administ;ator _ a - f il

 

R.O/rp

oc: I.U.O.E. Local 18 Dislriot #6
Steve Rzmti

D»13

 

Heolth and Welfare Plan » Pens'l`on Fund ° Apprenticeship Fund ' Educatl.`on and Safety Fund

CaSe: 2213-CV-00357-AL|\/|-TPK DOC #Z 18-1 Filed: 05/30/13 Page: 60 Of 226 PAGE|D #Z 54'7

EXHIBIT E

CAS€Z 2€13-CV-00357-ALM-TPK DOC #Z 18-1 Filed:.OB/SO/J_S Page: 61 Of_226 PAGE|D #Z 648 "

Ohio Opem ting Engineers
Fringe Berzejit Progl'ams n

llSO Dublin Road a PO Box 12009 ' Colum_bus OH 43212- 0009
Ar'ea 614 488- 0703

 

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Raynlond Ort'and §
Administrator it

sum Enterpases lac. _ Navember 14, 2011
13539 gate noaa 550 _ l
naming oh 45729-5235

Ref: Schedoling the Operating Engineers Fringe Beneflt Program Audit

Dear Kevin Bunn:

We have been attempting to contact each other over the last two weeks and leaving voice messages
Per your reun l am sending another letter requesting an audit and the information that will be
needed‘to conduct the audit

The audit ls in accordance with the terms of agreement between employers and the lntemational

‘ Union of Operating Engineers, Local 13; the Ohio Operating Engineers Fringe Benelit Pro gram is
authorized to audit payroll records of contributing employers The purpose of an audit is to verify
that an employer ls contributing to the Fringe Benelit Programs and remitting Union Administrative

Dues of behalf of ali operating engineers as required

l will he conducting the audit for the time period of flannery 2008 through the most cm:rent month
completed '

The following records Should be made available for the audit
~ Time sheets or time cards
- Payroll records or journals, payroll monthly union reports
~ Earnings records summarizing earnings by employees by quarter and for the year
» guides of payroll tax reports to federal (941) and state governments (unemployment!jobs
family services) '

§ Either yourself or Diane Lee-'I`rotter may call me on my cell and schedule the appointment As of
today, I am currently scheduling ln_ mid Decem_ber._

Ifyou have any questions, don’ _t hesitate to contact me_

Sincerely,

i

Douglas H Baker
Auditor, Ohio Operatl'ng Engineers FBP
330- 697-1444

 

Heolth and Welfare Plon s Pezzsion Fund 0 Apprenticeskip Fund 9 Education and Safely Fund

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EXHIBIT F

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§ * n a o
:; 0}2£0 Opemtmg Engmeers
: _ ' Fringe Benejir`P-mgrams _ ”
n 1180 Dublin Road 3 PO Box 1_2009 » Columhus UH 43212-00{]9
_ * Ac"ea 614 488~0"/`08
RaymnndOrraod § 2 12
Administrator :ér 1 19’ 0
BUNNBNTERPRISES INC
1__3589 srArE ROU'I"_E_, 550 _ __
FLEMING OH 45729-5235 ' #000849400»6
To Whom It May Concern;

The enclosed summary sheet(s} and adjustment schedule(s) reflect the §ndings of our recent re-audit which resulted
in the disclosure of unpaid iiinge` benefit contributions due the Ohio Operatmg Engineer's Pringe Beneiit Programs
and Union Adminjstra&ve Dues Which had been withheld from en:cployees wages but not renntted. _

 

ohio operating Engineers martha Welaue man $3,277.32
Ohio Operating Engineers Pension Fund 2,064.38
Ohio 0perating Engineers Apprentieeship Fund 1 264.50
Ohio Operating Engineers Education 8c Safety Fund 21.04
Late Charges due if paid by February 15, 2012 3 172.31
Total due Fringe Beneiit Prograros $3,390.05
local 18 Adrnjnistraiive Dues 334.36
Total Due $9,134.41

In addition to the re-andit iindings, you are liable for the payment of late charges as indicated above._ Late charges
acmlmulate at tile rate of 1-1/2% per month on past due fringe beneEt conm'butions, and rate assessed as of the
sixteenth day of the month prartial payments are received, they will he applied against the oldest unpaid amounts
due. ,

Ifyou are in disagreement with the tindings of our re-auclit, please specify to us the reasons for such disagreement
_- by separate letter within ten days. _

Ifyou are in agreement with the tindings, your remittance in the total amount of $9,134-41 before February 15, 2012
will prevent the assessment of additional late charges _ -

Sincerely,

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Carol A. Wilson

Assisfant Adminisnator

CAW]sm
cc: Disn:ict #6

Palriclc L. Sink
Steve Rauli

 

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_ Health and Welfare Plan s Pension Fund = Apprémt`ceship Fund v Educafion amf Safety Fund

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_ . ' March 922012
Admsmr jr Tkis replaces our billing
letter datedme 19, 2012.
BUNNENTERPRISESINC
13589 STATB ROU'IE 550 -
-FLEM!NG OH 45729~5235 ' #0003494005
'l"o Whom lt May Concem:

The enclosed summary sheet{s) and adjustment schedule(s) reflect the findings of our recent re-audit which resulted
in the disclosure of unpaid &inge benefit eontdbulions due the Ohio Operating Engineers Fn'nge Beneiit Programs2
and Union Admn:dstrative Duee which had been withheld from employees wages but not remitted

 

 

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fn addition to the re~audit findings, You are liable for the payment oflate charges as indicated above Late charges
accumulate at the rate of 1- 112% per month on past due fringe benth oontn'butions, and a_re assessed as of the
sixteenth day of the month, l`fpartinl payments are reeeived, they will be applied against the oldest unpaid amounts

dne.

lfyon are in disagreement with tile Endings of our reaudit, please specify tn ns die reasons for snell disagreement
. by separate letter within ten days. '

Ifyou are in agreement with the Endnlgs, your remidanee in line total amount 0f$51,297. 53 befin‘e Me,rch 15, 2012
will prevent the assessment efadditional late eha_r3es.

Sincerely,

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Ray Olrand
Adn:inis'h‘ator

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cc: Dis“trict #6

Patrick L_. Sink
Steve Ranh

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EXHIBIT H

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Raymond D. Neusch

 

Member‘
513.651.6704 (t)
513-§51,6981 (f)
rneusch@tbtlaw.com
Mareh 29, 2012 _
VIA REGULAR MAIL

Mr. Bryan C. Baroh, Esq.
In-House Counscl

Ohio Operati'ng Engineers
Fringe Beneiit Prograins
1180 Dublin Road

_P.O. Box 12009

-Colurnbus, OH 43212~0009

“ RE: Audit ofBunn Enrerpri.s'es, Inc. 7

__ ' , Deari\/lr Barch:

'Ihis firm represents Bunn Entei_’prises, lnc. {“Bnnn Enterprises”) With respect to the re-
audit of its payroll records for fringe benefit contributions Please address any farther
communication With Bnnn Enterprises concerning this matter to me.

This letter is in response to Mr. Oriand’s March 9, 2012 letter to Bunn Enterprises
assessing $51, 297. 53 in unpaid fringe benefit contributions late charges and administrative dues.
Please consider this letter as Bunn Enterprises official appeal of the March 9, 2012
determination

We have federated the relevant reesrds and disagree seth M.r._- Orrand’s assessment
Although Bnn`n Enterpiises acknowledges making an error by directly paying Delbert Newlon
his fringe benefits for certain Work he performed instead of` the fringe Benefit Program (the
“Prograrn”), the error is substantially less than 351, 297. 53. Upon investigation of this matter, it
is clear that the vast majority of the Work performed by Mr Newlon was not covered “work” as
defined under the Collective Bargaining Ag;reeinent between the Ihteinational Union of`
Operating Engineers Local 18 and the Ohio Contractors Association (“CBA”). As stated in
paragraph 35 of the CBA, “n_inge benth contributions shall be paid for all hours paid to each
employee by the [e]rnployer harder this [CBA.]”¢ (ernplia'sis added)_

We believe that any further investigation or interviews of the appropriate individuais by
the Prograni would reveal that most of Mr. 'Newlon’s work since his retirement has consisted of
personal errands for Kevin Bnnn' and other work on properties owned personally by Mr. Bunn,
Which is not covered “Work” as defined by the CBA. Mr. Newlon’s Worlr for Mr. Bunn Was only

3300 Great Amen'can Tower ! 301 East Fourih Street l Gnctnnaii, OH 45202-4182 l 513. 651. 6800 1 frostbrow
Ottlces in Indiana, Kentnd<y, Ohio, Tenna;see and Wect Vlrginia

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Mr. Bryan C. Barch

. March 29, 2912
Page 2

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included in Bu:on Enterprises’ payroll records as a matter of administrative convenience
Becaus'e Mr. Bunn does not have a separate payroll system for his personal Work and Mr. Bunn
wanted to ensure that Mr. Newlon was paid appropriateiy, With all required taxes paid, Mr. Bunn
included the hours of personal Work performed by Mr. Newlon on Bunn Enterprises’ payroll
system. rl`he vast majority of the hours Worl<ed by isn Newlon consisted of this personal Work
for Mr. Bunn and not covered “Worlc” for Bunn Enterprises. Nevertheless, Bunn Enterprises

' acknowledged in its Fe_bruary 1, 2012 letter that some of Mr. Newlon’s Woric Was_ covered
“work” under the CBA and it believes it owes the Prograni 34,107.88 in contributions Bnnn
Enterprises has been willing to pay this $4,1{}7.88 since it discovered the error.

Wc understand that the Program must satisfy certain fiduciary duties When investigating
all payments to the program and We would like to help the Prograrn satisfy those obligations as
much as possible We trust that this letter explains the current situation and resolves all concerns
the Prograin may have regarding Bunn Enterprises’ payments to the Prograrn. If so, please let
me know and Bnnn Eiiterpi'ises will make the $4,107.88 payment to the Progiam as soon as

practicable

_If` you have any questions or need any additional evidence or information to satisfy your
fiduciary obligations please feel free to contact me and We will make all appropriate
arrangements We hope that this correspondence can facilitate a speedyl and efficient resolution

of the Prograrn’s concerns

Sincerely,

Raymond D. Neusch

cc: Neal Shah, Esq.
Kevin W.V Bunn

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Ot°ttces in Indiana, Kenmd<y, Ohio, Tennessee and Wast Virginia

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_- EXHIBIT I

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Ohio Opew ling E 11 gineers
Frz`nge Benejit Pragmms

1180 Dub}in Road * PO Box 32009 * Columbus UH 43212- 0009
Area 514 488- 0708

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§;ymorzd Orrand if
;;Administrator *

..J
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October 12, 2011

Delbert G. Newlon
10775 Stafe Route 550
Vincent, OH 45784-5033

Re: Pension Benefits - Request 2008, 2009, 2010 Tax Refum with W-Z’s

\

Dear Mr. Newlon:

Please be adr’ioeci ft has been brought to 0111‘ attenfion that you may be Working full
time as an operating engineer ij]e receiving benefits from local 13.

In order to Verify that you are not Worl<_ing in excess Of 40 hours per month While

receiving pension benefits, 1 am requesting that' you submit your income tax returns
With W 2’ s to Verify your income for 2008 2009 and 2010 no later than November 14

2011.

Please be adwsed, failure to submit the requested information will result m suspension
of }'our benefits and such ix\£ormaii on is received

' Sincerely,

fe%

Ray Orrand
Administrator

Ro kgz< . y 1

Cc: ' Pension Deparmrem'

 

Health and Wel_'fare Plan w Pen.sion Fund v_ Apprenricesh§o Fund @ Educarion and Safezy Fund

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EXHlBIT J

 

          

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n um_cmaq._oauu _.o£o.a co_~o§$._ou m£ mchucm_._¢ ha § meanwhch .Scnmo _Emumn_ m£ 2 §E>na =m 3 38 m >Emm__s =En§ 8 m§omhcnu gauge Ezmx£m.m cum m.,_O mm wco_~m_:mmx 303 kong he E¢§._mnmn .wj ._.xmm>> mc%muma

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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w . 2 . S_E»N¢E $.Sm . ¢o.mm § 3.2 39 32 m EB> mm El. IO _E_o:m_
l no.mmw.@ wm.~wmm N¢.m§ mw.vvm ao.mm§ om.¢m§ _. 05th w . “mm:m vehme m m....m
E . . No_o§ oo.w § § § , o umw Eco._ gmr_onm.~ 25050 § _mmco_§
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6 . N.Q.Q§ 3d § § § a._ a man Equ 2233 >m”m¢m 0 _mEso
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...AW_ on who mm , mm.mnm oo.o.v 32 32 S...._. 3.2 m EB> Qm~.m.v IO _wsmtm_>_
QQ_E._§ 3__§@ _ .H_§ S..n.§ 333 m §§ §e.ao o . § §§ rem 32
9 _ . om.¢.vw oo.m § § § § o co=amoxm § nom co___soz w tw£mm
9 PA..HN¢ §
~_.w _ ,. am map § adam oo.ow 25 32 32 32 m E_`>> om~.m¢ IO .m=£§§
W.~:.; 333 E__§ _ §§ 2:§ E.SE m 320 o cwa _E gm mgt
. . _ . . _ . m o o m._mn_ _ 255 w 4 BEF
Dl om.~om.§. mava com 21 ..: 3m of o m: o 1__.; 0 x § n
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W_m.§.; ¥_S§ §§ m AMW. __m.§ §§ m ego a 0 §§ e§e> §
3 _ _ . . . . mac .E Em ccom 53
. 49 . .
A.U. , w mm own .E 362 oo.mm § 32 83 §§ 2 m E_S> 593 IO §§th
UNN.$§ . Ov.~¢mm mv.w§ B.m§ S.G§ E.§H , 2 #. a:o._w . w . §§ »vo_»§ ¢m_.wv
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C . . .%.Q§~ §§ ¢o.mm §§ 32 §§ 32 . m scm ow§.q IO .Emmm>m_U
M,.. § s .G_~§ ~§§ ~m.§ 32 §§ , 5 geo § me a< 92 m §§
K 2 S.Q§.E 363 oo.m § § § o_ owm 303 ._m._B_j mEm__=>> w mwBO
EN_MHMQ"_ mzo:o_.Emu 515 x§ 5a nw.zlm.._m »S.._ mo _mmao: . 4a §§ um§o>> gao ._ zo_._.<o_"__mm§o mm m mm>o#_zw. mo
_Ml_www<? ._E.o._. . >tu E<..Fm wMMu>m_._ PMmNMM< mwcm ._<._.0... §§ §§ §§ 33 §§ §a .§ W v_mo__s Mww mmm_hmzmmw_w%%w.mw§wom
e. z .
N_ wzo_j:n_wn 2 m m .H 3 ,_w 2 m s mm
. . m .
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3 ocampo ._.OQO , umw EUJ woom~.mc`mm v
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m m.ém\§ nw§qxw _ mN.B.w. IO .m_.__Eo_h_ . 2 . oc_ wm¢_._a._w.:m §,:m
.. _‘ nd
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w =a< §§ z

 

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ha :mm§m 05 >n umm=mo,.._mh gsQO 0_~._0_3=§3_% BEw m §§ E§w_m£ Emhmo._g 3:$0_~=@_&“._
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_ _ ...§_B H%H% § §§ .0.0.: 2 §§ _Em 3 §§ 30 § 62 .§m mm
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tom wco:m_:mmm 5 umc=wu mm m:o_E:umn 0_£3_§.2_ §§ E£o eame `Em 3 3500 mmmm§ __E 05 EEh_.
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¢>m.._ »BEE 00 §§ _umEmm mwmm_s >:00§ m§ m£ §§ comp m>m_._ 000_§,_ Emw co um..§n_£m ¢com._ma =m

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30 E£. umw mwb 3500 mm:mmw omoo~.o ._.ODO

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van m_._=m_ac,_ou uaw omnmm: .an m£ m§u~£_.__m,.c usa mczm£mm_ mmu._:om Bmd mchum_xm mcEEmmm mac_~c_.§mc_ m:§£>m_ ._2 m_.cm mc_v£u£ .co:mc._._£c$o cazu£_nu mut mpa.mEa-_ 2 mm§£E mm wo mmmh..w>m gm mix 33 = vm£ EmE=wo m>>

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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OO .mEmcmn mmc_a nom mmmm§ um§um,. >=mmm_ um>_mum~ m.>m~_ umm>o_n,Em »m£ m£E._man 2 cot.m§o._£ ¢£ ._sm_>m._ co:wEBEm ££ m:m>moum._ mm_ocmmm mczom._wcou _m.~mwm.. usm l_D_u ...Co~mucmc._ m_ chEm.__awm._ mmm£ §§ ,
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#. omu§mcao m£ Eucm=m .5 § ESEEB dogma R._mu§ m£ 9 mm_&>mh_ __- 3 38 m >_xm@s M_En=w 2 EB»EES w.._:uE :_xmx&w m w._mn_ m..B mm §o§_:mmm 309 533 3 Em§._mamn .w 3 __ _v_maz m=_um_"_m.a
E m£ mc::n mm>c_n__.co numm, Emn mmmm>> m£ 2 ~umamE §§ EmEEBm m >E@m.$ c£c.§.? 9 Bomzcou cozom.zwcoo umwm_mmm ._o umucmcr _£m._mumn_ go x._n_._> mc_§utmm mho..um\_"cgn:m usm Eo__um:cov mm._":umh Amv_.m .U. m. 3 95 64 mcm_maoo. m§.
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Imm; § §§ § ,_ 3th _ _ o zo_.§_wuxm § zo§>wz o Em“.jm_m
_ §§ .Som 550 _ _ ozv_».m.._hor <um mmmm% >M._D..<M_o munoz <n _._o<..udm_.m,._mo§ m mzor zo_._.<om...._mmq._u M m mw>o.§w mo
M mmw§> is m$_.; §§ wmamw _ ._.&.o.#. §§ § ._.=_ E; §§ _§_ § m , §9> mw mm§:z §§me §qu
l_ ._.mz _ ,, , m m gz,“_ _mwm_§a< _m_.§_z
Am ~ _ wzo_¢ww;nmm . _ . m w .H. 3 ,H. § m m wm _
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0 d . mwz<_.._ommhz_ D<Om zozz.<.uz:o mh._ _ moom~d 23 m_.
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. _M mc._.u§»zoomnm mo g mo._.u$_.§oo “_o mz<z _

 

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455 ._.vm_.r>> E.Em _m_._o=o::m§ mom Em: _m=omao m.L_£uEEoo ..on: _._Q=EF._c_Ev<=MMM,u_m__MWQHH_HMMMW>M
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vEG KDPO§.PZOO wI.~. ._.Uw»d$m ><E mhzm§m._,<‘_.m m>_um< mI._. mo >z< h_O zo_.“.<c_im_m.d<m .._Jw.§>> wI._.
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_ .>B_B ?:» =o=omw =_ nRgc wm Emuxm _“nm._ES m£ 5
3 n£m= mm §ch mm_._E uE._§E m£ .5 E§§m m§ §_a 29 Qmm>> >_Eoc 223
O mzmu=&m m£ ha EB m£ mm£ mm£ ~o: E:o&m mm ___o._>mq m£ co ue§u£ mm

A_U.Rmo. zme mms =e.zma vmucm._EE m_$o_m.w£ § uBmm_ QEESE 5 ._m._onm_ comm .r §

rw<u z_ §§ mm< w.:nmzwm m@zmm¢ wmm__.§ §

2:13-CV

Case

.chmn G:. _._o=uow 5 um~nc ms vamuxm .wmm»o_aEm
53 no 523 m£ E,, mEEmSa BEEEBE 2 mumE on §§ ._o =wmn m>m;
UEES @£ 5 nm§_ wm mEm=B mmcE .5 mEmE_€q ._o§a qucEEE m>cnm m£
5 §§ o~cmrumE 3 §nnm_ comm 3 nme mEE mmm_s z.=._o_.W u_mmn m£ 2 coz=uum c_ l

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mE<m_DOmn~ MO .UDZD..“_ .wz<.._a_. Qw>Om_n_n_.Q O.r D?E mmd. m.:n_mzmm mOZMML mw_mI>> hmw ._. n y
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.._ano._ 3 EmE:mamo mm~Em _§_..5 .mc_£m.c. uaw azmmnscm._n_n_< ho nmm§m m£ §§ um._m~m_mm._ m`_m .EBm
m 5 §§ >ocm_mm um~_cmou@ 225 oc M_ 3 _Epm._ _E EmEtmamn mm§m um:c:, _m£..__mc. new a_%muz§an¢
ho nm&=m ms 3 BN_;@BE >Emmm §»B_EE&¢ £Em m _.E_s uEBm_mE EEmEn_ azwmuzcmaam
mpc mann m 5 vm§m_m£ 23 Em 323 guam m£ E. §§qu mn§:m.agm >=m §§ §

._um§at¢a mc §o_s 05 £._>> E._£=oo 0_,._§._$& ._o EB~E_ comm § :_Em£ §§ Ew mcm=mu§mmm_u
m£ E£ ._UEEB m£ £c_ n£mhuq._ouc_ cess£§m~mu mmm>> >._._m c_ um£§=ou mEE mmmz, m_pmu=aqm
m£ _._m£ 32 doc 2a c_m\_m_.= .om$£aou mo_cm%¢E .5 EEon_m_ § mBE mm§s m£ .m£ “m“m_anu usm Em._,_ou
Sm norma m>on_m m_.= ._B om§_.cn:w mn op vw::vm._ *om.=cou 25 hmv=:,@£>cm£c m__uimn ..Em _mr._. Amv

 

 

 

 

§n_.mn um£_ummn van §th .D.mj o_“ c.mm _~Em m.`. §§ .§m § dev .~._Em mm

53 _Em ma BEQEN wm .U< Em_m%o § §§ §§ 3 §§@m § 3 §§ .E Y_s:m 50 § m

_ rmn_ .wzo=m~_._mmm § um§mu wm »cozn:nmu m§_wm_E,.ma cm£ ._m£o .com._mu >=m 3 nw£m¢ 3me m_E m$ Eo¢
>=u§§.__ ._o >=3._% ._m£_m @um..n §§ §§ mco=unnmu ac §§ usm 523 \Em ._E 353 »mmm>> >§mm_>,,

c£u§:ou§m 5 §QEEOQ
Oz_ mmw_mn&m._.zm zz:m

§§ 3 k§_mg 35 § _»_EHEE .5 >_H.E_u E£.E QEE on §§ 5 53
gmc wBBE on §§ .umEmw mmmmz .»Emm>, =E o£ §§ amos mims ERQE §§ _._o um_..,oEEm goan __m

. 33 m ,a § 3 § §§ § . 33 . m va § 2
. ¢_§,> 3 Y§em=
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QBDEES§Q .E BHEEQS
OZ~ mmw*mn_mm.rzm ZZDm
`E nEEEE@ EDEB m£ 3 EQEEQ. m£ mm__cwa_._m 5 man _ _§c. §

§ § §§ _

 

m£ ca mc_QEEEou woman __o..>mq m£ m:_§u E£ .“

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FE.C §:mm >§m:m_m .5 owcsz

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_ BON§§ 23

 

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EXHIBIT K

     

.nrwow .0 .D .m£m:Ewm>> ..>> .z _mscm>{ _._o_§=m=oo com .wommm Eoow_ ...onm,_ ha Em_htmamn_ .m j _{mm_ _cowm_zn_ 501 4
ou m__._$o ~omamm .B£o mem ._c Q_Bm_.:=mm mmm£ m£u`_mmm._ mwcmEEou >cm gmc _._0> x ‘:n=mEB.Em 3 co:um=oo m£ mn=s@_>m_
c§m_>$ ._a.n mE= mcE:_nc_ ._._n=mEh££ oE.c.ozum=@ m__.= Em_ac._ou 2 m£nr_& mm 3 mmEo>m _._m §§ 53 “_ ~m£ £m¥_:mw m>>

. Ev< m£ 2 Em£ ucmm .cmu§n m_£ mcn:um._ § m_._o_.mmmm:m m_._E_.__uc_ Enrmc:£:_ 3 :o__um=
.um_...mmc §§ 35 m§£m~£m..: _u:m mcrv_.=mm .mmu§oa Emu m_.__E._xm m:EE.mwm .mcozu_._._”mc_ m

. .B_Bc£.,_ mmE._,. usm wwmm`s. uE_:uE >___mmm_ n¢>_.wum._ eis mma>.o_aEm “m£ mchE,§mn £ cozm§££ m
ith ¥_u_$ 05 ho» w_w._ mmm>., m§_u>ma coum.m.m“>mo 3qu m._.= :u£ §§ E_._ n_mu eng mmc u_cmaomE

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3 um_cm.“_E,nSm ,.um_ahn com¢§m_._uc m_._“ m£,...:m§ ._o ._E ucmo§_._ou >"Emmm _Ewumm m£ 9 m__&>ma =m 5 anne m 533 =En

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mo mopo<m._.zou m_.; ._.om.m,mom ._,§_ mwzwzm.c&m m>om< mw:. mo ._.z¢ mo zo_._.¢o§m.€"_ ,_:mj_>> m_.c.

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT L . 1

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uaw QEEHEQQ umw _umumuc £mu m£ m_.__n§,.__mE van mczm£mm _,mmo._:om Bm_u m_._=mmxm m:EEES _w¢omo_§m_.__ m£_sm~>E ._n,. @E$ uranich .cu=w::o__:_ 6 =£u@__uo w_£ agenan § m$:£E mm 05 mmEm>m cm E_B ____: = §§ m.mE=mm 25

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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¢_.= cm§ mmm_ ~o: 2a c_m._m£ uoEmEou mu__._m§mE ._o Bm._onm_ § mmme mmm_<, m£ E£ “£m_n__.:ou bca wooten
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. 5 gu=um_wou m£ mc__sm~>m_ utu m§nREou nco duan m_mu ms mc_sE£mE gm m:..._m£mw .~S._=om §§ m_.:§xm m§_.§mm_m _m§mo?_~m£ m_._§m~.,§ ._£ m&: meagch zo:um=og 35 H.»_@ES £ mm.n£& mm .E omEo_E § 23 _T,S m_ :E_ mEE_._.E m>_..

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um.:no Eu n=n§w.a _B= §§ aganath ._mu;.z_mEou 3 E»Em~m_m_, umcmi m 3 un~cunEauom .~u£.n.E cu:§`__»:?... m£ unmu:m:r ._u § wczum€_ou >o:¢§ _Emumm m£ § m=u._>mm ~_m ha hamm m hires .=Fn.._m 2 E£u§z€ S_=._,»E Q_xmx&m`m m .m_u,.O mm

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ms_<m@om¢ mo man _mz<#_ Dw>om&< oh a_<n_ mm< w.:»mzwm mwz§ mmmr>> § §
_ _ §§

__SQ.S ..o EmEv_maon_ m3me ummcn tm_.__£E._. ucs B_._mmum:w._&< E :mo§m m£ §§ um§£mm._ Em _.£Em
m 5 Bm§m _.S_._mmm umw_cmou& guam oz h ._o .._onm._ ho EmEuma@n mHBm um=c: _mc_c_E._. §§ chmu=cm§a<
,3 _.im§m_ 95 3 n@~_cmHE >ocwmm &F_.véu_Em.an_m BEm m §§ u@££m& EEmoB quS_EEnam
mg waco m .£ um._mwm_m@ >_=w m._m_vo:ma guam @E 5 uw>o_aEm wmu..;cwiam § _m£, §

.UmELotmm ms u__._o>, m£ ._.E»> E.£ccu £cm_._um_.c 5 35an comm ._o“_ Em._m£ Lt£ Em wco=mur_mmmmu
m£ “m£ zem:=ou m£ oE_ BEBBSE covm£§§@u mmm§ haw c_ nm:_mEou §§ mmm§ m.pmo__nnm
m£ cw£ wmm_ ucc m._m :_@._o_.= umc_mEou mo_cm§mE E m._EBm_ § mBE Qm§> 05 usi §m_n_an ucc wanton
Em norma m>nnm m£ EW nmEEn:m mn 2 unfime UEEQQ §§ ._mvc: m£>cm£n m__o;ma _.Em HE. hmw

 

 

 

 

._>§B UBEQS § .G:m w .u.w.: 3 §§ _§m § §m .Em§ _wa ama mm

,w§ _Ew ms B§m§ wm _5< Em_m%o ms §§ §§ 3 EEQSQ § § 332 ,?_ §_B=m .m_"__o mm m
cma .¢cazm_:mm_m_ :_ nme._»¢u wm mcor§nmu m_£mm_E$a._._m_.= .~m_.=o donna \E.m __E umc._mm mmmw§ :E mg Eo:
§..._m.__€_ 5 >=um._=u Lm§m mnmE comp m>mz mco_wu§w on H_.= n_._m cow._ma >:m 3 n@Emm wmmm>_, _..,_§mz

QBQEEQB:m 5 ._QUEEQQ
_Uz_ mmm*mmmm%zm zzzm

Rmm ~5 =Ewn _.E go 2 §.».§%£ 5 §u€_€ 553 m_..SE 3 =§ .5 §§
m>mc m£mn@_ §._ §§ _vamm 393 >_v_mm_s _§. o£ 23 camp §§ Em.§n_ 23 co nm>anm w:oEma =m

.§N ¢ §§ v 2_§_§3: . 33 _ § §§ mm
§§ 5 mc_u_§v

mo-moom l_.On_G >,HZD.OO ._.§_>___Dm P-_
A._QQEEQB~._Q 5 _SQEEOOV

OZ_ wmm_xn_xm_bzm zZDm
5 um>oEEm wcoEmn_ m£ B facing m£.mm§mq_._m E §§ _ E£. §

=E m£. Eo.c

 

¢£ co mc_ucmEan norma __E`€a @£ m_._.§u §§ n

w£ 5

umwme >nm~mc on
§§ S._§ EBY@B 3 mEmzv

_ mm@<z§ movie mmfomhmm.d mz¢_g _
§N§§ 25

 

 

age

Q_.Nom dd .:u»m£rmm._<.
.>>.2 .m:_._v>< ¢n=j§wcuu uaw .Nnmmw Eooz _._unm=~ wo accustoan .m.D “<mm _cc_$..,;n_ .:.EI d:m mmm>> .Lu~mL_m_c_Eud. m£ 2 Em.£. _ucuw ._._m…o.§n B£ m£..§nE ._u.» wcu;mmm.m;m uc~u:..c£ ,cu$umzou .¢_£ __o _ucn,mm 5an __FG ._o gngsz mung mEEm_mE E_.EEE,MU man
m>§.=o> : ,:c_,‘,m§u_£ 10 §=um.__oo ma mm__,._.m_.._! van mc=o_u&§ nga _umu»e._ smu m£ mc?_£:_a& Em m=tm£mm .Q¢E_._om §§ m:=m_§ minusme ,mcu._~§§£ mc§mk>£ ._£ nEa waiving __..n=§_no §§ 22§8 2 m£:SE mm E mm§m>_w § S_E §§ mg .é£ QEELS 55

_cmE£Em.smu._am u_E~E

10

,E_i:op must new mumm>> n§::§ haas um>_@un._ n>m£ wmm`§n£.m 55 mc_§u.mn 2 _.§EELEE ¢£ §B>E _._£EEE.§ §§ mc»>_mnE mm%u§mu gramsch _Emn£ nom ._ou 535er §§ m£ § 22 mm§s m£=m>eh Eumm..._~>nc 333 §= .E£ mmm_ § 33 cows EE u_§..€m& go
6 1933 comm §§ §§ E§uEB scm §EB P.m m=c;mn EZ¢£ mc=§_n£ ,_nucm§_£oo 10 :EEBRQ_. E._.§n m § um_=mquuum _~BEE §H§YS m£ mazzara .B \_n_. m§um._~=uu .€Emm _Ewuw“_ m£ 3 §E>mm _E ,6 ~E.H m m_v_$z ~`E§m 2 Eot§coo E_§? :_§x£m_n m .m.h_.u mm
du m=o=m;._mm.. 309 583 __n Emc..nmumu ,mj .,_¢mm£ mc_mvmue._u m£ m=_.__.i m.m>n_n£m comm n_mn_ mmmm.s m£ 3 vocame £_.,> ~nm§w§m m Lv_nm.~s Lm_c._._..¢__. 2 mgm:cou :eh.uEEcuu vw§mmn ._o nmu:mcr _..=H§mm ca x..o_s mc_E..R.E..._ Eo_um:§§:m new EEum..?_nu §§ m .o.mj mi

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# ~§. ncm_muo.u £_._. .?E.m .m.m m@ .m...._.U mm g um=_mEB §_~§_co §§EE_§ m£ 2 ncuqmm» 2 w,b§cqu sewagch .S§=Eq unn:m§ »=Ewumm co x..o_s m_.__§ou& EROEE@HE nom .&BuEES nEm>S § &S§_.EE »._ x ,E_§Eo m_ h¢m.r_s E.E"_ ve §§_mES 355
m mw.omhm 523 oo.g S.m E.._ w E.`\_.I§
»_._._W m§§ §§ § m3 § §§ 3 § , §§ _ _ _ § §§ ¢ §§
A O~.S§ . 0 ammom<._ 523 x z<Em
Dl ..
UW NO¢M n_v.mHm O¢.@H , 3d S_= m §\_.WI>> _
% mm.m§ 03me Nm_§§ 33 §§ §§ _ _ mm .Eoo._ m 53
2 ¢N_B§ \ o mwxom<.n Emng _, Qm><g
r.l .
on`W , mm hme 325 om_.$ § ad , m E:.I>> ,
2 mum§ :&§ 325 §§ §§ 363 _ 2 iqu 0 , §§
1 m__._m§ 0 mo§mwmo zomzhmom Q>§.r >>
. Uq . . Nm.womm 352 oo.oH 3d _a,._` m §`..._!I>__._
qu wm mm§ mm gm . cm fm 2 :m 00 wm mm umw mr ._COO._ o NmNm
3 \ §.E§_ _ o moh§m_n~o N._.z§ 1 >zz<a
1 . .
W _ _ E. §§ §§ 32 § § m §.Z>p
B wm _RS §.@E@ @_~§ S.Em 3wa mb.mmw , N.E. ._<oo¢ w _ §§
% . §.S§ g mohamman _>_<I<._,Eo m z$j_§
..O. _ S..E.E
. . _ _ . . w §E.I>>
h § §§ § § § 3 . mm § 3 § mm § _ . 2 ._<uo._ 9 , 33
F §me 3 § 3 m § g mo,r<mm¢o _ zz:m §P_§zmx
1
& m _
1 §§>> 0 §§
# c mom_>mm_n_:w zznm >> z_>m_v_
C ` .
0 a
D §.Z>_,, 0
K g ` §§
P __ _ § _ _ o mom_>mmm:w <:Go<,§mm _. 350
T v_wm>> mO.\._ sz_E.oDDwD i$.w..w_._.O v?.._. (OE Dwzm(m >.qa mo mm:OI <Q IO<w wamn.__,> m E:_O: 20_._.¢_u~w,mm€.._u
n . _ m mmv_mo>> mo Emm§z
M_ mm_w<%g , ._EE _ >:u E<E @Mm_.%_._ WWFMM¢ §§ 159 _§ § as §§ § ,.§ § w §o§ MMM >§:umm .z_uom .,_o §§ 501 55 _.§_
l_ ._.mz W ....M Emm_>iz mzcl_kzwmu l_<:m_,>_n_z_ DZ< wE<z
A mzo_.%v§wm m m. H 3 a 2 m w mw _
_
W § , § § 5 E§ Q_,__< ><n § § § 5 ,
3 ` 333 .
w , \ . t,z:oo :§>_:m hi §§ §§ w
W Oz \_.od_m,wzoo mo ._.um`dmm 20_._.400._ n_Z¢_ POw_,Omm O?.Ezm vhmm>> conn _Oz ..jom_rc....._
C:Q.Q§S.. §§an \ mmwa mo _wz_§m.i oz_ wmw&%m_hzm zz:m_
Q_u%§.m§ . oz mzo . 3m w.§om NEEW §§ YMES¢ § mm
».lm QDQN .umD .>mm mcko<m._.zoum:m mo mowod_m.rzou »_0 m_zc.z

 

..EQE_.E __E_Euu §§ _E__.m> § §._‘__,_u m §&%.E ,~_~ mmm_§.__ §E.E§S 3 §§E__S m£ a _SS_Y_ 9 uE__SS .§_ Em §§o.
AEE.._,.HEN¢”:§EE._£.E c><mmo`>om._ou.§ pa mcozuz.=mc_ com umwa _mco=aO mm o~uw.a:ou ._ouc

 

A./… . ,_ ..w…,_§_§z,~,r.`.w§,_ §§ co_£>_g 501 uaw @mm>>
Y , mo=m:m_c__.§< mu._muc§m EO.E>QEEW
3

C , ,

.._.._om>.qm ._oa§ 3 EmEtmnmm .m.n

  

4

age

953 .u.g 52,€_§§

.>>.2 _m:cw>.¢. _Loh§=~m§n» now _N_._mmm Enuw. _._unm._ bn Em§._uuwm .mj imm ._._o§zm hour n:m mmmz> _`BE_m_~EEud_ m£ 2 Em..= tamm ncov._:a 55 a,£u:umh ._& mcom~monm:m m£n:_n£ Es:nm__bu 25 wo roaan .E£a >rm 3 mw~mE:me emm£ uc=q&mm._..£§c.…:MM _»§
§§ §§ .c§m§&$ E cu.cum_w.nu E= mc_>,m_>£ nom m§m_n_=..nu n=m _,nm_umm_._ Em.u m§ minimade nga m§m£mm _mw..z=am Eun mc=m_~m m:"£p&$ an=uEEE mc_am.>»._ § §§ mg=§e.__ _c§u¢__eu B.£ Pm_a&€ 2 ..ESEE mm E mm~.cn>w cm §§ §§ 2 dde Em....£ m>>

EmEEBm cun._=n u__n_._m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  

l _ ....
1 .Hnw_&n mm=__c uaw mmmu.s nE_auE .§umw_ E>_mq.o., 32 »_.E`§_M.Em § r= E_§Emn £ SA.EEE§ w£ ..>¢_>E c§_m_§£c_ 2£ meaqu §_ncmum u§u§§u _m._mn& usm l_On_ .nmE»uteq §§ m£ § §§ §§ mg__§£u coumm.m€mn anna m£ §§ E$_ :E E_K §§ mmc miamwa E
6 EE.§_ conn B£ uaw SEAES now dmeon m._m m.”~o..>mn_ a£ E£ mzzmu_nc~ __Ecm__a&no n_o ENEEEW_. EEB.¢ m _B um.EmmEoBm ,.u£o_a co=u.iicuu m£ m£ucnc:._a .“2 mn_.o§cou _S_.Emm wEmumm m£ 2 E_E>mn_ fmha »Eo..._. m §me ._En_._m 2 PEEEES §:¢E A_.mxnnv_wmmmmm m m o nw
. .. . . . m . n. m a ... .. ` m . van m ha mocm£ 353me co fn_s m£E.Evma HB..._EEounzm nom m._u~uw.zccn m w _U...w.: cv
# § w;_M_WWMMWM,_H_MM.,_».M_QNW¢WMM.TMNEMM_“._MM_w mmz=v__wmm`wmm__wmww..w_%uwigmmeHWM‘.MMMM%&M@:NMW._ H Mu>wmm.w%*c~wwujmmm%n_.._w~_n~mhwmmm.mmww whywa Mww:mwowwcwmmwmnmu£Mwwmmuchw~wmzm_wb§m w§ E@M§_»_.ES B_§S ._£ §2€§& m_ = “=Eo=§ m_ ._..vm.x>> crow 5 c§m_¢ES g=£s
m, m
E _
mm _ o
Dl.
m
6
2 \
2 0
...n|v .
4 __ mm 93 §§ ¢m.m ~ § § m §._.I>>
2 Hm.mwnm Nm.n...._m wong mo.mw oo.mmw wm_wme gm l_§OO._ o mgm
1 , n mmmom_<._ mmc<~ m >>wmmz<
9. v mm.m§.
g . mm.wm@m 3.“~” oo.m~ _ . 3.…. 22 m ZD.I>>
DQ¢M QH. §§ 26me 21th mm.c§ oo_w~.m ww.w§ mm@ J<UO.._ o iam
3 . oN.S§ n mmmOm<¢_ MUO._._.”I>> § Zm>m.rm
1 .
m mm mme . §§ omni § § m §_FI>> ,§Emao
3 5.£§ §_IB mm_~£ 3ch ali S_§.Sz , o mmi
% f_m§ 0 §£%&w § zowz_mom n §.q_j_>>
. . mm.omo.H m _ , . ` _
d §§ cm § § § . w _2_;.1>> §m._maO
h §§ 365 §§ 333 §§ _ _ . §_§-Sz 0 mm%
_._¢ _ § _ o wcozgmoxw § zO._>>m_z w ._.mmm._mm
»|__ mh ma . .,
00 m
l . ,
#. _ _ 0 _
C _ .
m . § §§ 3a 32 § § m , §.E>_,
K wm 33 §§ §§ §§ §§ §§ 03 ._<03 m §§
Dl om.wnmw o mmaOm.¢J <.PIOOmmO § ._m<IU_§
_l_ v_mm>> mci wzc§;ama mm_;o _ §._. 5a qm_zm<m `.,§ h_o manor ><u u<m am§oz mmpa ._ zo;<u§mw§o M m mm,.._mo>_, wo immw_.nz
M mw%§ ._ES. >:u §§ uu.__mm._>m; ._.zzozq §§ ._E.B Ez __§ 33 § §»_.m.w¢ .._§_ m §§ mmw >E_._umw .E_oow .._0 265 §§ 55 _.m..¢.
L Ez 305 . w w xmm§z oz_»"_;z…§ ._<B_>Ezw mz< wqu
Am , mzo_.I:uwo _ .m m H 3 .H_ § m m wm
d `
W § . , 5 § § EE E,.< ><Q § § § §
3 ` . .
w mo 33 >._.z~._oo hz_>_am § 335 §§ w
W .oz S¢Ezou m o .Sw_é§ zo_.EoB az< Em_,oE wz_gzw v_mm__s mom .oz jom>$_
nw M_.Wm%mv mmm_._.o_m¢mmm~_nm , . m§_.mv IO _wz§m._m oz_ mmmEn_mm._.zm zz:m
B . , , _ Qmm m._.:Om m.~.<.“.m mmm_m_. mwmmnu< § moho<mhzoum_._w mo . g EB¢E.zou mo §§
A./m §:MMNN umn. §M §£§c §§ m§u §§ §:&.§ w §§m% h §§ §E§£¢zo §._§§E § s ES_»P_ 9 EL__§§.§.` § §Emm _m o m z scm mm
, . . ... n h :$,I., q:._d _.,.__ d>». .,m.; E ._.,_ m ._ ¢ _ C_O. h>~ __ 0 m g
Y _ A § w civnr_>>`.m§otu:>.,.~__mm£>om _ov § wm mco=u:=wc_ umw .mw: _mco:no m..._o“u§_“coo .5"; comm.:m_£&u< mEHEEm EmE§n_Em
Oq _ ._._Om>._¢£ ._onm._ ho EmEtmn_mn .m.D

 

1 Case

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2:

 

_ .mnou me.E gmczn m_.F "_o §

w._h_.w mo FmN. ZO_PUm.m n_Z¢ m_. m¥£.r "_O ron._. ZD_POmw Mmm. _ZO_._.DHmWDEa J<Z~E_EO mb l=>_...v O._. KO,._.U<N_._.ZOUmDm

EO mO._-O§HZDO mI._. ._,Om_,m:w >J_§ O._.ZmEm-.rd.._.m w>Om¢. mI._. mo >z< mo zG~P<u_mmw._<.um l_Du_»_.=~S m=._._.

 

 

 

 

 

 

 

 

 

 

 

 

 

mmU<Z<S_ mDEHWO

EWPPOEP.N_N¢_ wz<_n_

mmE.<ZO_m. w._.r_.m. 024 mE<_/_

__ _ va,= ._._.¢._mzm_m m.UZ_m..h_ mOu_ ._.mmIm GMID<P.~.< m.n._w

umxm<§mm
. v_Ow_._Q z_ Q<Q_ m.:"_mzmm

. ZD:zD-ZOZ zOmZ“mOm D _>_<_._.=>>
xOm_IO z_ O_<a m._.._mwzmm
ZO:zD..zOZ

zG.._>>mz 0 ._.m_wm..mmn_

 

 

ZO_._,GZJ_.W_XM

 

E<me zo_Emoxw

 

mzo_§muxm §

§o_g §§ 553 5 nm~o¢`mm EQSE _EEES m£ c_
_,§m= mm Br_mcmn @m_._m._v. v£_:_um._ m£ v6 E§Em m£ m:_n §§ mays >§or_ emma

~

rig =m.mn mmc __o._>wa umc=m._£

m_nmu__aam § ,5 EB m£ cch §§ E: E=oEm E, .__E>§ 05 § umEu._n£ wm
§ m>onm m£ E umwm__ o_,:w§m£ ha ._m.SnE comm :. §

120 z_ §§ mz< E_umzm_m mmz_§ wmm§> §

 

.`so~g,®¥ zo_~umm _.__ u£oc mm 535 ,mmm_€_a§¢
.;u:m 3 Em.._@n m£ § mEm..mEn Emta§.nam B vaE 3 :_3 .E §§ m>§
_um.zccu m£ 5 u£m__ mm mimch mm;E E mEmE_»mq .__o;mn_ vmu_._mhmwm,_ m>anm m£
5 §§ QEESE 8 ._m._.B£ rqu 2 §§ mBE mmm§ 552 233 m£ 3 going 5 l

§

w§§womn_ mo _mnz:w _mzq._n_ nm>om&< 5 §§ wm< E_“_mzwm_ mwz_mu_ YW..=._>> nwka v
_ § v

.._op§ 3 EQFEUD,DD mm§w nm=§ _m:.=.=mc. nam §mm§=£&¢ ha sm£=m m£ £_>, v£m§mm._ 95 .EHm
m 5 325 >»cmmm vw~m_._mno§ §§ o_._ “_ 20 _.Enm._ u_,o Em§._mamg m@§m uE.ED _m££m:. van afmmu=cmaa<
ho :mo.§m m£ >p umm_:moumh »c:mmm _H_Ewm§n£&w Em~m w £__s u@.§£mm: EEmoB n_Ewmu_EE§u
ou_% nunn m E um._£w_m£ >_=u ¢._m norma §on Q£ _.__ um>o_n_c_.m mmu_.EmEam >_._m EE. §

.er._otma Q._ v_x§ m£ §§ E.EES uEEumE 5 ._Enn_m~ comm ._o,. EEQ_.= £._£ pmm m:o;mo§mwmwu
05 ~m£ xomhcou m£ oE_ um¢o.~oa._ouc._ cozmc_E.EEU om§s __Em c_ wmc_mwcoo mm_E mm§s mE_wu=an_m
m£ §§ mmm_ puc mi EE@.£ nocmm~cou mu_mm%m& ._o E@Bnm_ § §§ mmm>> m£ gm£ H~m_QES uaw 32th
Em norma m>anm m£ § uQEEp_._m mn 2 ghsz U§.._ou E£ EuE._ mmz¢m£o w__oimn _.Em :E._. §

 

 

 

 

553 wmn_.awo_u uaw §§ m _o.m.n 2. §mm _“Em mh sam .§m § .m§ .uEw mm

53 .Em ms _§E§ mm _6< §_38 § §§ §§ 3 esm§w § 3 §§ _A< §=§w _~..__n_.o § m
cum .mco=m_=mmm § 353 mm mcozo:nmu m_£mm_§ma §§ §§ _SEK >=m 3 nmEmm mmmm>... _§ o_.= E§
>=QE_§ `_o `£n§% E£E mnmE §§ m>mc mcozu=vmu on E£ u_._m _._o&mn_ `€m 3 .SEmm mmmm>, >__Mmm>,

rao§coon_:m .5 §u§§ou
oz_ mwm"mn_mm._.zm zz:m

Emm 3 h_EB § 5 2 >€B_v=_ 5 Su@_% ._m§m §§ 3 __§ 5 comp
§§ QBBE E._ H_.= .umc.§o mmm§<_ >v_mmz_ 22 m£ §§ 525 m>m_._ UQEE 93 co ammo_n_Em 2523 =m

. 33 v s § 5 § §§ § _ 33 . q z § m
Q§sa Eiamv
wo.moom MOQO >._.2300 ._.__2_>5$ K._
cowo§_._ocn:m .5 ESEEQS
uz_ mmm_mamm_»zm zz;m
3 B>o_n_E@ 353 m£ »5 EQE>§.._ m£ mm_>._g_._w .6 >mq _ EE, §

§ § §§

 

mE co m=w_coEEou wn_._mq w§>uq m£ §th Hm£ m

m£ co

5§® Emth en
THE . , §th >._£m=m_m 3 §sz

mmw<z§ movie ECOEIWB mz<_g _“
S§ON§ 35

 

 

‘Caes

A.§._B

, o §om .u.a .c£m££§_.…»
._S.z .m:cu_._¢_ co=:§m§o con `Nommw Eoom_ cosz wo EmEtomwQ .m,.: imm _co_mk>§..=._ox ucm mmm>> _._SEE_£E_..§ map 8 Eo£ ucmw _:mu.in M£ m;_usu$ § w=ozwmmmnm m£u£u:i Eomvm=ou m§ .G 533 ._v£m _?m .E mEmE~Ho 322 msc._mmm._ E§§ES L_.:.
m>mr ;o> ___ .c£m§$£ 10 com_um=nu o£ m£_.>m_>R §§ m§m_mEau nom _nmnmm= m_mn u£ w££££u& ban mc:m£mu .m¢u.§om 220 m:=m~xm m£_+£nmm "mgo%§.w£ mc§£?E § mE_. mr.%§u£ __.Ezuo%v 25 m.uEEno 3 mm_:EE mm »n mmE,.eE ca §§ 1_3 m_ E£ n_mEzmo 25

._.EEEEm E_B~.m u__q_._m

3

1 .mEm§n om:E ucc 335 §§me §mmm_ um>_muo._ §§ EKQEE» 35 mcwE..mkmn a_ ¢QEEBE m£ ___.EM>H =o:m§£=_ m_£ mc;,.mu..e mm_u=mwm u§wm___§u m§mu$ mem .._on ._HEBHS x§> Q.= § 29 mmm_.s mg_?.>m& :Smm.m_§n hunch ¢£ §§ §§ Ec §§ §§ win §§qu ._o
6§3§ comm Hm£ n.§. QE_LES ucc accrue E= H=E_€m »£ ~m£ m§d£nc_ __ao:m.,_n_&ou H ~§Em§m__ n.m_.__u_m m 3 gingon ~_um._oa ¢n=u§w§o m£ E,.Em§._o § m£..»m.§a.... >n._=mmm ~Emno..._ »£ 3 §E>mn mm 3 _EB m >§mm.s __Ep:m 3 E§EES E__,EE £§x£m~m m .m.n_.u mm
gm mcn=m_:mm» 309 335 ho ~c,m£cm¢mo .m,: ,_.xmm§ m:__omum§ E.= m£=.i mm__mui&w guns 33 nomm_s ¢£ 2 _Qmum..m._ §§ __._mESEm m _.._§mm>, §EE,_ 9 Humbcnn r_o=n§w:uu um§mmm 5 voo:=c¢ .§Emvm". co §§ m£ELntun EBuEEoEE rca FEEEEB S¢_.m m .u.m.: 03

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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m>m_... sc_» z .c§m£_._&c;o co=um__ou m£ mc§£>m._ n§ mc_§a&ou u:m seaman Hm_... m£ m££§c_mc_ nco muru£mm .mmE_._B m_mn mcsz n m:EEmmm _mcow§._~w§ m_.__>,$>$ ._£ mE= m£u§uc, ££Sm:ou m_£ w§uEE 2 mm=.i_E mm 6 muEm>.m am §§ 53 § E£ mE mt §

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QQ§¢ §§ §§ §§ §,m §.~ §.m 5 1023 211 15 §§ §§ka §m_m§._§§m._
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¢.» 1130 nubm md » Po sex 12009 » omnibus cm 43212-0@09
'* Area 514 483-ome -

Raymond{)rrand jr

Admislistrator k

A;)ril 20, 2012

_ DELBERTG NEWLON _
10775 ST_'ATE RC|U'_I`E 550
V|NCENT OH 45784-5033

Dear Nlr. Newlon,

Encfosed please find check number 20647 for $5617-59 for jou-r monthly premium from October 2008 -
through JuEy 2009.

We have received hours from Bunn Construction for}anuan/ 2008 for`an audit that was conducted that
gave you annual eligibi!i’€y through Ju|y 31, 2009. '

Jf You have any quest¥ons piease contact me at the number above.

\ SEncereiy,

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I<'Em Pul:ins
Contributions Dept.
E>Ct 141

 

Health and We§fare Plan = Pension Fund - Appremiceship Fund ° Education and Safery Fund

 

 

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‘O EOX 12009 ‘ 1180 DUBLlN HDAD ' COLUMBUS OH 43212»0009

 

 

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4/10/12 4/10!2012 DIRE:T PAY manor w 2054'1 W-O475~G $5,517.50

T¢Jtal ChEtCk Amm.mt. ** $5,61'1.50

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CONTR¥BL?TION REPORTING FORN!

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GENERAL 1NSTRUCT'|ONS

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_ 1 COUNTY 1N WHICH WORK PERFORMED 4
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BUNN ENTERPRISES INC

13589 STA_TE ROU’I`E 550

` GO_ GREI`:_'M BY USING EREM¥T'
CONTACT THE FUND OFF|CE AT
800-232-1767 FOR INFORMAT|ON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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OHIO_ OPERATING ENG]NEERS FRINGE BENEFIT PROGRAMS

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'k
k tho Operatmg Engmeers
`:' Fringe Benefit Progra'ms
ir 1180 Dubl in Road » PU Box 12009 - Co`¥ umbus OH 43212 -0009
`k At‘ea 614 488~0708
Raymond Orrand § v
Admini`str-ator ir Apnl 6a 2012

BUNN ENTERPRISES INC

135.89 STA'I`E ROUTE 550

FLEMH`IG OH 4572`9'-5:235 #000849400-6

"I`o Whom lt May Concem:

Thls letter Ws`ll acknowledge the receipt of your checks #`1 1302 in the amount of '$1 19.48 and #11‘304 in
the'amount of $2,309.44, along with your Fc'bruary 2012 report ln accordance with ou_r policy, these
checks have been applied against the oldest amounts outstanding on your account as follows:

Again-st A.ud'it Find_ing $2,2?9.04

y 2/[2 OCA Dues 22.40
2/12 OCIA Dues 8.00
21§2'Local 18 Dues 119.48
$2,428.92

After the application ofthe above ohecks, a balance of$51,828.89 now remains due on your account to
complete payment ofth'e following

Balance of Audi_t Finding $`35,423.91

Local 18 Dues 1,410.95

Tota} Late Charges ifAudit is

Pa'id` by A`pril 15, 2012 12~,714.99

2! 12 Conm`but`ions- 2,279.04
$5 1 ,828..89

P'Iease submit your cheek in payment of this outstanding balance If you have any questions concerning
your account, please contact our office

Sincerely,

@W 6“/ .~Q /€<>€W

Carol A. Wils`on
Assistant Administra‘tor

CAWfsrn

ce: Dlstrict #6
Patrick l_,. Slnk
Steve Ranft
Bryan C. Barch, Esq.

Heahh and Weg`are P£cn ' Pens.iorz Fund - Apprenticeship Fund ’ Educatiorz and Safety Fund

  

ALL.-STATE LEGAL® -

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Phone (740) 678»8430 . Fax (?40) 678-2787

April t2, 2012

Ms. Carol A. Wilson
Assistant Administrators
0hio Operating Engineers
Fringe Benetit Pro grams
1180 Dublin Road

P.O. Box 12009

Colurnbus, OI-l 43212-0009

.`RE: Bunn En!e!prises, Inc.

Dear Ms. Wilson:

Tl:n's correspondence is in reference to your letter dated April 6, 2012. We beiieve there has been
a mistake in your application of Bunn Enterprises’ contribution to the benefit fund for February 2012. la
your letter, you mention that you applied the funds from check #11302 (in the amount of 3119.48) and
check #113()4 {in the amount of $2,3{]9.44] to the disputed payments for an audit finding regarding
Delbert Newlon. Because the audit finding is in dispute, any application of payments by Blmn
Enterprises toward the disputed findings is improper. As a consequence please be advised that Bunn
Enterprises does not wish to have any of its future contribution payments to the benefit fund appiied to
the disputed audit finding, unless specifically requested in writing.

With regard to checks #11302 and #11304, they are not intended to be applied toward the
disputed audit finding. Please make sure to apply the payments to the benefit fund for Februaxy 2012 for

Kevin Bunn and Chad Karche'r.

It is also our understanding that as a' result of this error Mr. Bunn and Mr. K_archer did not receive
appropriate credit for hours worked under their Healtn and Welfare Pension for Februery 2011 Pi€’»as@
make sure to remedy that error as well.

By April 25, 2012, please send us written confirmation that the payments item checks #11302
' and #11304 have been applied to Bunn Enterprises’ contribution to the benefit fund for February 2012
and Mr. Bunn and Mr Karcher have been credited for all hours worked m February. PIease contact me if

you have any questions

Sincerely,

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Kevin W. Bunn

An Equal Oppo¢tunity Employer

 

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EXHIBIT CC 1

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OHIO oPERATING ENGINEERS FRINGE BENEFIT PROGRAMS .
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EXHIBIT FF

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* Ar‘ea 614 488-0708 `
RaytnondOHand j
Adminisrmtor 111 Ia:nuary 15, 2013
NBALSHAH,ESQ.
FROS'I` BROWN TODD
3300 GREAT AMERICAN TOWER
301EPOUR'I'HST 4

C[NCINNATI OH 45202-4182
Re: Bunn Enterprisés, Inc./Current Bala`nce
Dear MI. Shah:

'I'his letter will acknowledge the receipt of checks #!2608 in the amount 01$834.12, #12609 in the
amount of $52.23', #12667 in the amount of $12.26 and #12669 in the amount of S211.84 &'o'm Btmn
Enterprises, along with their November and Decemb'e'r 2012 reports 111 accordance With our policy, these
checks have been app11`e`d against the oldest amotn:\ts outstanding on you'1 account as fo}lows:

Aga1115t l.ate Cl'ia`rges f01 ,

the Petiocl of- 1/08 to 11/11 ' '-$1,,03(_}_.?§
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11' & 12712 Local 18 Dues ' .64.49

' ' $1,1_10.45

Afier the application of the above checks, a balance of $52, 625 32 now remains due on your account to
complete payment of the following

Balanoe ofLate Charges for 7
-the Period of 1103 to 11/11 $10,916.82
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12/12 Conn'ibutions:f' 208.80
. :_' !.,11= . =' -' " $52, 6_'2_5~.32

Please submit you:t eneck 111 payment of this outstanding ba1ar1ce. Ifyou have any questions concerning
your account, please contact our oHice. ~ . _

Health and Weh%zre Plan ~ Pension Fund ° Apprenticeship Fund ' Education and S

ALL-S'TATE LEGAL@ '

   

CaSe: 2213-CV-00357-AL|\/|-TPK DOC #Z 18-1 Filed: 65/30/13 Page: 192 Of 226 PAGE|D #Z 679

Neal Shah, Esq.
Januaiy 15, 2013
Page 2

Best regards, M_/
Bryan . Barch, Esq.
cc.‘ I.U.O.E. Local 18 District #6'

Patriok L. Sz`nk
Steve Ranft

_CaS€Z 2213-CV-00357-AL|\/|-TPK DOC #Z 18-1 Filed: 05/30/13 Page: 193 Of 226 PAGE|D #Z 680

1 EXHIBIT lGG

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MAKE ONE CHECK FOR TOTAL CONTR]BUT!ONS PAYABLE TO:
OHIO OPERATING ENGINEERS FRINGE BENEFIT PROGRAMS

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Check 12813 Amount $2,118.40 Date' 3!19/2013:

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EXHIBITII _

'CaS€Z 2213-cV-00357-AL|\/|-TP.K DOC #Z 18-1 Filed: 05/30/13 Page: 200 Of 226 PAGE|D #Z 687

Ohio Opemting Engineers

Fringe Benefit Progmms '
1180 Dublin Road - PO Box 12009 - Columbus OH 43212- 0009
Area 614 488- 0708

 

March 20, 2013

'»& ******#

RONALD L MASON, ESQ-

MASON LAW FIRM CO LPA

425 M]ETRO PLACE NORTH STE 620
DUBLIN OH 43017

Re:. Bunn Enterprises, Inc./Current Balance
Dear Mr. Mason:

This letter will acknowledge the receipt of checks #12754 in the amount of $-193.20, #1275 6 in the
amount of $2,?67.16, #12818 in the amount of $2,1 18.40 and #12819 in the amount of $14?.20 nom
Bunn Enterplises, along with their Jannary and February 2013 reporm. In accordance with our policy,
these checks have been applied against the oldest amounts outstanding on your account as follows:

Against Late Charges for ~ `

the Perio_d of 1108 to 11/11 $4,815.4§
1&2/13 OCADues . 51.66
l & 2/13 OCIA Dues ‘ ’ , 18.45
l & 2/13 Local 18 Dues 340.40

$5,225.96

After the application of the above checks, a balance of $52, 625. 32 now remains due on your account to
complete payment oft’ne following

Balance of Lave Charges for
the Period of 1/08 to ll/ll $ 6,101.37
2/ 12 Conu'ibutions 2,048.00
3/ 12 Conn'ibutions 2,560.00
4/12 Cont!'ibutions 1,3 69.60
5/ 12 Contrlbutio`ns 1,905.30
6/12 Contributions 5,024.25
7/12 Connibuti`ons 11,705.35
8/12 Contributions 6,l98.75
9/12 Contributions 5,885.55
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l 1!12 Contributions ' 822.15
12112 Conu‘ibutions 208.80
. lf13 Contributions 2,727.4$
2/13 Contributions 23088.00

$52,625.32

Please submit your check in payment of this outstanding balance lfyou have any questions concerning _ _
your acoourrt, please contact our office

  
 
 

Health and Welfare Plan - Pension Fund ‘ Apprenticeship Fund ¢ Educaz“ion and S

ALL-STATE LEGAL@

CaSe: 2213-CV-00357-AL|\/|-TPK DOC #Z 18-1 Filed: 05/30/13 Page: 201 Of 226 PAGE|D #Z 688

Ronald L. Mason, Esq.
March 20, 2013 '
Page 2

Best regards, ’3
' ` /M

Bryan . Barch, Esq.

 

ec: I.U.O.E. Local 18 Distri`ct #6
Pan'ick L. Sink
Steve Rantl;

CaSe: 2213-CV-00357-AL|\/|-TPK DOC #Z 18-1 Filed: 05/30/13 Page: 202 Of 226 PAGE|D #Z 689

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If you are itt disagreement with the findings of our audit, please specify to ns the reasons for such disagreement-;. by
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Wili_ event-the assessment of additional late-charges

 

 

 

 

Administrator
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Bryan C§: Baich', Esq§,

 

CaSé2 2218-CV-00857-A_L|\/|-TPK DOC #2 18-1 Filed2 05/80/18 Page2 204 Of 226 PAGE|D #2 691

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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GENERAL lNSTRUCTIONS

 

CERTIFICATION OF _AUTHORIZEI) PERSOP

 

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CONTACT THE FUND OFFlCE AT

800-282-1?67 FOR lNFORMATlON

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GENERAL INSTRUCTION S

 

 

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BUNN ENTERPRISES INC

13589 STAT-E RGUTE 550

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CERTI'FICATION 0_F AUTHORIZED PERS()N

 

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GO GREEN B_Y US|NG EMPLO`{ER PORTAL
CONTACT- THE FUND'OFF|CE AT
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OHIO OPERATING ENGINEERS FRINGE BENEFIT PROGRAMS

 

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GENERAL lNSTRUCTlONS '

 

 

 

CERTlFICATION OF AUTHORIZED PERSON

 

 

 

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BUN`N ENTERPRISES INC

13589 STATE ROUTE 550

SUBM|T OR|_GlNAL W|TH PA¥MENT
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GENERAL |NSTRUCT¥ONS

 

CERTIFICATION OF AUTHORIZED PERSON

 

 

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BUI\TN ENTERPRISES ' INC

13589 STATE ROU'I'E 550

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PLEASE MAKE A COPY FOR YOUR RECORDS

SUB_M|T ORIGINAL WITH PAYMENT

GO GREEN BY US[NG EMPLOYER PORTAL

CONTACT THE FUND OFF|CE AT .
800-232-1767 FOR INFORMATiON

 

 

 

 

 

 

 

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MAKE ONE CHECK FOR TOTAL CONTRIBUTIONS PAYABLE TO: _ No UC TOTAL CONTR|BUT|ONS

OHI{) OPERATlNG ENGINEERS FRINGE BENEFIT PROGRAMS

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FR§N_GE BENEFIT PRO_GRAMS GENERAL 1NsTRuc110NS
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FLEMING,» OH 45729~5235

 

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EXHlBIT KK

 

 

 

  

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61'-]§10 6PERATIN6 ENGINEERS FR£NGE BENEFIT PRO6RAMS
CO'NTRACTOR PA`YROLL AUDIT NARRATIVE AND CONCLUSIONS

CODE N6. 000,849400-6‘_' EM;PLOYER B.unn Ent`e_r]grises lnc. ._DATED y 1/3/12.

'_ C00peration in sehedul_ing an Audit was difi:ie111t, the company is having issues With Distriet #6.
- The Audit was eventuain scheduled and cooperation at the Andit was excellent

' A]i records sequested were available for aadit.

F 111 swore noted . '
' ` Unreported hours and d1105 were noted for 1108,8/08,9/08',1(}/08,4/09,6!09,7/_09,211¢1
. 5!1'1 _7 ,
(These hours were for Retired operator D G N_ewlon-, see below for details ]

Operator D G i\iewlon, sam hours were reviewed for the period .
- Audit ff_`indings, noted above: . ' ' ' _
` " o 1/08, the operator had not yet retired, he worked for the company, was on- the 1
payroll and hinges were not paid for these hours Noted as an Audi-t Flndlng_
c o 8/0_8t057/11, the operatorhadretired. -_ ,
* _ '_Ihese hours were for the 7 months during this til_ne period 1
` _ l- He had hours worked and the wages paid were at the going rate for _ ` `
_ operating seale
' The description of these hours Was the_“ same descriptionas for hours '
_ paid the other operating engineers”. ` - - '
'. 7 Part of his wages Was noted as “fringes. '
` ` _ ,¢ This Was paid to the operator as part of`his pay eheel<,.
` These hinges matched the “fringe rate in effect for those
7 ' 'nionths”. '
7 » 'No hinges were paid to the Fiinge thee for these honrs.
" Noted as an Audit Finding '
' Note that some months had either only one or both “Hours worked as
an Operator (picked up as an Audit Finding) and hours worked in `
“Other than an operator, not noted as an Audit Finding”.

    

 

 

 

 

 

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7 OHIQ QPERAT[NG ENGINEE_RS FRINGE 7BENEF-IT PROGRAMS
CQNTRAC'IOR PA`YROLL AUDIT NARRATI`VE A7ND CCNCLUSIONS
CODE NO. 00084947(10~6 EMPLOYER - Bu'nn Ente;prises liie DA17`E137 ___1_/3/172

-. Hours that exceeded the allowed “40 hours worked per month” 1111 a retired operator
The Pension Department should get this report so that the stains of his Pension can be
evaluated

8/08 573 hours ,

111/08 7 67 hours-

4/09 _ 7 112 % hours

` ' 7 7/09 47 hours

' . - . Other hours worked by the Retired Opetator ‘ '
' o The operator also worked for the Company in capacities othet than an "
“operator”, per the company l '
' v y 7 7 "'- He works on the “farin, which is owned hy the owner, K_evin Bu`nn’-’
' '~ '. `.' . - 1 ` o Feedsthecattleandotherdutiesneededtooperatethe£arm,
" ' 1 '7 ` ` ` " perKevinBunn Hedidnotsayhedidordidnotoperateany-
type of “farm machinery” while doing these duties He
Wouldn’t elahorate as to any specific duties other than “farin
work:”. _ .
' 7','= He runs errandsl gets parts/etc for the Company
' " 7" 'Any other non-operating duties (deiined_ by the eoropany) as needed
" S`ee the attaphed Scheduie_s for 2008 2009, 2010 and 2011 for the
hours worked and wages paid for each specific month -
j 0 These hours were riot picked up in the Audit. ' ' ' _
l * -Froni the payroll records all these hours had the same notation, “Serv` _
- _Rate OH” and paidat$lé .00 perhoor 7
" This notation is different than the hourly description of Operating7
, Hours, which were noted as an Andit Findii'ig.
7 ' The pay rate was not close to Scale for an operates
' There weren t any payroll records describing the exact duties he _
performed for these hours '

- ' '_I`he wages paid to the Retired Operator were traced to the company s respective tax
records, 2008 to 2011 and to the “Operators tax returns that he supplied to Fringe
Oifice” for 2008 to 201(}. _ _

- Per 7Kevin Bunn _ -

0 He owns the “Constraction Company” and two other non-union companies
(he didn’t elaborate as to the names or types of companies l assume that one
' of these entities is the “t`ai:m’_°). '
0 There is only one (1] payroll for “Bunn Enterprises lnc.”

    

Auditors Signature

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EXHIBIT LL

 

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TELEPHONE NO. 7 Yc) - 0 7 F- 233 71 . FAX NO.

1. ' Date the audit was' reviewed veritli eoiitcaetor ¢_ ` _ 7 "' ”7’7!3%‘7`

2'. Nar`-ne and title ofrespon311_1'1e pers611 aud:erized 11y the cpnn‘act91' to revieW_ audit iindmgs
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_4. _ Bnef report 011 the items discussed during the review.

 

 

 

 

 

 

 

 

 

 

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"CONTR`ACTOR’S

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AUDI'.{`OR’S SIGNAT[]RE

NOTE: One copy to contfactof and one copy submitted to the fringe benefit office With the audit

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'CoN'riiAcroa PAYROLL Aoi)rr NARRATIVE -Ai\ii) CoNcLUsioNs_

__ CODE NO; 000849460-5 EMPLOYER Buri'ii Eiite§grises Inc. DATED _1_____/3/12
" ' ' ' Revised 2121/12

' Cooperation n_i scheduling an Audit was difficult; the company is having issues with District #6
The Audit was eventually scheduled and cooperation at the Audit was excellent

All records requested were available for audit

Findi'ngs were noted: `
Unrepo_r_ted hours arid dues were noted for the audit period for Retired operator D G

Newlon. ' '

Operater D G_ Newion-,_ ss#*hoiirs were reviewed for the period

- -. Au-dit Fi_r'i_diiigs, noted above:
0 ll()$`, the operator had 1101 yet retired, he worked for the company, was on the

payroll and hinges were not paid for these hours Noted as an Audit Finding. _
0 8/0_8 to 5/11,1he operator had retired _ .
' _' These hours were for the 7 months durhig this time period
¢_ ` He had hours worked and the wages paid were at the going rate for
- operating scaie._ '
i The description of these hours was thef‘ same description as for hours
paid the other operating engineers”. _ ` '
' " Part of his wages was noted as “fringes’.
This Was paid to the operator as part of his pay check,._
'I'hese hinges matched the “i`iinge rate in effect for those
_ months”.
v , No hinges Were paid to the Fringe Oftice for these hours.
7Notei:i as an Audit Finding.
"' Note that some months had either only one or both “Hours worked as
an Operato'r (p'ic;ked up as an Audit Finding) and hours worked` in
` “O_ther` than an operator, riot noted as an Audit Finding”.

a Hours that exceeded the allowed “40 hours worked per month" for a retired operator
';I'he Peri-sion Departinent_ should get this report so thai the states of his Pension can be
evaluated

0 8/08 53 hours
10/08 67 hours

 

 

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‘ _ 4 4_/09 112 % hours
7/09' _ 47 hours

` ' ~ Other ho'1113 Worked by the Retired G_perator: ' _
- - _ . `0 The operator also Worked for the Compa_ny 111 capacities other than an
7 “operatot”, per the company

' He works on the “farm, Which 13 owned by the owner, Kevin Bunn”

` 6 Feeds the cattle and other duties needed to operate the fann,
per Kevin Bu.nn. He did not say he did or did not operate any _
type of “farrn maehi.'nery” while doing these duties He
Woul'dn’t elaborate as to any speci§e duties other than “fann
wo"r’

.' ; He runs errands/ gets parts/etc for the Cor`npany

' _ Any other non-operating duties _(deiined by the company) as needed

Se'e the attached Sohedules for 20_,08 2009, 2010 and 2011 for the
- hotn'js Worked and Wages paid for each specific month ' _ `
0 These hours were icked 11' in the Audit at the r nest- ofDistr_ict #6 3 anas. _

“ From the payroll records all these hours had the same notatiom “Serv

` _ v Rate OH’_’ and paid at $16. 00 per hour. ' .
! 'I`his notation 13 diH`ere_nt than the hourly description of Operatlng
' _'Hours, which Were noted as an Audit Finding.' .
f 'I_`he pay rate was not close to scale for an operator.
There weren ’t any payroll records describing the exact duties he `
performed for these hours. 7
- `- The Wages paid to the Retired Operator Were traced to the company’ s respective tax
records, 2008 to_ 2011, and to the “Operators tax returns that he supplied to Fringe
_ 'Ot'lice’ ’for 2008 to 2010 , .
~ VPer'_ Kevin Bun_n ' -
o He owns the ‘-‘Construction Company” and two other non-union companies
` 1 `(he didn’t elaborate as to the names or types of eompanies,l assume that one
- ofthese entities is the “fann” ~
o There 13 only one (1) payroll for “B'unn Enterprises lnc.”

 

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